Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 1 of 197




                    EXHIBIT B
      Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 2 of 197




          General Best Practice Guidelines for
                                               Immunization

 B EST P RACTICES G UIDANCE OF THE A DVISORY C OMMITTEE ON
               I MMUNIZATION P RACTICES (ACIP)
Ezeanolue E, Harriman K, Hunter P, Kroger A,
Pellegrini C




General Best Practice Guidelines for Immunization: Introduction
Suggested citation: Ezeanolue E, Harriman K, Hunter P, Kroger A, Pellegrini C. General Best Practice Guidelines for Immunization. Best
Practices Guidance of the Advisory Committee on Immunization Practices (ACIP). [www.cdc.gov/vaccines/hcp/acip-recs/general-
recs/downloads/general-recs.pdf]. Accessed on [DATE].

                                                                      1
      Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 3 of 197




          General Best Practice Guidelines for
                                               Immunization

Best Practices Guidance of the Advisory
Committee on Immunization Practices
(ACIP)
Ezeanolue E, Harriman K, Hunter P, Kroger A,
Pellegrini C


                                                1. Introduction

The Centers for Disease Control and Prevention (CDC) recommends routine vaccination
to prevent 17 vaccine-preventable diseases that occur in infants, children, adolescents,
or adults. This report provides information for clinicians and other health care providers
about concerns that commonly arise when vaccinating persons of various ages.
Providers and patients must navigate numerous issues, such as the timing of each dose,
screening for contraindications and precautions, the number of vaccines to be
administered, the educational needs of patients and parents, and interpreting and
responding to adverse events. Vaccination providers help patients understand the
substantial body of (occasionally conflicting) information about vaccination.

This vaccination best practice guidance is intended for clinicians and other health care
providers who vaccinate patients in varied settings, including hospitals, provider offices,
pharmacies, schools, community health centers, and public health clinics.

General Best Practice Guidelines for Immunization: Introduction
Suggested citation: Ezeanolue E, Harriman K, Hunter P, Kroger A, Pellegrini C. General Best Practice Guidelines for Immunization. Best
Practices Guidance of the Advisory Committee on Immunization Practices (ACIP). [www.cdc.gov/vaccines/hcp/acip-recs/general-
recs/downloads/general-recs.pdf]. Accessed on [DATE].

                                                                      2
      Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 4 of 197




The updated guidelines include 1) new information on simultaneous vaccination and
febrile seizures; 2) enhancement of the definition of a “precaution” to include any
condition that might confuse diagnostic accuracy; 3) confirmation that if a patient is not
acutely moderately or severely ill, vaccination during hospitalization is a best practice;
4) more descriptive characterization of anaphylactic allergy; 5) incorporation of
protocols for management of anaphylactic allergy; 6) allowances for alternate route
(subcutaneous instead of intramuscular) for hepatitis A vaccination; 7) an age cutoff of
12 years through 17 years of age for validating a dose of intradermal influenza vaccine;
8) deletion of much of the content from storage and handling, including storage units,
temperature monitoring, and expiration dates (because this content is now codified and
continually updated in the CDC’s Vaccine Storage and Handling Toolkit, available at
www.cdc.gov/vaccines/hcp/admin/storage/toolkit/index.html.); 9) incorporation of
Infectious Diseases Society of America guidance on vaccination of persons with altered
immunocompetence; 10) timing of intramuscular administration in patients with
bleeding disorders; 11) updated data on vaccination record policy; 12) additional
impacts of the Affordable Care Act (1,2) on adult vaccination; and 13) updated
programmatic contact information on source material for vaccine information.

The guidance is organized in the following 10 documents: 1) Timing and Spacing of
Immunobiologics; 2) Contraindications and Precautions; 3) Preventing and Managing
Adverse Reactions; 4) Vaccine Administration; 5) Storage and Handling of
Immunobiologics; 6) Altered Immunocompetence; 7) Special Situations; 8) Vaccination
Records; 9) Vaccination Programs; and 10) Vaccine Information Sources. A glossary
follows (see Appendix 1: Glossary).

This report will help vaccination providers to assess vaccine benefits and risks, use
recommended administration practices, understand the most effective strategies for
ensuring that vaccination coverage in the population remains high, and communicate
the importance of vaccination to reduce the effects of vaccine-preventable disease.



General Best Practice Guidelines for Immunization: Introduction
Suggested citation: Ezeanolue E, Harriman K, Hunter P, Kroger A, Pellegrini C. General Best Practice Guidelines for Immunization. Best
Practices Guidance of the Advisory Committee on Immunization Practices (ACIP). [www.cdc.gov/vaccines/hcp/acip-recs/general-
recs/downloads/general-recs.pdf]. Accessed on [DATE].

                                                                      3
      Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 5 of 197




These best practice guidelines are intended for use in the United States; vaccine
availability, use, and epidemiologic circumstances might differ in other countries and
might warrant different guidance.


REFERENCES
          1. The Patient Protection and Affordable Care Act, Pub. L. No. 111-148 (2010).
          2. U.S. Department of Health and Human Services. Read the law: the Affordable
                Care Act, section by section. 2015; https://www.hhs.gov/healthcare/about-
                the-law/read-the-law/index.html. Accessed 9 March, 2017.




General Best Practice Guidelines for Immunization: Introduction
Suggested citation: Ezeanolue E, Harriman K, Hunter P, Kroger A, Pellegrini C. General Best Practice Guidelines for Immunization. Best
Practices Guidance of the Advisory Committee on Immunization Practices (ACIP). [www.cdc.gov/vaccines/hcp/acip-recs/general-
recs/downloads/general-recs.pdf]. Accessed on [DATE].

                                                                      4
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 6 of 197




                                        2. Methods

The Advisory Committee on Immunization Practices (ACIP) General Recommendations
Work Group (GRWG) reviews the evidence for best practices regarding immunization
and releases updated guidance every 3 to 5 years (see Appendix 2: Membership). Work
group members are required to report conflicts of interests. Conflict of interest
information for those individuals who must report is available upon request to the
corresponding author. Relevant topics are those identified by ACIP as topics related to
all vaccines, including timing and spacing of doses, vaccine administration, and vaccine
storage and handling. New topics are added when ACIP decides previous ACIP good
practice statements on general issues (such as combination vaccines, adolescent
vaccination, or adult vaccination) should be revised and incorporated into the General
Best Practice Guidelines for Immunization.

The best practice guidelines in this report update the previous ACIP General
Recommendations on Immunization (1) and are based both on review and analysis of
available scientific evidence and on expert opinion of the diverse group of health-care
providers and public health officials who are members of GRWG. This group includes
professionals from academic medicine (pediatrics, family practice, and pharmacy);
international (Canada), federal, and state public health professionals; and a member
from the nongovernmental Immunization Action Coalition (see Appendix 2:
Membership). This revision involved consensus-building based on new evidence from
the published literature and opinion from subgroups of subject matter experts consulted
on specific topics.

The process by which the guidelines were drafted varied for each document; each
document is therefore discussed individually below. ACIP voted to accept the proposed
guidance in October 2014; for additional information, see
www.cdc.gov/vaccines/acip/meetings/meetings-info.html.




General Best Practice Guidelines for Immunization: Methods                                 5
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 7 of 197




Timing and Spacing of Immunobiologics

GRWG met monthly beginning in January 2011, and formed a subgroup to focus on
review of guidelines around administration of simultaneous vaccination and febrile
seizures. Meetings were held in April, May, and June 2011 to discuss the evidence. Other
issues related to timing and spacing of vaccinations were discussed between February
2012 and September 2014 over 7 meetings (in February 2012, June 2012, August 2012,
November 2012, January 2013, January 2014, May 2014, and September 2014). The
evidence supporting this document is based on expert opinion and arrived at by
consensus. Presentations of the evidence were made to ACIP in June 2011, October
2011, and February 2013. Major changes include 1) guidance for simultaneous
vaccination in the context of a risk for febrile seizures and 2) clarification of the use of
the grace period between doses of the measles, mumps, rubella, and varicella vaccine
(MMRV).


Contraindications and Precautions

GRWG met monthly and focused on revisions to the Contraindications and Precautions
section beginning in January 2012, over 6 meetings (January 2012, February 2012, June
2012, August 2012, November, 2012, December 2012, and January 2013; see
www.cdc.gov/vaccines/acip/meetings/meetings-info.html). The evidence supporting
this document is based on a review of the published literature. Publications about
vaccination during surgery, hospitalization, and anesthesia were obtained from the
databases PubMed and MDConsult, searched from 1973 to 2014 using the MeSH
(medical subject headings) terms “anesthesia” and “immunization”. The search and
selection of studies was limited to English-language and human studies. The search and
selection process yielded 20 publications, including review articles, observational
studies, and letters to the editor. Presentations of proposed best practices were made to
ACIP in February 2013 and a vote from ACIP affirming the language below was made in
October 2014. Major changes include 1) enhancement of the definition of a “precaution”
to include any condition that might confuse diagnostic accuracy and 2) guidance to
vaccinate during a hospitalization if a patient is not acutely moderately or severely ill.


General Best Practice Guidelines for Immunization: Methods                                     6
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 8 of 197




Preventing and Managing Adverse Reactions

GRWG met monthly and focused on revisions to the Preventing and Managing Adverse
Reactions section beginning in April 2013, following revision to the document by the
Allergy Subgroup. Selected members from this subgroup participated in the April 2013
main work group call. GRWG then met again in May 2013. The evidence supporting this
document is based on expert opinion and arrived at by consensus. Presentations of
proposed guidance were made to ACIP in June 2013, and a vote from ACIP affirming the
language below was made in October 2014. Major changes included 1) more descriptive
characterization of anaphylactic allergy and 2) incorporation of protocols for managing
adverse reactions. ACIP voted to accept the proposed statement in October 2014.


Vaccine Administration

An addition to the 2017 Vaccine Administration best practices was presented to ACIP on
October 16, 2018, about health care provider exposure to vaccine components.


Storage and Handling of Immunobiologics

GRWG met in December 2013 to discuss Storage and Handling of Immunobiologics and
met one additional time in January 2014. The evidence supporting this document is
based on expert opinion and arrived at by consensus. A presentation of proposed
language was made to ACIP in February 2014, and a vote from ACIP approving the
language below was made in October 2014. Most of the 2011 language was removed
because this content is now codified and continually updated in the CDC’s Vaccine
Storage and Handling Toolkit, available at
www.cdc.gov/vaccines/hcp/admin/storage/toolkit/index.html. This content included
Storage Units, Monitoring Storage Temperature, Vaccine Inventory, and Vaccine
Transport.




General Best Practice Guidelines for Immunization: Methods                                7
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 9 of 197




Altered Immunocompetence

GRWG met twice in March and April 2014 to discuss best practices guidance for Altered
Immunocompetence. This section incorporates general content from the Infectious
Diseases Society of America (IDSA) policy statement 2013 IDSA Clinical Practice
Guideline for Vaccination of the Immunocompromised Host (2), to which CDC
provided input in November 2011. The evidence supporting this document is based on
expert opinion and arrived at by consensus. ACIP voted to accept this proposed
statement in June 2015.


Special Situations

GRWG met in April 2012 and then in 4 follow-up meetings in May, August, and
November 2012, and January 2013. A focal point of discussion involved best practices
guidance for intramuscular administration of persons with increased bleeding risk.
Subject matter experts from the National Center for Birth Defects and Developmental
Disabilities (NCBDDD) were invited to a work group meeting, and revisions to the
guidance involving the timing of intramuscular administration were made in
collaboration with these subject matter experts, primarily to ensure that ACIP’s best
practices guidance does not conflict with NCBDDD recommendations regarding the
timing of clotting factor deficiency replacement. The evidence supporting this document
is based on expert opinion and arrived at by consensus.

GRWG presented the Special Situations section to ACIP in February 2013. ACIP voted to
accept the proposed statement in June 2015.




General Best Practice Guidelines for Immunization: Methods                              8
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 10 of 197




Vaccination Records

GRWG met in August and September 2013, and presented the vaccination records
language to ACIP in October 2013. The evidence supporting this document is based on
expert opinion and arrived at by consensus. ACIP voted to accept this proposed best
practices guidance in June 2015.


Vaccination Programs

GRWG met in April 2014. The major revision to this section is the addition of language
related to Affordable Care Act (3,4) coverage of adult vaccination. The evidence
supporting this document is based on expert opinion and arrived at by consensus.
GRWG presented this section to ACIP in June 2014. ACIP voted to accept this proposed
statement in June 2015.


Vaccination Information Sources

GRWG met in September 2014 and presented this section to ACIP. The evidence
supporting this document is based on expert opinion and arrived at by consensus. ACIP
voted to accept this proposed statement in June 2015.




General Best Practice Guidelines for Immunization: Methods                               9
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 11 of 197




REFERENCES
        1. Kroger AT, Sumaya CV, Pickering LK, Atkinson WL. General
            recommendations on immunization: recommendations of the Advisory
            Committee on Immunization Practices (ACIP). MMWR Recomm Rep. 2011:1-
            60.
        2. Rubin L, Levin M, Ljungman P, et al. 2013 IDSA clinical practice guideline for
            vaccination of the immunocompromised host. Clin Infect Dis.
            2014;58(3):e44-100. DOI: 10.1093/cid/cit684
        3. The Patient Protection and Affordable Care Act, Pub. L. No. 111-148 (2010).
        4. U.S. Department of Health and Human Services. Read the law: the Affordable
            Care Act, section by section. 2015; https://www.hhs.gov/healthcare/about-
            the-law/read-the-law/index.html. Accessed 9 March, 2017.




General Best Practice Guidelines for Immunization: Methods                               10
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 12 of 197



      3. Timing and Spacing of Immunobiologics

Updates
Major changes to the best practice guidance for timing and spacing of immunobiologics
include 1) guidance for simultaneous vaccination in the context of a risk for febrile seizures
and 2) clarification of the use of the grace period between doses of MMRV.

General Principles for Vaccine Scheduling
Optimal response to a vaccine depends on multiple factors, including the type of vaccine,
age of the recipient, and immune status of the recipient. Recommendations for the age at
which vaccines are administered are influenced by age-specific risks for disease, age-
specific risks for complications, age-specific responses to vaccination, and potential
interference with the immune response by passively transferred maternal antibodies.
Vaccines are generally recommended for members of the youngest age group at risk for
experiencing the disease for which vaccine efficacy and safety have been demonstrated.

Tetanus and diphtheria toxoids require booster doses to maintain protective antibody
concentrations (1). Unconjugated polysaccharide vaccines do not induce T-cell memory,
and additional doses (although they elicit the same or a lower antibody concentration)
might increase the duration of protection. Conjugation with a protein carrier improves the
effectiveness of polysaccharide vaccines by inducing T-lymphocyte–dependent
immunologic function (2). Many vaccines that stimulate both cell-mediated immunity and
neutralizing antibodies (e.g., live, attenuated virus vaccines) can usually induce prolonged
immunity, even if antibody titers decline over time (3). Subsequent exposure to such
viruses usually results in a rapid anamnestic antibody response without viremia.

Approximately 90%-95% of recipients of a single dose of certain live vaccines administered
by injection at the recommended age (i.e., measles, rubella, and yellow fever vaccines)
develop protective antibodies, generally within 14 days of the dose. For varicella and
mumps vaccines, 80%-85% of vaccinees are protected after a single dose. However,
because a limited proportion (5%-20%) of measles, mumps, and rubella (MMR) or
varicella vaccinees fail to respond to 1 dose, a second dose is recommended to provide
another opportunity to develop immunity (4). Of those who do not respond to the first


General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   11
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 13 of 197



dose of the measles component of MMR or varicella vaccine, 97%-99% respond to a second
dose (5,6).

The Recommended Immunization Schedules for Persons Aged 0 Through 18 Years and
the Recommended Adult Immunization Schedule are revised annually. Physicians and
other health-care providers should ensure that they are following the most up-to-date
schedules, which are available from CDC at
www.cdc.gov/vaccines/schedules/hcp/index.html.

Spacing of Multiple Doses of the Same Antigen
Vaccination providers should adhere to recommended vaccination schedules (Table 3-1).
Administration at recommended ages and in accordance with recommended intervals
between doses of multidose antigens provides optimal protection.

Administration of doses of a multidose vaccine using intervals that are shorter than
recommended might be necessary in certain circumstances, such as impending
international travel or when a person is behind schedule on vaccinations but needs rapid
protection. In these situations, an accelerated schedule can be implemented using intervals
between doses that are shorter than intervals recommended for routine vaccination (7).
The accelerated or minimum intervals and ages for scheduling catch-up vaccinations are
available at www.cdc.gov/vaccines/schedules/hcp/index.html. Vaccine doses should not
be administered at intervals less than these minimum intervals or at an age that is younger
than the minimum age.*(a)

Before administering a vaccine dose, providers might need to verify that all previous doses
were administered after the minimum age and in accordance with minimum intervals
(Table 3-1). In clinical practice, vaccine doses occasionally are administered at intervals
less than the minimum interval or at ages younger than the minimum age. Doses
administered too close together or at too young an age can lead to a suboptimal immune
response. However, administering a dose a few days earlier than the minimum interval or
age is unlikely to have a substantially negative effect on the immune response to that dose.
Known as the “grace period”, vaccine doses administered ≤4 days before the minimum
interval or age are considered valid; however, local or state mandates might supersede this
4-day guideline (7).(b) (Day 1 is the day before the day that marks the minimum age or


General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   12
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 14 of 197



minimum interval for a vaccine.) The scenario most applicable to the grace period is a
visit to a provider several days prior to the date indicated by the minimum interval, such
as for a mild illness. Follow-up is unlikely soon after or even for a longer period of time
following this mild illness visit; this therefore raises the question of whether vaccines be
administered during the mild illness visit to avoid missed opportunities to vaccinate.
Because of the unique schedule for rabies vaccine and the accelerated Twinrix schedule
the 4-day guideline does not apply to this vaccine (8, personal communication,
Hepatitis A subject matter experts). Doses of any vaccine administered ≥5 days earlier
than the minimum interval or age should not be counted as valid doses and should be
repeated as age appropriate. The repeat dose should be spaced after the invalid dose by
the recommended minimum interval (Table 3-1). For example, if the first and second
doses of Haemophilus influenzae type b (Hib) were administered only 14 days apart, the
second dose would be invalid and need to be repeated because the minimum interval
from dose 1 to dose 2 is 4 weeks. The repeat dose should be administered ≥4 weeks after
the invalid dose (in this case, the second) (7). The repeat dose is counted as the valid
second dose. If the first and second doses of hepatitis A vaccine were administered less
than 6 months apart, the second dose is invalid and should be repeated 6 months after
the invalid second dose (7). However, if this repeat dose (the third dose) is administered
anytime 6 months or more after the first dose, the series can be considered complete. If
the minimum interval between the second and third dose of hepatitis B vaccine is
violated, or if the minimum age of the third dose is violated, the third dose of hepatitis B
vaccine is invalid. The repeat dose can be administered as early as 8 weeks after the 2nd
valid dose as long as the dose is also after 24 weeks of age and 16 weeks after the 1st
dose. (9)

If the first dose in a series is given ≥5 days before the recommended minimum age, the
dose should be repeated on or after the date when the child reaches at least the minimum
age (7). If the vaccine is a live vaccine, ensuring that a minimum interval of 28 days has
elapsed from the invalid dose is recommended (7). For example, if the first dose of
varicella vaccine were inadvertently administered at age 10 months, the repeat dose
would be administered no earlier than the child’s first birthday (the minimum age for the
first dose). If the first dose of varicella vaccine were administered at age 11 months and 2
weeks, the repeat dose should be administered no earlier than 4 weeks thereafter, which
would occur after the first birthday.
General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   13
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 15 of 197



Certain vaccines (e.g., adult tetanus and diphtheria toxoids [Td], pediatric diphtheria and
tetanus toxoids [DT], tetanus toxoid) produce increased rates of local or systemic
reactions in certain recipients when administered more frequently than recommended
(10,11).
Careful record keeping, maintenance of patient histories, use of immunization information
systems (IISs), and adherence to recommended schedules can decrease the incidence
of such reactions without adversely affecting immunity.

Simultaneous Administration
Simultaneous administration of vaccines is defined as administering more than one
vaccine on the same clinic day, at different anatomic sites, and not combined in the same
syringe. Experimental evidence and extensive clinical experience provide the scientific
basis for administering vaccines simultaneously (12). Simultaneously administering all
vaccines for which a person is eligible at the time of a visit increases the probability that a
child, adolescent, or adult will be vaccinated fully by the appropriate age (13). A study
conducted during a measles outbreak demonstrated that approximately one-third of
measles cases among unvaccinated but vaccine-eligible preschool children might have
been prevented if MMR had been administered at the same visit when another vaccine
was administered (14). Simultaneous administration also is critical when preparing for
foreign travel in the near future and when a health-care provider is uncertain that a
patient will return for additional doses of vaccine.

With some exceptions, simultaneously administering the most widely used live and
inactivated vaccines has produced seroconversion rates and rates for adverse
reactions similar to those observed when the vaccines are administered separately
(12, 15-17).
Routine administration of all age-appropriate doses of vaccines simultaneously is
recommended for children for whom no specific contraindications exist at the time of the
visit (7). MMR and varicella vaccine can be administered simultaneously (7). Live,
attenuated influenza vaccine (LAIV) does not interfere with the immune response to
MMR or varicella vaccines administered at the same visit (18). No data exist about the
immunogenicity of oral Ty21a typhoid vaccine when administered concurrently or within
30 days of live-virus vaccines. In the absence of such data, if typhoid vaccination is
warranted, administration should not be delayed because of recent administration of

General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics    14
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 16 of 197



live, attenuated virus vaccines (19). Simultaneous administration of pneumococcal
polysaccharide vaccine (PPSV) and inactivated influenza vaccine elicits a satisfactory
antibody response without increasing the incidence or severity of adverse reactions (20).
Simultaneous administration of PPSV23 and inactivated influenza vaccine is
recommended for all persons for whom both vaccines are indicated. Tetanus
toxoid,

reduced diphtheria toxoid, and acellular pertussis vaccine (Tdap) and inactivated
influenza vaccine (IIV) can be administered simultaneously (21). Hepatitis B vaccine
administered with yellow fever vaccine is as safe and immunogenic as when these
vaccines are administered separately (22). Measles and yellow fever vaccines have been
administered safely at the same visit and without reduction of immunogenicity of either
component (23,24).

During the 2010-2011 influenza season, surveillance systems detected safety signals for
febrile seizures in young children following IIV and PCV13 vaccines (25). CDC studied
the health-care visit records of more than 200,000 vaccinated children ages 6 months
through 59 months through the Vaccine Safety Datalink Project during the 2010-2011
influenza season. The analyses found that febrile seizures following IIV and PCV13
vaccines given to this age group were rare, but did occur at higher than expected rates.
The risk for febrile seizures peaked in children age 16 months and were more common
when the 2 vaccines were given during the same health-care visit. In this group, about
one additional febrile seizure occurred among every 2,200 children vaccinated. After
assessing benefits and risks, ACIP continues to recommend IIV and PCV13 be given
concomitantly if both are recommended (25,26).

There are 2 exceptions to the recommendation that vaccines should be administered
simultaneously. In persons with anatomic or functional asplenia and/or HIV infection,
quadrivalent meningococcal conjugate vaccine (MCV4)-D (MenACWY-D, Menactra) and
pneumococcal conjugate vaccine (PCV)13 (PCV13, Prevnar 13) should not be
administered simultaneously (27). This is based on immunogenicity studies that showed
reduced antibody concentrations for 3 serotypes of pneumococcus (subtypes 4, 6B, and
18C) when PCV7 was administered simultaneously with MenACWY-D. For persons with
anatomic or functional asplenia and/or HIV, PCV13 should be administered first and
MenACWY-D 4 weeks later.

General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   15
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 17 of 197



In patients recommended to receive both PCV13 and PPSV23, the 2 vaccines should not
be administered simultaneously (28). PCV13 should be administered first. If PPSV23 has
been administered first, PCV13 should be administered no earlier than 8 weeks later in
children 6-18 years, and one year later in adults 19 years and older. Immunogenicity
studies evaluating responses to PCV13 and PPSV23 administered in series showed a
better

immune response when PCV13 was administered first. An evaluation of immune response
after a second pneumococcal vaccination administered 1 year after the initial study doses
showed that subjects who received PPSV23 as the initial study dose had lower antibody
responses after subsequent administration of PCV13 than those who had received PCV13
as the initial dose followed by a dose of PPSV23, regardless of the level of the initial
response to PPSV23 (29,30).

Depending on which vaccines are administered during the first year of life, a child might
receive up to 9 injections at the 12- through 15-month visit (MMR, varicella, Hib, PCV13,
pediatric diphtheria and tetanus toxoids and acellular pertussis [DTaP], inactivated
poliovirus [IPV], hepatitis A, hepatitis B [HepB], and influenza vaccines). Although there
is no exact limit on the number of injections, with a little flexibility, a provider can ensure
that the primary series doses are given without administering too many injections at each
visit. To reduce the number of injections at the 12- through 15-month visit, the hepatitis B
series and 3 doses of IPV (31) can be administered before the child’s first birthday.

There are many other examples of ways the vaccination schedule provides flexibility. The
majority of children aged 1 year who have received 2 Hib vaccine doses (polyribosylribitol
phosphate-meningococcal outer membrane protein [PRP-OMP]) or 3 Hib vaccine doses
(PRP-tetanus [PRP-T]) and 3 previous doses of DTaP and PCV13 have protection against
Hib, diphtheria, pertussis, tetanus, and pneumococcus, which lasts throughout infancy
(2,32). The third (PRP-OMP) or fourth (PRP-T) dose of the Hib series and the fourth
doses of DTaP and PCV13 are critical in boosting antibody titer and ensuring continued
protection (2,33-35). The fourth dose of DTaP is recommended at age 15-18 months but
may be administered as early as age 12 months if 6 months have elapsed since the third
dose and if there is concern that the child might not return by age 18 months (33). For
infants at low risk for infection with hepatitis B virus (i.e., mother tested negative for
hepatitis B surface antigen [HBsAg] at the time of delivery and is not in a high risk
group), the hepatitis B series can be completed at any time for children aged 6-18 months
General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics     16
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 18 of 197



(36).

The minimum age for administration of combination vaccines is the oldest minimum age
for any of the individual components; the minimum interval between doses is equal to the
greatest minimum interval of any of the individual components. Recommended spacing
of doses should be maintained (Table 3-1).

Combination Vaccines
Combination vaccines merge equivalent component vaccines into single products to
prevent more than one disease or to protect against multiple strains of infectious agents
causing the same disease. Licensed combination vaccines can be used whenever any
components of the combination are indicated and its other components are not
contraindicated and if licensed by the Food and Drug Administration (FDA) for that dose
in the series. Use of combination vaccines can reduce the number of injections patients
receive and alleviate concern associated with the number of injections (29,37,38). Studies
have demonstrated that parents and providers might be uncomfortable with multiple
injections during single visits (39-41). Potential advantages of combination vaccines
include 1) improved vaccine coverage rates (42), 2) timely vaccination coverage for
children who are behind in the schedule (43, 44), 3) reduced shipping and stocking costs,
4) reduced costs for extra health care visits necessitated by deferral of vaccination, and 5)
facilitation of additional new vaccines into vaccination programs.

Potential disadvantages of combination vaccines include the following: 1) adverse events
that might occur more frequently after administration of a combination vaccine
compared with administration of separate antigens at the same visit, such as fever that
occurs with the combination MMRV vaccine and combination DTaP-HepB-IPV vaccine
(45,46); 2) confusion and uncertainty about selection of vaccine combinations and
schedules for subsequent doses, especially when vaccinations are given by multiple
providers who might be using different products; 3) reduced pathogen coverage if the
combination product covers fewer types of one particular vaccine-preventable disease-
causing agent (47); 4) extra doses of certain antigens in the combination product (e.g., a
provider who administers 4 doses of DTaP-HepB-IPV vaccine will give an extra dose of
hepatitis B component); and 5) a shorter shelf-life than the individual component
vaccines. The economic impact of the use of combination vaccines is unclear because
combination products have the potential for either increased or decreased costs
General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   17
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 19 of 197



compared with single- antigen component vaccines. The price of a combination vaccine
might exceed the total price of separate vaccines containing the same antigens. However,
combination vaccines might represent a better overall economic value if the direct and
indirect costs of extra

injections, delayed or missed vaccinations, and additional handling and storage are
taken into consideration (48).

Licensed Combination Vaccines

In this report, a combination vaccine is defined as a product containing components that
can be divided equally into independently available routine vaccines. A dash ( - ) between
vaccine products indicates that products are supplied in their final form by the
manufacturer and do not require mixing or reconstitution by the user. A slash ( / )
indicates that the products must be mixed or reconstituted by the user. Seven
combination vaccines for which separate antigens or antigen combinations exist have
been licensed by FDA since 1996 in the United States (Table 3-2) (49-55). In the future,
combination vaccines might include increasing numbers of components in different
arrays to protect against these and other diseases. (The status of licensure and
recommendations for new vaccines is available at
http://aapredbook.aappublications.org/news/vaccstatus.shtml.) The use of a
combination vaccine generally is preferred over separate injections of the equivalent
component vaccines (56). Considerations should include provider assessment,(c) patient
preference, and the potential for adverse events. An exception is the first dose of MMRV.
Unless the parent or caregiver expresses a preference for MMRV vaccine, MMR and
varicella vaccine should be administered for the first dose for children aged 12-47 months
(see Contraindications and Precautions) (45).

Situations might arise in which one component of a combination vaccine is specifically
preferred to another component in that same vaccine. Future research considerations
for newly licensed combination vaccines should focus on safety of doses that are not
needed because a patient is already vaccinated against the agents, whether the
combination vaccine will improve the timeliness of vaccination, and potential reduced
costs from disease prevention resulting from timely vaccination.




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   18
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 20 of 197



Combination Vaccines and FDA Licensure

Only combination vaccines licensed by FDA should be used (56). Vaccination providers
should not combine separate vaccines into the same syringe to administer together
unless mixing is indicated for the patient’s age and is explicitly specified on the FDA-
approved product label inserts. Only 2 combination vaccines, (DTaP-IPV/Hib vaccine,
marketed as

Pentacel, and Hib-MenCY, marketed as MenHibrix) contain separate antigen components
for which FDA approves mixing by the user. The safety, immunogenicity, and effectiveness
of unlicensed combinations are unknown.

Interchangeability of Formulations
FDA generally licenses a combination vaccine based on studies demonstrating that the
product’s immunogenicity (or efficacy) and safety are comparable or equivalent to
monovalent or combination products licensed previously (38). FDA licensure also
generally indicates that a combination vaccine may be used interchangeably with
monovalent formulations and other combination products with similar component
antigens produced by the same manufacturer to continue the vaccination series. For
example, DTaP, DTaP- IPV/Hib, DTaP-HepB-IPV, and future DTaP vaccines that contain
similar acellular pertussis antigens from the same manufacturer may be used
interchangeably if licensed and indicated for the patient’s age (35).

Interchangeability of Combination Vaccines from Different
Manufacturers
Licensure of a vaccine by FDA does not necessarily indicate that the vaccine is
interchangeable with products from other manufacturers. Such data are ascertained and
interpreted more readily for diseases with known correlates of protective immunity (e.g.,
specific serologic markers). For diseases without such surrogate laboratory markers,
prelicensure field vaccine efficacy (phase III) trials or postlicensure surveillance generally
are required to determine protection (57). ACIP prefers that doses of vaccine in a series
come from the same manufacturer; however, if this is not possible or if the manufacturer
of doses given previously is unknown, providers should administer the vaccine that they
have available.


General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   19
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 21 of 197



Vaccine Supply
Although vaccination providers should stock sufficient quantities of combination and
monovalent vaccines needed to vaccinate children, adolescents, and adults against all
diseases for which vaccines are recommended (29,38), all available types or brand-
name products need not be stocked. Potential advantages of stocking a limited number
of vaccines include 1) reducing confusion and potential errors when staff members
must

handle redundant products and formulations, 2) minimizing waste when less commonly
used products expire, 3) decreasing cold storage capacity requirements, and 4)
minimizing administrative costs related to accounting, purchasing, and handling. The
National Pediatric Vaccine Stockpile exists to offset supply challenges (58).

Extra Doses of Vaccine Antigens

Administering extra antigens contained in a combination vaccine should be avoided in
most situations (56). Using combination vaccines containing certain antigens not
indicated at the time of administration to a patient might be justified when 1) the extra
antigen is not contraindicated, 2) products that contain only the needed antigens are not
readily available, and 3) potential benefits to the patient outweigh the potential risk for
adverse events associated with the extra antigens. An extra dose of many live-virus
vaccines and Hib or hepatitis B vaccine has not been found to be harmful (59,60).
However, the risk for an adverse event might increase when extra doses are administered
at an earlier time than the recommended interval for certain vaccines (e.g., tetanus toxoid
vaccines and PPSV) (20,3,61).

A vaccination provider might not have vaccines available that contain only the antigens
needed as indicated by a child’s vaccination history. Alternatively, although the
indicated vaccines might be available, the provider might prefer to use a combination
vaccine to reduce the required number of injections. In such cases, the benefits and
risks of administering the combination vaccine with an unneeded antigen should be
carefully considered and discussed with the patient or parent.

When inactivated (i.e., killed) or subunit vaccines (which are often adsorbed to
aluminum- salt adjuvants) are administered, the reactogenicity of the vaccine must be
considered in balancing the benefits and risks of extra doses (56). Because clinical

General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   20
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 22 of 197



experience suggests low reactogenicity, an extra dose of Hib or hepatitis B vaccine may be
administered as part of a combination vaccine to complete a vaccination series for
another component of the combination. Administration of extra doses of tetanus toxoid
vaccines earlier than the recommended intervals can increase the risk for severe local
reactions (21,34). Examples of such vaccines include DTaP, DT (for children), and Td (for
adolescents and adults).
Extra doses of tetanus-toxoid–containing vaccines might be appropriate for
certain patients, including for children who previously received DT or Td vaccine
and need

protection from pertussis (in DTaP or Tdap) or for immigrants with uncertain
vaccination histories.

Conjugate Vaccine Carrier Proteins
Protein conjugates used in Hib conjugate vaccines produced in the United States include
tetanus toxoid (in PRP-T) which is also used as a component of DTaP and Tdap vaccines
(21). Simultaneous or sequential vaccination with Hib and these tetanus-toxoid
containing vaccines is recommended when both are indicated (56). MCV4 and PCV13
both contain diphtheria-toxoid conjugates. There has been concern about simultaneous
administration of vaccines containing like conjugates. One brand of MCV4, MenACWY-D
(Menactra), demonstrates reduced immunogenicity of the antibody response to
Streptococcal pneumonia strains when administered simultaneously with PCV13
compared with separate administration. It is recommended to space these vaccines by 28
days in a person with anatomic asplenia (47). Simultaneous or sequential vaccination of
MCV4-CRM (Menveo), PCV13, and Tdap (34,62), all of which contain diphtheria toxoid,
is not associated with reduced immunogenicity or increase in local adverse events.

Nonsimultaneous Administration
There is no evidence that inactivated vaccines interfere with the immune response to
other inactivated vaccines or to live vaccines. Any inactivated vaccine can be
administered either simultaneously or at any time before or after a different inactivated
vaccine or live vaccine (Table 3-3). The 2 exceptions, as mentioned above, are a 4-week
interval between PCV13 and MenACWY-D in a person with anatomic asplenia and the
separation of doses between PCV13 and PPSV23 (6-12 months recommended for non-

General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   21
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 23 of 197



high risk, 8 week minimum) if PCV13 is given first, 8 weeks in children 6-18 years, and 1
year minimum in adults 19 years and older if PPSV23 is given first (27).

Limited data are available regarding interference between live vaccines used in the
United States. The immune response to one live-virus vaccine might be impaired if
administered within 28 days (i.e., 4 weeks) of another live-virus vaccine (63,64). In a
study conducted in 2 U.S. health maintenance organizations, the risk for varicella vaccine
failure (i.e., varicella disease in a vaccinated person) among persons who received
varicella vaccine within 28 days of MMR vaccination was threefold higher than among
persons who received varicella

vaccine >28 days after MMR vaccination (65). Another study determined that the
response to yellow fever vaccine is not affected by monovalent measles vaccine
administered 1-27 days earlier (23). The effect of nonsimultaneous administration of
rubella, mumps, varicella, and yellow fever vaccines is unknown.

Two or more injectable or nasally administered live vaccines not administered on the
same day should be separated by at least 4 weeks (Table 3-3), to minimize the potential
risk for interference. If 2 such vaccines are separated by <4 weeks, the second vaccine
administered should not be counted and the dose should be repeated at least 4 weeks
later. On the day a live injectable or intranasal vaccine will be administered, providers
should ensure that no live injectable or intranasal vaccine was given in the previous 28
days.

The 4-day grace period discussed earlier, which may be used to shorten the minimum
interval between doses of the same vaccine, should not be applied to this 4-week interval
between 2 different live vaccines (56). Confusion about this prohibition may arise when 2
live vaccines whose intervals are identical are administered simultaneously. For example,
if MMR and varicella vaccines are administered on the same day, the second dose of each
vaccine could come due 4 weeks later (depending on the patient’s age). If either vaccine
had been given alone at both time points, the 4-day grace period could be applied to the
second dose. But in this situation the live vaccine rule prevents the grace period from
being applied to the second dose of either vaccine, because Varicella-2, if administered
earlier than 4 weeks, could potentially be affected by MMR1, and likewise MMR2 could
be affected by Varicella-1. Note that this prohibition also applies if the combination
MMRV is used rather than individual MMR and varicella vaccines.

General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics    22
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 24 of 197



The oral vaccines Ty21a typhoid vaccine and rotavirus can be administered
simultaneously with or at any interval before or after other live vaccines (injectable or
intranasal) if indicated (66).

Spacing of Vaccines and Antibody-Containing Products

Live Vaccines
Ty21a typhoid, yellow fever, LAIV, zoster, and rotavirus vaccines may be administered
at any time before, concurrent with, or after administration of any antibody-containing
preparation such as immune globulin, hyperimmune globulin, or intravenous immune

globulin (IGIV) (67). Blood (e.g., whole blood, packed red blood cells, and plasma) and
other antibody-containing blood products (e.g., immune globulin, hyperimmune
globulin, and IGIV) can inhibit the immune response to measles and rubella vaccines for
≥3 months. The effect of blood and immune globulin preparations on the response to
mumps and varicella vaccines is unknown; however, commercial immune globulin
preparations contain antibodies to these viruses. Blood products available in the United
States are unlikely to contain a substantial amount of antibody to yellow fever virus. The
length of time that interference with injectable live-virus vaccine (other than yellow
fever) can persist after the antibody-containing product is a function of the amount of
antigen- specific antibody contained in the product (68-70). Therefore, after an antibody-
containing product is received, live vaccines (other than Ty21a typhoid, yellow fever,
LAIV, zoster, and rotavirus vaccines) should be delayed until the passive antibody has
degraded (Table 3-4). In circumstances where there is high-risk of vaccine-preventable
disease it is acceptable to administer a dose of vaccine prior to completion of this interval.
If a dose of injectable live-virus vaccine (other than yellow fever and zoster) is
administered after an antibody-containing product but at an interval shorter than
recommended in this report, the vaccine dose should be repeated. The repeat dose
should be administered at the interval indicated for the antibody-containing product,
after the invalid dose of vaccine (Table 3-5).




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics    23
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 25 of 197



Although passively acquired antibodies can interfere with the response to rubella
vaccine, the low dose of anti-Rho(D) globulin or any other blood product administered
to postpartum women have not been demonstrated to reduce the response to the
RA27/3 strain rubella vaccine (71). Congenital rubella syndrome and congenital
varicella are conditions with considerable morbidity and represent a true risk in future
pregnancies.
Because of the importance of rubella and varicella immunity among women of child-
bearing age (4,72), the postpartum vaccination of women without evidence of immunity
to rubella or varicella with MMR, varicella, or MMRV vaccines should not be delayed
because of receipt of anti-Rho(D) globulin or any other blood product during the last
trimester of pregnancy or at delivery. Any reduction in immunity caused by anti-Rho(D)
globulin or other blood products is outweighed by the opportunity to generate immunity.
These women should be vaccinated immediately after giving birth and, if possible, tested
≥3 months later to ensure immunity to rubella and, if appropriate, to measles (2).
Measles and rubella serologies have a low false-positive rate and are therefore acceptable
for use in this limited postpartum context.

Interference might occur if administration of an antibody-containing product becomes
necessary after administration of MMR or varicella vaccines. Usually, vaccine virus
replication and stimulation of immunity occurs 1-2 weeks after vaccination. If the
interval between administration of any of these vaccines and subsequent administration
of an antibody-containing product is <14 days, vaccination should be repeated after the
recommended interval (Tables 3-4 and 3-5) unless serologic testing indicates a
protective antibody response (7).

A humanized mouse monoclonal antibody product (palivizumab) is available as
prophylaxis for serious lower respiratory tract disease from respiratory syncytial
virus among infants and young children. This product contains only antibody to
respiratory syncytial virus and does not interfere with the immune response to
licensed live or inactivated vaccines.




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   24
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 26 of 197



Inactivated Vaccines
Antibody-containing products interact less with inactivated, recombinant subunit, and
polysaccharide vaccines and toxoids than with live vaccines (73). Therefore,
administering inactivated vaccines and toxoids either simultaneously with or at any
interval before or after receipt of an antibody-containing product should not
substantially impair development of a protective antibody response (Table 3-4). The
vaccine or toxoid and antibody preparation should be administered at different sites
using the standard recommended dose.

Interchangeability of Single-Component Vaccines from
Different Manufacturers
Certain vaccines that provide protection from the same diseases are available from
different manufacturers, and these vaccines usually are not identical in antigen content or
in amount or method of formulation. Manufacturers use different production processes,
and their products might contain different concentrations of antigen per dose or a
different stabilizer or preservative.

Available data indicate that infants who receive sequential doses of different Hib
conjugate, hepatitis B, and hepatitis A vaccines produce a satisfactory antibody
response after a complete primary series (74-77). All brands of Hib conjugate, hepatitis
B,(d) hepatitis A, rotavirus,(e) and quadrivalent meningococcal conjugate vaccines are
interchangeable within their respective series. If different brands of a particular
vaccine require a different number of doses for series completion (e.g., Hib and
rotavirus vaccines) and a provider mixes brands in the primary series, the higher
number of doses is recommended for series completion (e.g., doses of either rotavirus
or Hib vaccine). For Hib vaccines, any monovalent or combination conjugate vaccine is
acceptable for the booster dose of the series, if only one product was used for the
primary series (56).

Limited data are available about the safety, immunogenicity, and efficacy of using
acellular pertussis (i.e., DTaP) vaccines from different manufacturers for successive doses
of the pertussis series. Data from one study indicate that for the first 3 doses of the DTaP
series, 1-2 doses of Tripedia (Sanofi Pasteur) followed by Infanrix (GlaxoSmithKline) for
the remaining dose (or doses) is comparable to 3 doses of Tripedia with regard to
General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   25
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 27 of 197



immunogenicity, as measured by antibodies to diphtheria, tetanus, and pertussis toxoids,
and filamentous hemagglutinin (78). However, in the absence of a clear serologic
correlate of protection for pertussis, the relevance of these immunogenicity data for
protection against pertussis is unknown. When feasible, the same brand of DTaP vaccine
should be used for all doses of the vaccination series (56). If vaccination providers do not
know or have available the type of DTaP vaccine previously administered to a child, any
DTaP vaccine may be used to continue or complete the series (56). For a child who needs
2 doses of influenza vaccine (IIV or LAIV), it is preferable to use the same type of vaccine
for both doses. However, if the child is eligible for either IIV or LAIV, and the type of
vaccine used for the first dose is not available, either vaccine can be used for the second
dose (56). In a postlicensure study, meningococcal conjugate vaccines from different
manufacturers were evaluated for successive doses of meningococcal conjugate vaccine.
Persistence of antibodies were studied in recipients of MCV4-CRM after previous receipt
of either MCV4- CRM or MenACWY-D. The percentage of persons with protective titers
were the same for all serogroups. No data exist on the use of MenACWY-D after MCV4-
CRM. Health-care providers should use every opportunity to provide a dose when
indicated, regardless of the vaccine brand used for the previous dose or doses. For
vaccines in general, vaccination should not be deferred because the brand used for
previous doses is not available or is unknown (29,79).



Lapsed Vaccination Schedule
Vaccination providers should administer vaccines as close to the recommended intervals
as possible. However, intervals between doses that are longer than recommended
typically do not reduce final antibody concentrations, although protection might not be
attained until the recommended number of doses has been administered. With some
exceptions (e.g. oral typhoid vaccine) an interruption in the vaccination schedule does not
require restarting the entire series of a vaccine or toxoid or addition of extra doses (7).




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics      26
       Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 28 of 197



Unknown or Uncertain Vaccination Status
Vaccination providers frequently encounter persons who do not have adequate
documentation of vaccinations. With the exception of influenza vaccine and PPSV23,
providers should only accept written, dated records as evidence of vaccination; self-
reported doses of influenza vaccine and PPSV23 are acceptable (61,80). The rationale for
acceptance for influenza vaccine is that the time period of recall is one year or less,
making it very likely that correct recall will occur. The rationale for acceptance for
PPSV23 is high frequency of vaccination leads to an increased rate of local reactions due
to the reactogenicity of this vaccine. Although vaccinations should not be postponed if
records cannot be found, an attempt to locate missing records should be made by
contacting previous health care providers, reviewing state or local IISs, and searching for
a personally held record. If records cannot be located within a reasonable time, these
persons should be considered susceptible and started on the age-appropriate vaccination
schedule. Serologic testing for immunity is an alternative to vaccination for certain
antigens (e.g., measles, rubella, hepatitis A, and tetanus). However, commercial serologic
testing might not always be sufficiently sensitive or standardized for detection of vaccine-
induced immunity (with the exception of hepatitis B vaccination at 1-2 months after the
final dose), and research laboratory testing might not be readily available.
(a) During measles outbreaks, if cases are occurring among infants aged <12 months, measles vaccination of infants as young as 6


months can be used as an outbreak control measure. However, doses administered at ages <12 months should not be counted as part
of the series (81).

(b) In certain situations, local or state requirements might mandate that doses of selected vaccines be administered on or after

specific ages. For example, a school entry requirement might not accept a dose of MMR or varicella vaccine administered before the
child’s first birthday. ACIP recommends that physicians and other health-care providers comply with local or state vaccination
requirements when
scheduling and administering vaccines.
(c) Provider assessment should include number of injections, vaccine availability, likelihood of improved coverage, likelihood of patient

return, and storage and cost considerations.

(d) The exception is the 2-dose hepatitis B vaccination series for adolescents aged 11-15 years. Only Recombivax HB (Merck Vaccine


Division) should be used in the schedule. Engerix-B (GlaxoSmithKline) is not approved by FDA for this schedule.

(e)Based on expert opinion.




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics                                           27
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 29 of 197



TABLE 3-1. Recommended and minimum ages and intervals between vaccine
doses(a),(b),(c),(d)
Known as the “grace period”, vaccine doses administered ≤4 days before the minimum
interval or age are considered valid; however, local or state mandates might supersede
this 4-day guideline
“3 calendar months” (or fewer) can be converted into weeks per the formula “1 month = 4
weeks”

Vaccine and Recommended                     Minimum      Recommended                   Minimum
dose        age for this dose               age for this interval to next              interval to
number                                      dose         dose                          next dose

DTaP-1(e)          2 months                 6 weeks           8 weeks                  4 weeks

DTaP-2             4 months                 10 weeks          8 weeks                  4 weeks

DTaP-3             6 months                 14 weeks          6-12 months(f)           6 months(f)

DTaP-4             15-18 months             15 months(f)      3 years                  6 months

DTaP-5(g)          4-6 years                4 years           —                        —

HepA-1(e)          12-23 months             12 months         6-18 months              6 months

HepA-2             ≥18 months               18 months         —                        —

HepB-1(h)          Birth                    Birth             4 weeks-4 months         4 weeks

HepB-2             1-2 months               4 weeks           8 weeks-17 months        8 weeks

HepB-3(i)          6-18 months              24 weeks          —                        —

Hib-1(j)           2 months                 6 weeks           8 weeks                  4 weeks

Hib-2              4 months                 10 weeks          8 weeks                  4 weeks

Hib-3(k)           6 months                 14 weeks          6-9 months               8 weeks

Hib-4              12-15 months             12 months         —                        —

HPV Two Dose Series(l)

HPV-1              11-12 years              9 years           6 months                 5 months

HPV-2              11-12 years (+6          9 years + 5       —                        —
                   months)                  months(m)

HPV Three Dose Series

HPV-1(n)           11-12 years              9 years           1-2 months               4 weeks


General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics          28
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 30 of 197



HPV-2              11-12 years (+1-2        9 years (+4       4 months                 12 weeks(n)
                   months)                  weeks)

HPV-3(n),          11-12 years (+6          9 years (+5       —                        —
                   months)                  months)

Influenza,         ≥6 months                6 months(p)       4 weeks                  4 weeks
inactivated(o)

IPV-1(e)           2 months                 6 weeks           8 weeks                  4 weeks

IPV-2              4 months                 10 weeks          8 weeks-14 months        4 weeks

IPV-3              6-18 months              14 weeks          3-5 years                6 months

IPV-4(q)           4-6 years                4 years           —                        —

LAIV(o)            2-49 years               2 years           4 weeks                  4 weeks

MenACWY-1(r) 11-12 years                    2 months (s)      4-5 years                8 weeks

MenACWY-2          16 years                 11 years (+8      —                        —
                                            weeks)(t)

MenB-1             Healthy adolescents: 16 years              Bexsero: 4 weeks         Bexsero: 4
                   16-23 years                                Trumenba: 6              weeks
                                                              months(c)                Trumenba: 6
                                                                                       months(c)

                   Persons at increased 10 years              Bexsero: 4 weeks         Bexsero: 4
                   risk: ≥10 years                            Trumenba: 1-2            weeks
                                                              months(c)                Trumenba: 1
                                                                                       month

MenB-2             Healthy adolescents: 16 years (+1          —                        —
                   16-23 years (+1      month)
                   month)

                   Persons at increased 10 years (+1          Bexsero: —               Bexsero: —
                   risk: ≥10 years (+1  month)                Trumenba: 4-5            Trumenba: 4
                   month)                                     months(c)                months(c)

MenB-3(u)          Persons at increased 10 years (+ 6         —                        —
                   risk: ≥ 10 years (+ 6 months(c))
                   months(c))

MMR-1(v)           12-15 months             12 months         3-5 years                4 weeks

MMR-2(v)           4-6 years                13 months         —                        —


General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics          29
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 31 of 197



PCV13-1(j)            2 months                       6 weeks              8 weeks                       4 weeks

PCV13-2               4 months                       10 weeks             8 weeks                       4 weeks

PCV13-3               6 months                       14 weeks             6 months                      8 weeks

PCV13-4               12-15 months                   12 months            —                             —

PPSV-1                —                              2 years              5 years                       5 years

PPSV-2(w)             —                              7 years              —                             —

Rotavirus-1(x)        2 months                       6 weeks              8 weeks                       4 weeks

Rotavirus-2           4 months                       10 weeks             8 weeks                       4 weeks

Rotavirus-3(x)        6 months                       14 weeks             —                             —

Td                    11-12 years                    7 years              10 years                      5 years

Tdap(y)               ≥11 years                      7 years              —                             —

Varicella-1(v)        12-15 months                   12 months            3-5 years                     12 weeks(z)

Varicella-2(v)        4-6 years                      15 months(aa) —                                    —

ZVL(bb)               ≥60 years                      60 years(cc)         —                             —

RZV - 1               ≥50 years                      50 years(dd)         2-6 months                    4 weeks

RZV - 2               ≥50 years (+ 2-6               50 years             —                             —
                      months)
Abbreviations: DTaP = diphtheria and tetanus toxoids and acellular pertussis; HepA = hepatitis A; HepB = hepatitis
B; Hib = Haemophilus influenzae type b; HPV = human papillomavirus; IPV = inactivated poliovirus; LAIV = live,
attenuated influenza vaccine; MenACWY = quadrivalent meningococcal conjugate vaccine; MenB = serogroup B
meningococcal vaccine; MenB-4C = Bexsero; MenB-FHbp = Trumenba; MMR = measles, mumps, and rubella; MMRV
= measles, mumps, rubella, and varicella; MPSV4 = quadrivalent meningococcal polysaccharide vaccine; PCV13 =
pneumococcal conjugate vaccine; PPSV23= pneumococcal polysaccharide vaccine; PRP-OMP = polyribosylribitol
phosphate-meningococcal outer membrane protein conjugate; RZV = recombinant zoster vaccine; Td = tetanus and
diphtheria toxoids; Tdap = tetanus toxoid, reduced diphtheria toxoid, and acellular pertussis; ZVL = zoster vaccine live.
(a) Combination vaccines are available. Use of licensed combination vaccines is generally preferred to separate

injections of their equivalent component vaccines. When administering combination vaccines, the minimum age for
administration is the oldest age for any of the individual components. The minimum interval between doses is equal to
the greatest interval of any of the individual components.
(b) Information on travel vaccines, including typhoid, Japanese encephalitis, and yellow fever, is available at

https://www.cdc.gov/travel. Information on other vaccines that are licensed in the United States but not distributed,
including anthrax and smallpox, is available at http://emergency.cdc.gov/bioterrorism/ .
(c) “Months” refers to calendar months.

(d) Within a number range, a hyphen (-) should be read as “through.”

(e) Combination vaccines containing the hepatitis B component are available (see Table 3-2). These vaccines should not

be administered to infants aged <6 weeks because of the other vaccine components (i.e., Hib, DTaP, HepA, and IPV).




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics                           30
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 32 of 197



(f) The minimum recommended interval between DTaP-3 and DTaP-4 is 6 months. However, DTaP-4 need not be

repeated if administered at least 4 months after DTaP-3. This is a special grace period of 2 months which can be used if
evaluating records retrospectively. An additional 4 days should not be added to this grace period prospectively, but can
be added retrospectively.
(g) If a fourth dose of DTaP is given on or after the fourth birthday, a fifth dose is not needed

(h) Adjuvanted Hepatitis B vaccine (HepB-CgG) can be administered to adults 18 years old and older on a two dose

schedule, the first and second dose separated by 4 weeks.
(i) HepB-3 should be administered at least 8 weeks after HepB-2 and at least 16 weeks after HepB-1 and should not be

administered before age 24 weeks.
(j) For Hib and PCV13, children receiving the first dose of vaccine at age ≥7 months require fewer doses to complete the

series.
(k) If PRP-OMP (Pedvax-Hib, Merck Vaccine Division) was administered at ages 2 and 4 months, a dose at age 6

months is not necessary. The final dose has a minimum age of 12 months.
(l) A two-dose schedule of HPV vaccine is recommended for most persons beginning the series between 9 through 14

years of age. See HPV vaccine-specific recommendations for details.
www.cdc.gov/mmwr/volumes/65/wr/pdfs/mm6549a5.pdf
(m) If a patient is eligible for a 2-dose HPV series, and the second dose is given less than four weeks after the first dose,

it is an invalid dose. Administer another dose 6-12 months after the first dose. If the second dose is given less than five
months after the first dose, but more than four weeks after the first dose, the next dose should be administered at least
12 weeks after the second dose, and at least 6-12 months after the first dose. The 4-day grace period may be used. If the
third dose was administered before December 16, 2016, and was administered 12 weeks after the 2nd dose, and 16
weeks after the first dose, it is a valid dose. The 4-day grace period may be used. If the third dose was administered on
or after December 16, 2016, and was administered 12 weeks after the 2nd dose and 5 months after the first dose, it is a
valid dose. The 4-day grace period may be used.

(n) The minimum age for HPV-3 is based on the baseline minimum age for the first dose (i.e., 9 years) and the minimum

interval of 5 months between the first and third dose. If the third dose was administered before December 16, 2016,
and was administered 12 weeks after the 2nd dose, and 16 weeks after the first dose, it is a valid dose. The 4- day grace
period may be used. If the third dose was administered on or after December 16, 2016, and was administered.
(o) One dose of influenza vaccine per season is recommended for most persons. To determine which children younger

than 9 years should receive 2 doses in a single season, please see influenza vaccine-specific recommendations (82).
(p) The minimum age for inactivated influenza vaccine varies by vaccine manufacturer. See package insert for vaccine-

specific minimum ages.
(q) A fourth dose is not needed if the third dose was administered at ≥4 years and at least 6 months after the previous

dose.
(r) Revaccination with meningococcal vaccine is recommended for previously vaccinated persons who remain at high

risk for meningococcal disease (47).
(s) MenACWY-D (Menactra) can be given as young as 9 months for high-risk persons. MenACWY-CRM (Menveo) can

be given as young as 2 months for high-risk persons. Hib-MenCY can be given as young as 6 weeks for high-risk
persons. Hib-MenCY is given as a 4-dose series at 2 months, 4 months, 6 months and 12-18 months.
(t) For routine non-high risk adolescent vaccination, the minimum age for the booster dose is 16 years.

(u) This dose is not necessary if Bexsero is correctly administered, or if Trumenba is correctly administered to healthy

adolescents.
(v) Combination MMRV vaccine can be used for children aged 12 months-12 years. See text for details.

(w) A second dose of PPSV23 5 years after the first dose is recommended for persons aged ≤65 years at highest risk for

serious pneumococcal infection and those who are likely to have a rapid decline in pneumococcal antibody
concentration (61).
(x) The first dose of rotavirus must be administered at age 6 weeks through 14 weeks and 6 days. The vaccine series

should not be started for infants aged ≥15 weeks, 0 days. Rotavirus should not be administered to children older than 8
months, 0 days of age regardless of the number of doses received between 6 weeks and 8 months, 0 days of age. If 2
doses of Rotarix (GlaxoSmithKline) are administered as age appropriate, a third dose is not necessary.




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics                                31
      Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 33 of 197



 (y) Only 1 dose of Tdap is recommended. Subsequent doses should be given as Td. For management of a tetanus-prone

 wound in persons who have received a primary series of tetanus-toxoid–containing vaccine, the minimum interval after
 a previous dose of any tetanus-containing vaccine is 5 years.
 (z) A special grace period of 2 months, based on expert opinion, can be applied to the minimum interval of 3 months,
 when evaluating records retrospectively, which results in an acceptable minimum interval of 4 weeks. An additional 4
 days should not be added on to this grace period.
 (aa) A special grace period of 2 months, based on expert opinion, can be applied to the minimum age of 15 months when

 evaluating records retrospectively, which results in an acceptable minimum age of 13 months. An additional 4 days
 should not be added on to this grace period.
 (bb) Zoster vaccine live is recommended as a single dose for persons aged ≥60 years.

 (cc)If a dose of zoster vaccine live is administered to some one 50-59 years of age, the dose does not need to be repeated.

 A 4 day grace period can be added to the absolute minimum age of 50 years when evaluating records retrospectively.
 (dd)If a 1st dose of recombinant zoster vaccine is administered to someone 18 – 49 years of age, the dose does not need to

 be repeated. A 4 day grace period can be added to the absolute minimum age of 18 years when evaluating records
 retrospectively.




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics                              32
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 34 of 197



 TABLE 3-2. FDA-licensed combination vaccines(a)

 Vaccine(b)                 Trade name                    Age range               Routinely recommended
                            (year licensed)                                       ages
 HepA-HepB                  Twinrix (2001)                ≥18 years               Three doses on a schedule of
                                                                                  0, 1, and 6 months

 DTaP-HepB-IPV              Pediarix (2002)               6 weeks-6 years         Three-dose series at 2, 4,
                                                                                  and 6 months of age
 MMRV                       ProQuad (2005)                12 months-12            Two doses, the first at 12-15
                                                          years                   months, the second at 4-6
                                                                                  years

 DTaP-IPV                   Kinrix (2008)                 4-6 years               Fifth dose of DTaP and
                                                                                  fourth dose of IPV

 DTaP-IPV/Hib               Pentacel (2008)               6 weeks-4 years         Four-dose schedule at 2, 4,
                                                                                  6, and 15-18 months of age


 Hib-MenCY                  MenHibrix (2012)              6 weeks-18              Four-dose schedule at 2, 4,
                                                          months                  6, and 12-15 months of age(c)


 DTaP-IPV                   Quadracel (2015)              4-6 years               Fifth dose of DTaP and
                                                                                  fourth or fifth dose of IPV


 Abbreviations: DT = diphtheria and tetanus toxoids; DTaP = diphtheria and tetanus toxoids and acellular pertussis;
 FDA = Food and Drug Administration; HepA = hepatitis A; HepB = hepatitis B; Hib = Haemophilus influenzae type b;
 IPV = inactivated poliovirus; MMR = measles, mumps, and rubella; MMRV = measles, mumps, rubella, and varicella;
 Td = tetanus and diphtheria toxoids; Tdap = tetanus toxoid, reduced diphtheria toxoid, and acellular pertussis.
 Source: (82).
 (a) Although MMR, DTaP, DT, Td, and Tdap are combination vaccines, they are not included on this list because they

 are not available in the United States as single-antigen products.
 (b) In descriptions of combination vaccines, dash (-) indicates products in which the active components are supplied in

 their final (combined) form by the manufacturer; slash ( / ) indicates products in which active components must be
 mixed by the user.
 (c) Hib-MenCY can be used for routine dosing of Hib vaccine but is recommended only for meningococcal vaccination

 in persons at high-risk of meningococcal disease.




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics                            33
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 35 of 197



TABLE 3-3. Guidelines for spacing of live and inactivated antigens

Antigen combination                          Recommended minimum interval between doses

Two or more inactivated(a),(b)               May be administered simultaneously or at any interval
                                             between doses

Inactivated and live(c)                      May be administered simultaneously or at any interval
                                             between doses

Two or more live injectable(c)               28 days minimum interval, if not administered
                                             simultaneously
Source: (83).
(a) Certain experts suggest a 28-day interval between tetanus toxoid, reduced diphtheria toxoid, and acellular pertussis

(Tdap) vaccine and tetravalent meningococcal conjugate vaccine if they are not administered simultaneously.
(b) In persons with functional or anatomic asplenia, MCV-D and PCV13 should not be administered simultaneously and

should be spaced by 4 weeks. Likewise for persons with immunosuppressive high-risk conditions indicated for PCV13
and PPSV23, PCV13 should be administered first, and PPSV23 should be administered no earlier than 8 weeks later.
For persons 65 years old or older indicated for PCV13 and PPSV23, PCV13 should be administered first and PPSV23
should be administered 6-12 months later.
(c) The live oral vaccines Ty21a typhoid vaccine and rotavirus vaccine may be administered simultaneously with or at

any interval before or after inactivated or live injectable vaccines.




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics                            34
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 36 of 197



TABLE 3-4. Guidelines for administering antibody-containing products(a)
and vaccines

Type of        Products administered                              Recommended minimum
administration                                                    interval between doses

Simultaneous           Antibody-containing products and           Can be administered
(during the same       inactivated antigen                        simultaneously at different
clinic day)                                                       anatomic sites or at any time
                                                                  interval between doses

                       Antibody-containing products and           Should not be administered
                       live antigen                               simultaneously.(b) If
                                                                  simultaneous administration of
                                                                  measles-containing vaccine or
                                                                  varicella vaccine is unavoidable,
                                                                  administer at different sites and
                                                                  revaccinate or test for
                                                                  seroconversion after the
                                                                  recommended interval (see
                                                                  Table 3-5)

Nonsimultaneous Administered                 Administered
                first                        second

                       Antibody-             Inactivated          No interval necessary
                       containing            antigen
                       products

                       Inactivated           Antibody-            No interval necessary
                       antigen               containing
                                             products

                       Antibody-             measles,          Dose related(b),(c)
                       containing            mumps, rubella
                       products              vaccine,
                                             varicella
                                             vaccine, and
                                             combined
                                             measles,
                                             mumps, rubella,
                                             varicella vaccine
                                             antigens




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics       35
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 37 of 197



                           MMR vaccine,               Antibody-                2 weeks(b)
                           varicella vaccine,         containing
                           and combined               products
                           measles, mumps,
                           rubella, varicella
                           vaccine antigens
(a) Blood products containing substantial amounts of immune globulin include intramuscular, subcutaneous, and

intravenous immune globulin, specific hyperimmune globulin (e.g., hepatitis B immune globulin, tetanus immune
globulin, varicella zoster immune globulin, and rabies immune globulin), whole blood, packed red blood cells, plasma,
and platelet products.
(b) Yellow fever vaccine; rotavirus vaccine; oral Ty21a typhoid vaccine; live, attenuated influenza vaccine; and zoster

vaccine are exceptions to these recommendations. These live, attenuated vaccines can be administered at any time
before or after or simultaneously with an antibody-containing product.
(c) The duration of interference of antibody-containing products with the immune response to the measles component

of measles-containing vaccine, and possibly varicella vaccine, is dose related (see Table 3-5).




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics                              36
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 38 of 197



TABLE 3-5. Recommended intervals between administration of antibody-
containing products and measles- or varicella-containing vaccine, by
product and indication for vaccination

Product/Indication                         Dose (mg IgG/kg)           Recommended interval
                                           and route(a)               before measles- or
                                                                      varicella-containing
                                                                      vaccine(b) administration
                                                                      (months)

Blood transfusion

RBCs, washed                               10 mL/kg, negligible       None
                                           IgG/kg IV

RBCs, adenine-saline added                 10 mL/kg (10 mg            3
                                           IgG/kg) IV

Packed RBCs (hematocrit 65%)(c)            10 mL/kg (60 mg            6
                                           IgG/kg) IV

Whole blood (hematocrit 35%-               10 mL/kg (80-100           6
50%)(c)                                    mg IgG/kg) IV

Plasma/platelet products                   10 mL/kg (160 mg           7
                                           IgG/kg) IV

Botulinum Immune Globulin                  1.0 mL/kg (50 mg           6
Intravenous (Human)                        IgG/kg) IV

Cytomegalovirus IGIV                       150 mg/kg maximum 6

Hepatitis A IG

Contact prophylaxis                        0.1 mL/kg (3.3 mg          3
                                           IgG/kg) IM

International travel, <1 month stay        0.1 mL/kg (3.3 mg          3
                                           IgG/kg) IM

International travel, ≥1 month stay        0.2 mL/kg (10 mg           3
                                           IgG/kg) IM

Hepatitis B IG                             0.06 mL/kg (10 mg          3
                                           IgG/kg) IM

IGIV

Replacement therapy for immune             300-400 mg/kg IV(d)        8
deficiencies(d)


General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   37
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 39 of 197



Immune thrombocytopenic                    400 mg/kg IV               8
purpura treatment

Postexposure varicella prophylaxis         400 mg/kg IV               8

Postexposure measles prophylaxis           400 mg/kg IV               8
for immunocompromised contacts

Immune thrombocytopenic                    1000 mg/kg IV              10
purpura treatment

Kawasaki disease                           2 g/kg IV                  11

Measles prophylaxis IG

Standard (i.e.,                            0.50 mL/kg (80 mg          6
nonimmunocompromised) contact              IgG/kg) IM

Monoclonal antibody to                     15 mg/kg IM                None
respiratory syncytial virus F
protein (e.g., Synagis
[MedImmune])(e)

Rabies IG                                  20 IU/kg (22 mg            4
                                           IgG/kg) IM

Tetanus IG                                 250 units (10 mg           3
                                           IgG/kg) IM

Varicella IG                               125 units/10 kg (60-       5
                                           200 mg IgG/kg) IM,
                                           maximum 625 units




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   38
      Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 40 of 197



Abbreviations: HIV = human immunodeficiency virus; IG = immune globulin; IgG = immune globulin G; IGIV =
intravenous immune globulin; mg IgG/kg = milligrams of immune globulin G per kilogram of body weight; IM =
intramuscular; IV = intravenous; RBCs = red blood cells.
              (a) This table is not intended for determining the correct indications and dosages for using antibody-

               containing products. Unvaccinated persons might not be protected fully against measles during the
               entire recommended interval, and additional doses of IG or measles vaccine might be indicated after
               measles exposure. Concentrations of measles antibody in an IG preparation can vary by manufacturer’s
               lot. Rates of antibody clearance after receipt of an IG preparation also might vary. Recommended
               intervals are extrapolated from an estimated half-life of 30 days for passively acquired antibody and an
               observed interference with the immune response to measles vaccine for 5 months after a dose of 80 mg
               IgG/kg. Sources: Mason W, Takahashi M, Schneider T. Persisting passively acquired measles antibody
               following gamma globulin therapy for Kawasaki disease and response to live virus vaccination [Abstract
               311]. Presented at the 32 meeting of the Interscience Conference on Antimicrobial Agents and
               Chemotherapy, Los Angeles, California, October, 1992, AND Siber GR, Werner BG, Halsey NA, et al.
               Interference of immune globulin with measles and rubella immunization. J Pediatr. 1993;122(2):204-
               211. DOI: 10.1016/S0022-3476(06)80114-9, AND Mason WH, Schneider TL, Takahashi M. Duration of
               passively acquired measles antibody and response to live virus vaccination allowing gamma globulin
               therapy for Kawasaki syndrome. Prog Pediatr Cardiol. 1992;1(1):82. DOI: 10.1016/S1058-
               9813(06)80067-6. The extrapolation is performed by counting months from 80 mg down to (1-3 mg)
               (e.g. 80 >>> 40 >> >20 >> >10 >>> 5>>>2.5….equal to FIVE intervals) and adding a grace month, so
               80 mg values take a “6 month” interval)


(b) Does not include zoster vaccine. Zoster vaccine may be given with antibody-containing blood products.

(c) Assumes a serum IgG concentration of 16 mg/mL.

(d) Measles vaccination is recommended for children with mild or moderate immunosuppression from HIV infection,

and varicella vaccination may be considered for children with mild or moderate immunosuppression from HIV
infection, but both are contraindicated for persons with severe immunosuppression from HIV or any other
immunosuppressive disorder.
 (e) Contains antibody only to respiratory syncytial virus.




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics                            39
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 41 of 197



REFERENCES
   1.      CDC. Diphtheria, tetanus, and pertussis: recommendations for vaccine use and
           other preventive measures. Recommendations of the Immunization Practices
           Advisory Committee (ACIP). MMWR Recomm Rep. 1991;40(RR-10):1-28.
   2.      CDC. Haemophilus b conjugate vaccines for prevention of Haemophilus
           influenzae type b disease among infants and children two months of age and
           older. Recommendations of the Immunization Practices Advisory Committee
           (ACIP). MMWR Recomm Rep. 1991;40(RR-1):1-7.
   3.      Plotkin SA. Immunologic correlates of protection induced by vaccination.
           Pediatr Infect Dis J. 2001;20(1):63-75. DOI: 10.1097/00006454-200101000-
           00013
   4.      Watson JC, Hadler SC, Dykewicz CA, Reef S, Phillips L. Measles, mumps, and
           rubella—vaccine use and strategies for elimination of measles, rubella, and
           congenital rubella syndrome and control of mumps: recommendations of the
           Advisory Committee on Immunization Practices (ACIP). MMWR Recomm Rep.
           1998;47(RR-8):1-57.
   5.      Watson JC, Pearson JA, Markowitz LE, et al. An evaluation of measles
           revaccination among school-entry-aged children. Pediatrics. 1996;97(5):613-
           618.
   6.      Marin M, Guris D, Chaves SS, Schmid S, Seward JF. Prevention of varicella:
           recommendations of the Advisory Committee on Immunization Practices
           (ACIP). MMWR Recomm Rep. 2007;56(RR-4):1-40.
   7.      Atkinson WL, Pickering LK, Schwartz B, Weniger BG, Iskander JK, Watson JC.
           General recommendations on immunization. Recommendations of the Advisory
           Committee on Immunization Practices (ACIP) and the American Academy of
           Family Physicians (AAFP). MMWR Recomm Rep. 2002;51(RR-2):1-35.
   8.      Manning SE, Rupprecht CE, Fishbein D, et al. Human rabies prevention—United
           States, 2008: recommendations of the Advisory Committee on Immunization
           Practices. MMWR Recomm Rep. 2008;57(RR-3):1-28.
   9.      https://www.cdc.gov/vaccines/programs/iis/cdsi.html
   10.     Levine L, Edsall G. Tetanus toxoid: what determines reaction proneness? J
           Infect Dis. 1981;144(4):376. DOI: 10.1093/infdis/144.4.376

General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   40
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 42 of 197



   11.     Edsall G, Elliott MW, Peebles TC, Eldred MC. Excessive use of tetanus toxoid
           boosters. JAMA. 1967;202(1):111-113. DOI: 10.1001/jama.1967.03130140075009
   12.     King GE, Hadler SC. Simultaneous administration of childhood vaccines: an
           important public health policy that is safe and efficacious. Pediatr Infect Dis J.
           1994;13(5):394-407.
   13.     National Vaccine Advisory Committee. Standards for child and adolescent
           immunization practices. Pediatrics. 2003;112(4):958-963.
   14.     Hutchins SS, Escolan J, Markowitz LE, et al. Measles outbreak among
           unvaccinated preschool-aged children: opportunities missed by health care
           providers to administer measles vaccine. Pediatrics. 1989;83(3):369-374.
   15.     Deforest A, Long SS, Lischner HW, et al. Simultaneous administration of
           measles-mumps-rubella vaccine with booster doses of diphtheria-tetanus-
           pertussis and poliovirus vaccines. Pediatrics. 1988;81(2):237-246.
   16.     Dashefsky B, Wald E, Guerra N, Byers C. Safety, tolerability, and
           immunogenicity of concurrent administration of Haemophilus influenzae type b
           conjugate vaccine (meningococcal protein conjugate) with either measles-
           mumps-rubella vaccine or diphtheria-tetanus-pertussis and oral poliovirus
           vaccines in 14- to 23-month-old infants. Pediatrics. 1990;85(4 Pt 2):682-689.
   17.     Giammanco G, Li Volti S, Mauro L, et al. Immune response to simultaneous
           administration of a recombinant DNA hepatitis B vaccine and multiple
           compulsory vaccines in infancy. Vaccine. 1991;9(10):747-750. DOI:
           10.1016/0264-410X(91)90291-D
   18.     Grohskopf LA, Sokolow LZ, Olsen SJ, Bresee JS, Broder KR, Karron RA.
           Prevention and control of influenza with vaccines: recommendations of the
           Advisory Committee on Immunization Practices, United States, 2015-16
           influenza season. MMWR Morb Mortal Wkly Rep. 2015;64(30):818-825.
   19.     CDC. Typhoid immunization: recommendations of the Immunization Practices
           Advisory Committee (ACIP). MMWR Recomm Rep. 1990;39(RR-10):1-5.
   20.     DeStefano F, Goodman RA, Noble GR, McClary GD, Smith S, Broome CV.
           Simultaneous administration of influenza and pneumococcal vaccines. JAMA.
           1982;247(18):2551-2554. DOI: 10.1001/jama.1982.03320430055032




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   41
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 43 of 197



   21.     Kretsinger K, Broder KR, Cortese MM, et al. Preventing tetanus, diphtheria, and
           pertussis among adults: use of tetanus toxoid, reduced diphtheria toxoid and
           acellular pertussis vaccine recommendations of the Advisory Committee on
           Immunization Practices (ACIP) and recommendation of ACIP, supported by the
           Healthcare Infection Control Practices Advisory Committee (HICPAC), for use of
           Tdap among health-care personnel. MMWR Recomm Rep. 2006;55(RR-17):1-
           37.
   22.     Yvonnet B, Coursaget P, Deubel V, Diop-Mar I, Digoutte JP, Chiron JP.
           Simultaneous administration of hepatitis B and yellow fever vaccines. J Med
           Virol. 1986;19(4):307-311. DOI: 10.1002/jmv.1890190403
   23.     Stefano I, Sato HK, Pannuti CS, et al. Recent immunization against measles does
           not interfere with the sero-response to yellow fever vaccine. Vaccine. 1999;17(9-
           10):1042-1046. DOI: 10.1016/S0264-410X(98)00320-X
   24.     Staples JE, Gershman M, Fischer M. Yellow fever vaccine: recommendations of
           the Advisory Committee on Immunization Practices (ACIP). MMWR Recomm
           Rep. 2010;59(RR-7):1-27.
   25.     Leroy Z, Broder K, Menschik D, Shimabukuro T, Martin D. Febrile seizures after
           2010-2011 influenza vaccine in young children, United States: a vaccine safety
           signal from the vaccine adverse event reporting system. Vaccine.
           2012;30(11):2020-2023. DOI: 10.1016/j.vaccine.2011.12.042
   26.     Tse A, Tseng HF, Greene SK, Vellozzi C, Lee GM. Signal identification and
           evaluation for risk of febrile seizures in children following trivalent inactivated
           influenza vaccine in the Vaccine Safety Datalink Project, 2010-2011. Vaccine.
           2012;30(11):2024-2031. DOI: 10.1016/j.vaccine.2012.01.027
   27.     CDC. Recommendation of the Advisory Committee on Immunization Practices
           (ACIP) for use of quadrivalent meningococcal conjugate vaccine (MenACWY-D)
           among children aged 9 through 23 months at increased risk for invasive
           meningococcal disease. MMWR Morb Mortal Wkly Rep. 2011;60(40):1391-
           1392.
   28.     CDC. Use of 13-valent pneumococcal conjugate vaccine and 23-valent
           pneumococcal polysaccharide vaccine for adults with immunocompromising




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics    42
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 44 of 197



           conditions: recommendations of the Advisory Committee on Immunization
           Practices (ACIP). MMWR Morb Mortal Wkly Rep. 2012;61(40):816-819.
   29.     CDC. Use of 13-valent pneumococcal conjugate vaccine and 23-valent
           pneumococcal polysaccharide vaccine among children aged 6-18 years with
           immunocompromising conditions: recommendations of the Advisory Committee
           on Immunization Practices (ACIP). MMWR Morb Mortal Wkly Rep.
           2013;62(25):521-524.
   30.     Tomczyk S, Bennett NM, Stoecker C, et al. Use of 13-valent pneumococcal
           conjugate vaccine and 23-valent pneumococcal polysaccharide vaccine among
           adults aged >/=65 years: recommendations of the Advisory Committee on
           Immunization Practices (ACIP). MMWR Morb Mortal Wkly Rep.
           2014;63(37):822-825.
   31.     CDC. Recommended immunization schedules for persons aged 0 through 18
           years—United States, 2011. MMWR Morb Mortal Wkly Rep. 2011;60(5):1-4.
   32.     Shinefield HR, Black S, Ray P, et al. Safety and immunogenicity of heptavalent
           pneumococcal CRM197 conjugate vaccine in infants and toddlers. Pediatr Infect
           Dis J. 1999;18(9):757-763. DOI: 10.1097/00006454-199909000-00004
   33.     CDC. Pertussis vaccination: use of acellular pertussis vaccines among infants
           and young children. Recommendations of the Advisory Committee on
           Immunization Practices (ACIP). MMWR Recomm Rep. 1997;46(RR-7):1-25.
   34.     Broder KR, Cortese MM, Iskander JK, et al. Preventing tetanus, diphtheria, and
           pertussis among adolescents: use of tetanus toxoid, reduced diphtheria toxoid
           and acellular pertussis vaccines recommendations of the Advisory Committee on
           Immunization Practices (ACIP). MMWR Recomm Rep. 2006;55(RR-3):1-34.
   35.     Nuorti JP, Whitney CG. Prevention of pneumococcal disease among infants and
           children - use of 13-valent pneumococcal conjugate vaccine and 23-valent
           pneumococcal polysaccharide vaccine - recommendations of the Advisory
           Committee on Immunization Practices (ACIP). MMWR Recomm Rep.
           2010;59(RR-11):1-18.
   36.     Mast EE, Margolis HS, Fiore AE, et al. A comprehensive immunization strategy
           to eliminate transmission of hepatitis B virus infection in the United States:
           recommendations of the Advisory Committee on Immunization Practices (ACIP)


General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics    43
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 45 of 197



           part 1: immunization of infants, children, and adolescents. MMWR Recomm
           Rep. 2005;54(RR-16):1-31.
   37.     Committee on Infectious Diseases. Recommended childhood and adolescent
           immunization schedules—United States, 2010. Pediatrics. 2010;125(1):195-196.
           DOI: 10.1542/peds.2009-3194
   38.     CDC. Recommended adult immunization schedule—United States, 2011. MMWR
           Morb Mortal Wkly Rep. 2011;60(4):1-4.
   39.     Woodin KA, Rodewald LE, Humiston SG, Carges MS, Schaffer SJ, Szilagyi PG.
           Physician and parent opinions. Are children becoming pincushions from
           immunizations? Arch Pediatr Adolesc Med. 1995;149(8):845-849. DOI:
           10.1001/archpedi.1995.02170210019003
   40.     Kuppermann M, Nease RF, Jr., Ackerson LM, Black SB, Shinefield HR, Lieu TA.
           Parents' preferences for outcomes associated with childhood vaccinations.
           Pediatr Infect Dis J. 2000;19(2):129-133. DOI: 10.1097/00006454-200002000-
           00010
   41.     Meyerhoff A, Jacobs RJ, Greenberg DP, Yagoda B, Castles CG. Clinician
           satisfaction with vaccination visits and the role of multiple injections, results
           from the COVISE Study (Combination Vaccines Impact on Satisfaction and
           Epidemiology). Clin Pediatr (Phila). 2004;43(1):87-93.
   42.     Marshall GS, Happe LE, Lunacsek OE, et al. Use of combination vaccines is
           associated with improved coverage rates. Pediatr Infect Dis J. 2007;26(6):496-
           500. DOI: 10.1097/INF.0b013e31805d7f17
   43.     Kalies H, Grote V, Verstraeten T, Hessel L, Schmitt HJ, von Kries R. The use of
           combination vaccines has improved timeliness of vaccination in children.
           Pediatr Infect Dis J. 2006;25(6):507-512. DOI:
           10.1097/01.inf.0000222413.47344.23
   44.     Happe LE, Lunacsek OE, Kruzikas DT, Marshall GS. Impact of a pentavalent
           combination vaccine on immunization timeliness in a state Medicaid population.
           Pediatr Infect Dis J. 2009;28(2):98-101. DOI: 10.1097/INF.0b013e318187d047
   45.     Marin M, Broder KR, Temte JL, Snider DE, Seward JF. Use of combination
           measles, mumps, rubella, and varicella vaccine: recommendations of the




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   44
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 46 of 197



           Advisory Committee on Immunization Practices (ACIP). MMWR Recomm Rep.
           2010;59(RR-3):1-12.
   46.     Thompson LA, Irigoyen M, Matiz LA, LaRussa PS, Chen S, Chimkin F. The
           impact of DTaP-IPV-HB vaccine on use of health services for young infants.
           Pediatr Infect Dis J. 2006;25(9):826-831. DOI:
           10.1097/01.inf.0000232635.81312.06
   47.     Cohn AC, MacNeil JR, Clark TA, et al. Prevention and control of meningococcal
           disease: recommendations of the Advisory Committee on Immunization
           Practices (ACIP). MMWR Recomm Rep. 2013;62(RR-2):1-28.
   48.     Weniger BG, Chen RT, Jacobson SH, et al. Addressing the challenges to
           immunization practice with an economic algorithm for vaccine selection.
           Vaccine. 1998;16(19):1885-1897. DOI: 10.1016/S0264-410X(98)00170-4
   49.     Liang J, Wallace G, Mootrey G. Licensure of a diphtheria and tetanus toxoids
           and acellular pertussis adsorbed and inactivated poliovirus vaccine and guidance
           for use as a booster dose. MMWR Morb Mortal Wkly Report 2015;64: 948-9.
   50.     CDC. FDA approval of a Haemophilus b Conjugate Vaccine combined by
           reconstitution with an acellular pertussis vaccine. MMWR Morb Mortal Wkly
           Rep. 1996;45(45):993-995.
   51.     CDC. FDA approval for a combined hepatitis A and B vaccine. MMWR Morb
           Mortal Wkly Rep. 2001;50(37):806-807.
   52.     CDC. FDA licensure of diphtheria and tetanus toxoids and acellular pertussis
           adsorbed, hepatitis B (recombinant), and poliovirus vaccine combined,
           (PEDIARIX) for use in infants. MMWR Morb Mortal Wkly Rep.
           2003;52(10):203-204.
   53.     CDC. Licensure of a combined live attenuated measles, mumps, rubella, and
           varicella vaccine. MMWR Morb Mortal Wkly Rep. 2005;54(47):1212-1214.
   54.     CDC. Licensure of a diphtheria and tetanus toxoids and acellular pertussis
           adsorbed and inactivated poliovirus vaccine and guidance for use as a booster
           dose. MMWR Morb Mortal Wkly Rep. 2008;57(39):1078-1079.
   55.     CDC. Licensure of a diphtheria and tetanus toxoids and acellular pertussis
           adsorbed, inactivated poliovirus, and haemophilus B conjugate vaccine and




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   45
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 47 of 197



           guidance for use in infants and children. MMWR Morb Mortal Wkly Rep.
           2008;57(39):1079-1080.
   56.     Kroger AT, Sumaya CV, Pickering LK, Atkinson WL. General recommendations
           on immunization: recommendations of the Advisory Committee on
           Immunization Practices (ACIP). MMWR Recomm Rep. 2011:1-60.
   57.     Plotkin SA. Vaccines: correlates of vaccine-induced immunity. Clin Infect Dis.
           2008;47(3):401-409. DOI: 10.1086/589862
   58.     Lane KS, Chu SY, Santoli JM. The United States pediatric vaccine stockpile
           program. Clinical infectious diseases : an official publication of the Infectious
           Diseases Society of America. 2006;42 Suppl 3:S125-129. DOI: 10.1086/499591
   59.     Midthun K, Horne AD, Goldenthal KL. Clinical safety evaluation of combination
           vaccines. Dev Biol Stand. 1998;95:245-249.
   60.     Pichichero ME, Blatter MM, Reisinger KS, et al. Impact of a birth dose of
           hepatitis B vaccine on the reactogenicity and immunogenicity of diphtheria-
           tetanus-acellular pertussis-hepatitis B-inactivated poliovirus-Haemophilus
           influenzae type b combination vaccination. Pediatr Infect Dis J. 2002;21(9):854-
           859. DOI: 10.1097/01.inf.0000027669.37444.24
   61.     CDC. Prevention of pneumococcal disease: recommendations of the Advisory
           Committee on Immunization Practices (ACIP). MMWR Recomm Rep.
           1997;46(RR-8):1-24.
   62.     Bilukha OO, Rosenstein N. Prevention and control of meningococcal disease.
           Recommendations of the Advisory Committee on Immunization Practices
           (ACIP). MMWR Recomm Rep. 2005;54(RR-7):1-21.
   63.     Petralli JK, Merigan TC, Wilbur JR. Action of endogenous interferon against
           vaccinia infection in children. Lancet. 1965;2(7409):401-405. DOI:
           10.1016/S0140-6736(65)90755-5
   64.     Petralli JK, Merigan TC, Wilbur JR. Circulating interferon after measles
           vaccination. N Engl J Med. 1965;273:198-201. DOI:
           10.1056/nejm196507222730405
   65.     Verstraeten T, Jumaan AO, Mullooly JP, et al. A retrospective cohort study of the
           association of varicella vaccine failure with asthma, steroid use, age at




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   46
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 48 of 197



           vaccination, and measles-mumps-rubella vaccination. Pediatrics.
           2003;112(2):e98-103. DOI: 10.1542/peds.112.2.e98
   66.     CDC. General recommendations on immunization. Recommendations of the
           Advisory Committee on Immunization Practices (ACIP). MMWR Recomm Rep.
           1994;43(RR-1):1-38.
   67.     Harpaz R, Ortega-Sanchez IR, Seward JF. Prevention of herpes zoster:
           recommendations of the Advisory Committee on Immunization Practices
           (ACIP). MMWR Recomm Rep. 2008;57(RR-5):1-30; quiz CE32-34.
   68.     Siber GR, Werner BG, Halsey NA, et al. Interference of immune globulin with
           measles and rubella immunization. J Pediatr. 1993;122(2):204-211. DOI:
           10.1016/S0022-3476(06)80114-9
   69.     Mason WH, Schneider TL, Takahashi M. Duration of passively acquired measles
           antibody and response to live virus vaccination allowing gamma globulin therapy
           for Kawasaki syndrome. Prog Pediatr Cardiol. 1992;1(1):82. DOI:
           10.1016/S1058-9813(06)80067-6
   70.     Kaplan JE, Nelson DB, Schonberger LB, et al. The effect of immune globulin on
           the response to trivalent oral poliovirus and yellow fever vaccinations. Bull
           World Health Organ. 1984;62(4):585-590.
   71.     Black NA, Parsons A, Kurtz JB, McWhinney N, Lacey A, Mayon-White RT. Post-
           partum rubella immunisation: a controlled trial of two vaccines. Lancet.
           1983;2(8357):990-992. DOI: 10.1016/S0140-6736(83)90979-0
   72.     CDC. Control and prevention of rubella: evaluation and management of
           suspected outbreaks, rubella in pregnant women, and surveillance for congenital
           rubella syndrome. MMWR Recomm Rep. 2001;50(RR-12):1-23.
   73.     Siber GR, Snydman DR. Use of immune globulin in the prevention and
           treatment of infections. In: Remington J, Swartz M, eds. Current clinical topics
           in infectious diseases. Vol 12. Malden, MA: Blackwell Science; 1992.
   74.     Greenberg DP, Lieberman JM, Marcy SM, et al. Enhanced antibody responses in
           infants given different sequences of heterogeneous Haemophilus influenzae type
           b conjugate vaccines. J Pediatr. 1995;126(2):206-211. DOI: 10.1016/S0022-
           3476(95)70546-5




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   47
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 49 of 197



   75.     Anderson EL, Decker MD, Englund JA, et al. Interchangeability of conjugated
           Haemophilus influenzae type b vaccines in infants. JAMA. 1995;273(11):849-
           853. DOI: 10.1001/jama.1995.03520350031024
   76.     Piazza M, Abrescia N, Picciotto L, et al. [Demonstration of the interchangeability
           of 2 types of recombinant anti-hepatitis-B vaccine]. Boll Soc Ital Biol Sper.
           1993;69(4):273-280.
   77.     Bryan JP, Henry CH, Hoffman AG, et al. Randomized, cross-over, controlled
           comparison of two inactivated hepatitis A vaccines. Vaccine. 2000;19(7-8):743-
           750. DOI: 10.1016/S0264-410X(00)00301-7
   78.     Greenberg DP, Pickering LK, Senders SD, et al. Interchangeability of 2
           diphtheria-tetanus-acellular pertussis vaccines in infancy. Pediatrics.
           2002;109(4):666-672. DOI: 10.1542/peds.109.4.666
   79.     CDC. Use of diphtheria toxoid-tetanus toxoid-acellular pertussis vaccine as a
           five-dose series. Supplemental recommendations of the Advisory Committee on
           Immunization Practices (ACIP). MMWR Recomm Rep. 2000;49(RR-13):1-8.
   80.     Fiore AE, Uyeki TM, Broder K, et al. Prevention and control of influenza with
           vaccines: recommendations of the Advisory Committee on Immunization
           Practices (ACIP), 2010. MMWR Recomm Rep. 2010;59(RR-8):1-62.
   81.     McLean HQ, Fiebelkorn AP, Temte JL, Wallace GS. Prevention of measles,
           rubella, congenital rubella syndrome, and mumps, 2013: summary
           recommendations of the Advisory Committee on Immunization Practices
           (ACIP). MMWR Recomm Rep. 2013;62(RR-4):1-34.
   82.     Grohskopf LA, Olsen SJ, Sokolow LZ, et al. Prevention and control of seasonal
           influenza with vaccines: recommendations of the Advisory Committee on
           Immunization Practices (ACIP)—United States, 2014-15 influenza season.
           MMWR Morb Mortal Wkly Rep. 2014;63(32):691-697.
   83.     American Academy of Pediatrics. Active Immunization. In: Pickering L, Baker C,
           Kimberlin D, Long S, eds. Red Book: 2012 Report of the Committee on
           Infectious Diseases. 28th ed. Elk Grove Village, IL: American Academy of
           Pediatric; 2012.




General Best Practice Guidelines for Immunization: Timing and Spacing of Immunobiologics   48
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 50 of 197

          4. Contraindications and Precautions

Updates

Major changes to the best practice guidance in this section include 1) enhancement of
the definition of a “precaution” to include any condition that might confuse diagnostic
accuracy and 2) recommendation to vaccinate during a hospitalization if a patient is
not acutely moderately or severely ill.


General Principles
National standards for pediatric vaccination practices have been established and include
descriptions of valid contraindications and precautions to vaccination (2). Persons who
administer vaccines should screen patients for contraindications and precautions to the
vaccine before each dose of vaccine is administered (Table 4-1). Screening is facilitated
by consistent use of screening questionnaires, which are available from certain state
vaccination programs and other sources (e.g., the Immunization Action Coalition,
http://www.immunize.org).




Contraindications

Contraindications (conditions in a recipient that increases the risk for a serious adverse
reaction) to vaccination are conditions under which vaccines should not be
administered. Because the majority of contraindications are temporary, vaccinations
often can be administered later when the condition leading to a contraindication no
longer exists. A vaccine should not be administered when a contraindication is present;
for example, MMR vaccine should not be administered to severely immunocompromised
persons (1). However, certain conditions are commonly misperceived as
contraindications (i.e., are not valid reasons to defer vaccination).




General Best Practice Guidelines for Immunization: Contraindications and Precautions   49
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 51 of 197




Severely immunocompromised persons generally should not receive live vaccines
(3). Because of the theoretical risk to the fetus, women known to be pregnant
generally should not receive live, attenuated virus vaccines (4). Persons who
experienced encephalopathy within 7 days after administration of a previous dose of
pertussis- containing vaccine not attributable to another identifiable cause should
not receive additional doses of a vaccine that contains pertussis (4,5). Severe
Combined

Immunodeficiency (SCID) disease and a history of intussusception are
both contraindications to the receipt of rotavirus vaccines (6).



Precautions
A precaution is a condition in a recipient that might increase the risk for a serious
adverse reaction, might cause diagnostic confusion, or might compromise the ability of
the vaccine to produce immunity (e.g., administering measles vaccine to a person with
passive immunity to measles from a blood transfusion administered up to 7 months
prior) (7). A person might experience a more severe reaction to the vaccine than would
have otherwise been expected; however, the risk for this happening is less than the risk
expected with a contraindication. In general, vaccinations should be deferred when a
precaution is present. However, a vaccination might be indicated in the presence of a
precaution if the benefit of protection from the vaccine outweighs the risk for an
adverse reaction.

The presence of a moderate or severe acute illness with or without a fever is a
precaution to administration of all vaccines (Table 4-1). The decision to administer or
delay vaccination because of a current or recent acute illness depends on the severity of
symptoms and etiology of the condition. The safety and efficacy of vaccinating persons
who have mild illnesses have been documented (8-11). Vaccination should be deferred
for persons with a moderate or severe acute illness. This precaution avoids causing
diagnostic confusion between manifestations of the underlying illness and possible
adverse effects of vaccination or superimposing adverse effects of the vaccine on the
underlying illness. After they are screened for contraindications, persons with moderate
or severe acute illness should be vaccinated as soon as the acute illness has improved.
General Best Practice Guidelines for Immunization: Contraindications and Precautions    50
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 52 of 197


Studies indicate that failure to vaccinate children with minor illnesses can impede
vaccination efforts (12–14). Among persons whose compliance with medical care
cannot be ensured, use of every opportunity to administer appropriate vaccines is
critical.

Hospitalization should be used as an opportunity to provide recommended
vaccinations. Health-care facilities are held to standards of offering influenza vaccine
for hospitalized patients, so providers are incentivized to vaccinate these patients at
some point during hospitalization (15). Likewise, patients admitted for elective
procedures will not be acutely ill during all times during their hospitalization. Most
studies that have explored the effect of surgery or anesthesia on the immune system
were observational, included only infants and children, and were small and indirect, in
that they did not look at the immune effect on the response to vaccination specifically
(16-35). They do not provide convincing evidence that recent anesthesia or surgery
significantly affect response to vaccines. Current, recent, or upcoming
anesthesia/surgery/hospitalization is not a contraindication to vaccination, but certain
factors might lead a provider to consider current, recent, or upcoming
anesthesia/surgery/hospitalization as a precaution (16-35). Efforts should be made to
ensure vaccine administration during the hospitalization or at discharge. For patients
who are deemed moderately or severely ill throughout the hospitalization, vaccination
should occur at the earliest opportunity (i.e., during immediate post-hospitalization
follow-up care, including home or office visits) when patients’ clinical symptoms have
improved.

A personal or family history of seizures is a precaution for MMRV vaccination; this is
because a recent study found an increased risk for febrile seizures in children 12-23
months who receive MMRV compared with MMR and varicella vaccine (36).




General Best Practice Guidelines for Immunization: Contraindications and Precautions   51
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 53 of 197

Neither Contraindications Nor Precautions
Clinicians or other health-care providers might misperceive certain conditions or
circumstances as valid contraindications or precautions to vaccination when they
actually do not preclude vaccination (2) (Table 4-2). These misperceptions result in
missed opportunities to administer recommended vaccines (37).

Routine physical examinations and procedures (e.g., measuring temperatures) are not
prerequisites for vaccinating persons who appear to be healthy. The provider should ask
the parent or guardian if the child is ill. If the child has a moderate or severe illness, the
vaccination should be postponed.




General Best Practice Guidelines for Immunization: Contraindications and Precautions    52
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 54 of 197

TABLE 4-1. Contraindications and precautions(a) to commonly used vaccines
Vaccine         Citation Contraindications                  Precautions

DT, Td          (4)           Severe allergic reaction      GBS <6 weeks after previous dose of
                              (e.g., anaphylaxis) after     tetanus-toxoid–containing vaccine
                              a previous dose or to a       History of Arthus-type
                              vaccine component             hypersensitivity reactions after a
                                                            previous dose of diphtheria-toxoid—
                                                            containing or tetanus-toxoid–
                                                            containing vaccine; defer vaccination
                                                            until at least 10 years have elapsed
                                                            since the last tetanus-toxoid-
                                                            containing vaccine
                                                            Moderate or severe acute illness with
                                                            or without fever

DTaP            (38)          Severe allergic reaction      Progressive neurologic disorder,
                              (e.g., anaphylaxis) after     including infantile spasms,
                              a previous dose or to a       uncontrolled epilepsy, progressive
                              vaccine component             encephalopathy; defer DTaP until
                              Encephalopathy (e.g.,         neurologic status clarified and
                              coma, decreased level of      stabilized
                              consciousness,
                              prolonged seizures), not      GBS <6 weeks after previous dose of
                              attributable to another       tetanus-toxoid–containing vaccine
                              identifiable cause,           History of Arthus-type
                              within 7 days of              hypersensitivity reactions after a
                              administration of             previous dose of diphtheria-toxoid–
                              previous dose of DTP or       containing or tetanus-toxoid–
                              DTaP                          containing vaccine; defer vaccination
                                                            until at least 10 years have elapsed
                                                            since the last tetanus-toxoid–
                                                            containing vaccine
                                                            Moderate or severe acute illness with
                                                            or without fever

Hepatitis A     (39)          Severe allergic reaction      Moderate or severe acute illness with
                              (e.g., anaphylaxis) after     or without fever
                              a previous dose or to a
                              vaccine component

Hepatitis B     (40)          Severe allergic reaction Moderate or severe acute illness with
                              (e.g., anaphylaxis) after or without fever
                              a previous dose or to a
                              vaccine component
                              Hypersensitivity to yeast

Hib             (41)          Severe allergic reaction      Moderate or severe acute illness with
                              (e.g., anaphylaxis) after     or without fever

General Best Practice Guidelines for Immunization: Contraindications and Precautions     53
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 55 of 197

                              a previous dose or to a
                              vaccine component
                              Age <6 weeks

HPV(b)          (42)          Severe allergic reaction      Moderate or severe acute illness with
                              (e.g., anaphylaxis) after     or without fever
                              a previous dose or to a
                              vaccine component,
                              including yeast


IIV             (43)          Severe allergic reaction      GBS <6 weeks after a previous dose of
                              (e.g., anaphylaxis) after     influenza vaccine
                              previous dose of              Moderate or severe acute illness with
                              influenza vaccine or to       or without fever
                              vaccine component.            Egg allergy other than hives, e.g.,
                                                            angioedema, respiratory distress,
                                                            lightheadedness, recurrent emesis; or
                                                            required epinephrine or another
                                                            emergency medical intervention (IIV
                                                            may be administered in an inpatient
                                                            or outpatient medical setting and
                                                            under the supervision of a health care
                                                            provider who is able to recognize and
                                                            manage severe allergic conditions).


IPV             (44)          Severe allergic reaction      Pregnancy
                              (e.g., anaphylaxis) after     Moderate or severe acute illness with
                              a previous dose or to a       or without fever
                              vaccine component

LAIV(c)         (43)          Severe allergic reaction      GBS <6 weeks after a previous dose of
                              (e.g., anaphylaxis) after     influenza vaccine
                              a vaccine component           Asthma in persons aged 5 years old or
                              Concomitant use of            older
                              aspirin or aspirin-           Medical conditions which might
                              containing medication         predispose to higher risk of
                              in children and               complications attributable to
                              adolescents                   influenza(d)
                              LAIV4 should not be           Moderate of severe acute illness with
                              administered to persons       or without fever
                              who have taken
                              influenza antiviral
                              medications within the
                              previous 48 hours.

                              Pregnancy


General Best Practice Guidelines for Immunization: Contraindications and Precautions     54
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 56 of 197

MenACWY         (45)          Severe allergic reaction      Moderate or severe acute illness with
                              (e.g., anaphylaxis) after     or without fever
                              a previous dose or to a
                              vaccine component,
                              including yeast
MenB            (46,47)       Severe allergic reaction      Moderate or severe acute illness with
                              (e.g., anaphylaxis) after     or without fever
                              a previous dose or to a       Pregnancy
                              vaccine component
MMR(e),(f)      (1)           Severe allergic reaction      Recent (≤11 months) receipt of
                              (e.g., anaphylaxis) after     antibody-containing blood product
                              a previous dose or to a       (specific interval depends on
                              vaccine component             product)
                              Pregnancy                     History of thrombocytopenia or
                              Known severe                  thrombocytopenic purpura
                              immunodeficiency (e.g.,       Need for tuberculin skin testing or
                              from hematologic and          interferon-gamma release assay
                              solid tumors, receipt of      (IGRA) testing(i)
                              chemotherapy,                 Moderate or severe acute illness with
                              congenital                    or without fever
                              immunodeficiency,
                              long-term
                              immunosuppressive
                              therapy(g) or patients
                              with HIV infection who
                              are severely
                              immunocompromised)
                              Family history of altered
                              immunocompetence(h)

MPSV4           (48)          Severe allergic reaction      Moderate or severe acute illness with
                              (e.g., anaphylaxis) after     or without fever
                              a previous dose or to a
                              vaccine component

PCV13           (49)          Severe allergic reaction      Moderate or severe acute illness with
                              (e.g., anaphylaxis) after     or without fever
                              a previous dose of
                              PCV13 or any
                              diphtheria-toxoid–
                              containing vaccine or
                              to a component of a
                              vaccine (PCV13 or any
                              diphtheria-toxoid–
                              containing vaccine),
                              including yeast




General Best Practice Guidelines for Immunization: Contraindications and Precautions     55
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 57 of 197

PPSV23          (50)          Severe allergic reaction      Moderate or severe acute illness with
                              (e.g., anaphylaxis) after     or without fever
                              a previous dose or to a
                              vaccine component

RIV             (43)          Severe allergic reaction      GBS <6 weeks after a previous dose of
                              (e.g., anaphylaxis) to        influenza vaccine
                              any component of the          Moderate or severe acute illness with
                              vaccine                       or without fever

Rotavirus       (6)           Severe allergic reaction      Altered immunocompetence other
                              (e.g., anaphylaxis) after     than SCID
                              a previous dose or to a       Chronic gastrointestinal disease(j)
                              vaccine component             Spina bifida or bladder exstrophy(j)
                              SCID                          Moderate or severe acute illness with
                              History of                    or without fever
                              intussusception




General Best Practice Guidelines for Immunization: Contraindications and Precautions     56
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 58 of 197

Tdap            (51)          Severe allergic reaction      GBS <6 weeks after a previous dose of
                              (e.g., anaphylaxis) after     tetanus-toxoid–containing vaccine
                              a previous dose or to a       Progressive or unstable neurological
                              vaccine component             disorder, uncontrolled seizures, or
                              Encephalopathy (e.g.,         progressive encephalopathy until a
                              coma, decreased level of      treatment regimen has been
                              consciousness,                established and the condition has
                              prolonged seizures), not      stabilized
                              attributable to another       History of Arthus-type
                              identifiable cause,           hypersensitivity reactions after a
                              within 7 days of              previous dose of diphtheria-toxoid—
                              administration of             containing or tetanus-toxoid–
                              previous dose of DTP,         containing vaccine; defer vaccination
                              DTaP, or Tdap                 until at least 10 years have elapsed
                                                            since the last tetanus-toxoid–
                                                            containing vaccine
                                                            Moderate or severe acute illness with
                                                            or without fever

Varicella(e),(f (52)          Severe allergic reaction Recent (≤11 months) receipt of
)                             (e.g., anaphylaxis) after antibody-containing blood product
                              a previous dose or to a   (specific interval depends on
                              vaccine component         product)
                              Known severe              Moderate or severe acute illness with
                              immunodeficiency (e.g., or without fever
                              from hematologic and
                              solid tumors, receipt of Receipt of specific antiviral drugs
                              chemotherapy,             (acyclovir, famciclovir, or
                              congenital                valacyclovir) 24 hours before
                              immunodeficiency,         vaccination (avoid use of these
                              long-term                 antiviral drugs for 14 days after
                              immunosuppressive         vaccination)
                              therapy(g) or patients
                              with HIV infection who Use of aspirin or aspirin-containing
                              are severely              products(k)
                              immunocompromised)(e)
                              )

                              Pregnancy
                              Family history of altered
                              immunocompetence(h)




General Best Practice Guidelines for Immunization: Contraindications and Precautions    57
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 59 of 197

Zoster           (53)         Severe allergic reaction       Moderate or severe acute illness with
                              (e.g., anaphylaxis) after      or without fever
                              a previous dose or to a
                              vaccine component              Receipt of specific antiviral drugs
                              (Live zoster vaccine           (acyclovir, famciclovir, or
                              only) Known severe             valacyclovir) 24 hours before
                              immunodeficiency (e.g.,        vaccination (avoid use of these
                              from hematologic and           antiviral drugs for 14 days after
                              solid tumors, receipt of       vaccination, for zoster vaccine live
                              chemotherapy,                  only)
                              congenital
                              immunodeficiency,
                              long-term
                              immunosuppressive
                              therapy(g) or patients
                              with HIV infection who
                              are severely
                              immunocompromised)€)
                              Pregnancy




General Best Practice Guidelines for Immunization: Contraindications and Precautions       58
      Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 60 of 197
Abbreviations: DT = diphtheria and tetanus toxoids; DTaP = diphtheria and tetanus toxoids and acellular pertussis;
DTP = diphtheria toxoid, tetanus toxoid, and pertussis; GBS = Guillain-Barré syndrome; Hib = Haemophilus influenzae
type b; HIV = human immunodeficiency virus; HPV = human papillomavirus; IIV = inactivated influenza vaccine; IPV =
inactivated poliovirus; LAIV = live, attenuated influenza vaccine; MenACWY = quadrivalent meningococcal conjugate
vaccine; MMR = measles, mumps, and rubella; MPSV4 = quadrivalent meningococcal polysaccharide vaccine; PCV13 =
pneumococcal conjugate vaccine; PPSV23= pneumococcal polysaccharide vaccine; SCID = severe combined
immunodeficiency; RIV=recombinant influenza vaccine; Td = tetanus and diphtheria toxoids; Tdap = tetanus toxoid,
reduced diphtheria toxoid, and acellular pertussis.
(a)   Events or conditions listed as precautions should be reviewed carefully. Benefits of and risks for administering a
      specific vaccine to a person under these circumstances should be considered. If the risk from the vaccine is believed
      to outweigh the benefit, the vaccine should not be administered. If the benefit of vaccination is believed to outweigh
      the risk, the vaccine should be administered. Whether and when to administer DTaP to children with proven or
      suspected underlying neurologic disorders should be decided on a case-by-case basis.
(b)HPV vaccine is not recommended during pregnancy

(c) In addition, ACIP recommends LAIV not be used for pregnant women, immunosuppressed persons, and children aged

2-4 years who have asthma or who have had a wheezing episode noted in the medical record within the past 12 months, or
for whom parents report that a health-care provider stated that they had wheezing or asthma within the last 12 months.
LAIV should not be administered to persons who have taken influenza antiviral medications within the previous 48 hours.
Persons who care for severely immunosuppressed persons who require a protective environment should not receive LAIV,
or should avoid contact with such persons for 7 days after receipt.
(d) Source: (52).

(e) HIV-infected children may receive varicella vaccine if CD4+ T-lymphocyte count is ≥15% and should receive MMR

vaccine if they are aged ≥12 months and do not have evidence of current severe immunosuppression (i.e., individuals aged
≤5 years must have CD4+T lymphocyte [CD4] percentages ≥15% for ≥6 months; and individuals aged >5 years must have
CD4+percentages ≥15% and CD4+≥200 lymphocytes/mm3 for ≥6 months) or other current evidence of measles, rubella,
and mumps immunity. In cases when only CD4+cell counts or only CD4+percentages are available for those older than
age 5 years, the assessment of severe immunosuppression can be based on the CD4+values (count or percentage) that are
available. In cases when CD4+percentages are not available for those aged ≤5 years, the assessment of severe
immunosuppression can be based on age-specific CD4+counts at the time CD4+counts were measured; i.e., absence of
severe immunosuppression is defined as ≥6 months above age-specific CD4+count criteria: CD4+count >750
lymphocytes/mm3 while aged ≤12 months and CD4+count ≥500 lymphocytes/mm3 while aged 1 through 5 years.
Sources: (1,50).
(f) MMR and varicella-containing vaccines can be administered on the same day. If not administered on the same day,

these vaccines should be separated by at least 28 days.
(g) A substantially immunosuppressive steroid dose is considered to be ≥2 weeks of daily receipt of 20 mg or 2 mg/kg

body weight of prednisone or equivalent.
(h) family history of congenital or hereditary immunodeficiency in first-degree relatives (e.g., parents and siblings), unless

the immune competence of the potential vaccine recipient has been substantiated clinically or verified by a laboratory
(i) If active tuberculosis is suspected, MMR should be delayed. Measles vaccination might suppress tuberculin reactivity

temporarily. Measles-containing vaccine can be administered on the same day as tuberculin skin or IGRA testing. If
testing cannot be performed until after the day of MMR vaccination, the test should be postponed for ≥4 weeks after the
vaccination. If an urgent need exists to skin test or IGRA, do so with the understanding that reactivity might be reduced
by the vaccine.
(j) For details, see (55).

(k) No adverse events associated with the use of aspirin or aspirin-containing products after varicella vaccination have

been reported; however, the vaccine manufacturer recommends that vaccine recipients avoid using aspirin or aspirin-
containing products for 6 weeks after receiving varicella vaccines because of the association between aspirin use and Reye
syndrome after varicella. Vaccination with subsequent close monitoring should be considered for children who have
rheumatoid arthritis or other conditions requiring therapeutic aspirin. The risk for serious complications associated with
aspirin is likely to be greater in children in whom natural varicella develops than it is in children who receive the vaccine
containing attenuated VZV. No association has been documented between Reye syndrome and analgesics or antipyretics
that do not contain aspirin.”




General Best Practice Guidelines for Immunization: Contraindications and Precautions                             59
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 61 of 197

 TABLE 4-2. Conditions incorrectly perceived as contraindications or
 precautions to vaccination (i.e., vaccines may be given under these
 conditions)
 Vaccine             Conditions commonly misperceived as
                     contraindications or precautions
 General for all           Mild acute illness with or without fever
 vaccines, including
 DTaP, pediatric           Lack of previous physical examination in well-appearing
 DT, adult Td,             person
 adolescent-adult          Current antimicrobial therapy(a)
 Tdap, IPV, MMR,           Convalescent phase of illness
 Hib, hepatitis A,         Preterm birth (hepatitis B vaccine is an exception in certain
 hepatitis B,              circumstances)(b)
 varicella, rotavirus,     Recent exposure to an infectious disease
 PCV13, IIV, LAIV,         History of penicillin allergy, other nonvaccine allergies,
 PPSV23,                   relatives with allergies, or receiving allergen extract
 MenACWY, MPSV4,           immunotherapy
 HPV, and herpes           History of GBS(c)
 zoster
 DTaP                      Fever within 48 hours after vaccination with a previous dose of
                           DTP or DTaP
                           Collapse or shock-like state (i.e., hypotonic hyporesponsive
                           episode) within 48 hours after receiving a previous dose of
                           DTP/DTaP
                           Seizure ≤3 days after receiving a previous dose of DTP/DTaP
                           Persistent, inconsolable crying lasting ≥3 hours within 48
                           hours after receiving a previous dose of DTP/DTaP
                           Family history of seizures
                           Family history of sudden infant death syndrome
                           Family history of an adverse event after DTP or DTaP
                           administration
                           Stable neurologic conditions (e.g., cerebral palsy, well-
                           controlled seizures, or developmental delay)
 Hepatitis B               Pregnancy
                           Autoimmune disease (e.g., systemic lupus erythematosus or
                           rheumatoid arthritis)
 HPV                       Immunosuppression
                           Previous equivocal or abnormal Papanicolaou test
                           Known HPV infection
                           Breastfeeding
                           History of genital warts
 IIV                       Nonsevere (e.g., contact) allergy to latex, thimerosal, or egg
                           Concurrent administration of Coumadin (generic: warfarin) or
                           aminophylline
 IPV                       Previous receipt of ≥1 dose of oral polio vaccine




General Best Practice Guidelines for Immunization: Contraindications and Precautions   60
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 62 of 197

 LAIV                      Health-care providers that see patients with chronic diseases
                           or altered immunocompetence (an exception is providers for
                           severely immunocompromised patients requiring care in a
                           protected environment)
                           Breastfeeding
                           Contacts of persons with chronic disease or altered
                           immunocompetence (an exception is contacts of severely
                           immunocompromised patients requiring care in a protected
                           environment)
 MMR(d),(e)                Positive tuberculin skin test
                           Simultaneous tuberculin skin or interferon-gamma release
                           assay (IGRA) testing(f)
                           Breastfeeding
                           Pregnancy of recipient’s mother or other close or household
                           contact
                           Recipient is female of child-bearing age
                           Immunodeficient family member or household contact
                           Asymptomatic or mildly symptomatic HIV infection
                           Allergy to eggs
 PPSV23                    History of invasive pneumococcal disease or pneumonia
 Rotavirus                 Prematurity
                           Immunosuppressed household contacts
                           Pregnant household contacts
 Tdap                      History of fever of ≥40.5°C (≥105°F) for <48 hours after
                           vaccination with a previous dose of DTP or DTaP
                           History of collapse or shock-like state (i.e., hypotonic
                           hyporesponsive episode) within 48 hours after receiving a
                           previous dose of DTP/DTaP
                           History of seizure <3 days after receiving a previous dose of
                           DTP/DTaP
                           History of persistent, inconsolable crying lasting >3 hours
                           within 48 hours after receiving a previous dose of DTP/DTaP
                           History of extensive limb swelling after DTP/DTaP/Td that is
                           not an Arthus-type reaction
                           History of stable neurologic disorder
                           History of brachial neuritis
                           Latex allergy that is not anaphylactic
                           Breastfeeding
                           Immunosuppression
 Varicella                 Pregnancy of recipient’s mother or other close or household
                           contact
                           Immunodeficient family member or household contact(g)
                           Asymptomatic or mildly symptomatic HIV infection
                           Humoral immunodeficiency (e.g., agammaglobulinemia)




General Best Practice Guidelines for Immunization: Contraindications and Precautions   60
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 63 of 197

 Zoster                         Therapy with low-dose methotrexate (≤0.4 mg/kg/week),
                                azathioprine (≤3.0 mg/kg/day), or 6-mercaptopurine (≤1.5
                                mg/kg/day) for treatment of rheumatoid arthritis, psoriasis,
                                polymyositis, sarcoidosis, inflammatory bowel disease, or other
                                conditions
                                Health-care providers of patients with chronic diseases or
                                altered immunocompetence
                                Contacts of patients with chronic diseases or altered
                                immunocompetence
                                Unknown or uncertain history of varicella in a U.S.-born
                                person
 Abbreviations: DT = diphtheria and tetanus toxoids; DTP = diphtheria toxoid, tetanus toxoid, and pertussis;
 DTaP = diphtheria and tetanus toxoids and acellular pertussis; GBS = Guillain-Barré syndrome; HBsAg = hepatitis
 B surface antigen; Hib = Haemophilus influenzae type b; HIV = human immunodeficiency virus; HPV = human
 papillomavirus; IIV = inactivated influenza vaccine; IPV = inactivated poliovirus; LAIV = live, attenuated influenza
 vaccine; MenACWY = quadrivalent meningococcal conjugate vaccine; MMR = measles, mumps, and rubella;
 MPSV4 = quadrivalent meningococcal polysaccharide vaccine; PCV = pneumococcal conjugate vaccine; PPSV23=
 pneumococcal polysaccharide vaccine; Td = tetanus and diphtheria toxoids; Tdap = tetanus toxoid, reduced
 diphtheria toxoid, and acellular pertussis.
 (a) Antibacterial drugs might interfere with Ty21a oral typhoid vaccine, and certain antiviral drugs might interfere

 with varicella-containing vaccines and LAIV4.
 (b) Hepatitis B vaccination should be deferred for infants weighing <2,000 g if the mother is documented to be

 HBsAg negative. Vaccination should commence at chronological age 1 month or at hospital discharge. For infants
 born to HBsAg-positive women, hepatitis B immune globulin and hepatitis B vaccine should be administered
 within 12 hours after birth, regardless of weight.
 (c) An exception is Guillain-Barré syndrome within 6 weeks of a dose of influenza vaccine or tetanus-toxoid–

 containing vaccine, which are precautions for influenza vaccines and tetanus-toxoid containing vaccines,
 respectively.
 (d) MMR and varicella vaccines can be administered on the same day. If not administered on the same day, these

 vaccines should be separated by at least 28 days.
 (e) HIV-infected children should receive immune globulin after exposure to measles. HIV-infected children can

 receive varicella and measles vaccine if CD4+ T-lymphocyte count is >15%. (54).
 (f) Measles vaccination might suppress tuberculin reactivity temporarily. Measles-containing vaccine can be

 administered on the same day as tuberculin skin or IGRA testing. If testing cannot be performed until after the day
 of MMR vaccination, the test should be postponed for at least 4 weeks after the vaccination. If an urgent need
 exists to skin test or IGRA, do so with the understanding that reactivity might be reduced by the vaccine.
 (g) If a vaccinee experiences a presumed vaccine-related rash 7-25 days after vaccination, the person should avoid

 direct contact with immunocompromised persons for the duration of the rash.




General Best Practice Guidelines for Immunization: Contraindications and Precautions                            61
      Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 64 of 197

REFERENCES
1.       McLean HQ, Fiebelkorn AP, Temte JL, Wallace GS. Prevention of measles,
         rubella, congenital rubella syndrome, and mumps, 2013: summary
         recommendations of the Advisory Committee on Immunization Practices (ACIP).
         MMWR Recomm Rep. 2013;62(RR-4):1-34.
2.       National Vaccine Advisory Committee. Standards for child and adolescent
         immunization practices. Pediatrics. 2003;112(4):958-963.
3.       Rubin L, Levin M, Ljungman P, et al. 2013 IDSA clinical practice guideline for
         vaccination of the immunocompromised host. Clin Infect Dis. 2014;58(3):e44-
         100. DOI: 10.1093/cid/cit684
4.       Kroger A, Atkinson W, Pickering L. General immunization practices. In: Plotkin
         S, Orenstein W, Offit P, eds. Vaccines. 6th ed. China: Elsevier Saunders; 2013:88-
         111.
5.       CDC. Diphtheria, tetanus, and pertussis: recommendations for vaccine use and
         other preventive measures. Recommendations of the Immunization Practices
         Advisory Committee (ACIP). MMWR Recomm Rep. 1991;40(RR-10):1-28.
6.       CDC. Addition of history of intussusception as a contraindication for rotavirus
         vaccination. MMWR Morb Mortal Wkly Rep. 2011;60(41):1427.
7.       Siber GR, Werner BG, Halsey NA, et al. Interference of immune globulin with
         measles and rubella immunization. J Pediatr. 1993;122(2):204-211. DOI:
         10.1016/S0022-3476(06)80114-9
8.       Halsey NA, Boulos R, Mode F, et al. Response to measles vaccine in Haitian
         infants 6 to 12 months old. Influence of maternal antibodies, malnutrition, and
         concurrent illnesses. N Engl J Med. 1985;313(9):544-549. DOI:
         10.1056/nejm198508293130904
9.       Ndikuyeze A, Munoz A, Stewart J, et al. Immunogenicity and safety of measles
         vaccine in ill African children. Int J Epidemiol. 1988;17(2):448-455. DOI:
         10.1093/ije/17.2.448
10.      Lindegren ML, Atkinson WL, Farizo KM, Stehr-Green PA. Measles vaccination in
         pediatric emergency departments during a measles outbreak. JAMA.
         1993;270(18):2185-2189. DOI: 10.1001/jama.1993.03510180055033
11.      Atkinson W, Markowitz L, Baughman A, et al. Serologic response to measles
         vaccination among ill children [Abstract 422]. 32nd Interscience Conference on
         Antimicrobial Agents and Chemotherapy; 1992; Anaheim, CA.
General Best Practice Guidelines for Immunization: Contraindications and Precautions   62
      Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 65 of 197

12.      Orenstein W, Rodewald L, Hinman A, Schuchat A. Immunization in the United
         States. In: Plotkin S, Orenstein W, Offit P, eds. Vaccines. 5th ed. China:
         Saunders/Elsevier; 2008:1479-1510.
13.      Lewis T, Osborn LM, Lewis K, Brockert J, Jacobsen J, Cherry JD. Influence of
         parental knowledge and opinions on 12-month diphtheria, tetanus, and pertussis
         vaccination rates. Am J Dis Child. 1988;142(3):283-286. DOI:
         10.1001/archpedi.1988.02150030053018
14.      Farizo KM, Stehr-Green PA, Markowitz LE, Patriarca PA. Vaccination levels and
         missed opportunities for measles vaccination: a record audit in a public pediatric
         clinic. Pediatrics. 1992;89(4 Pt 1):589-592.
15.      Centers for Medicare & Medicaid Services. Overview of specifications of measures
         displayed on hospital compare as of December 14, 2006. 2006;
         http://www.cms.hhs.gov/HospitalQualityInits/downloads/HospitalOverviewOfS
         pecs200512.pdf. Accessed 9 March, 2017.
16.      Donovan R, Soothill JF. Immunological studies in children undergoing
         tonsillectomy. Clin Exp Immunol. 1973;14(3):347-357.
17.      Puri P, Reen DJ, Browne O, Blake P, Guiney EJ. Lymphocyte response after
         surgery in the neonate. Arch Dis Child. 1979;54(8):599-603. DOI:
         10.1136/adc.54.8.599
18.      Mollitt DL, Steele RW, Marmer DJ, Stevers Golladay E, Costas S. Surgically
         induced immunologic alterations in the child. J Pediatr Surg. 1984;19(6):818-
         822. DOI: 10.1016/S0022-3468(84)80376-0
19.      Mollitt DL, Marmer DJ, Steele RW. Age-dependent variation of lymphocyte
         function in the postoperative child. J Pediatr Surg. 1986;21(7):633-635. DOI:
         10.1016/S0022-3468(86)80420-1
20.      Kurz R, Pfeiffer KP, Sauer H. Immunologic status in infants and children
         following surgery. Infection. 1983;11(2):104-113. DOI: 10.1007/BF01641075
21.      Merry C, Puri P, Reen DJ. Effect of major surgery on neutrophil chemotaxis and
         actin polymerization in neonates and children. J Pediatr Surg. 1997;32(6):813-
         817. DOI: 10.1016/S0022-3468(97)90626-6
22.      Platt MP, Lovat PE, Watson JG, Aynsley-Green A. The effects of anesthesia and
         surgery on lymphocyte populations and function in infants and children. J
         Pediatr Surg. 1989;24(9):884-887. DOI: 10.1016/S0022-3468(89)80588-3



General Best Practice Guidelines for Immunization: Contraindications and Precautions   63
      Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 66 of 197

23.      Mattila-Vuori A, Salo M, Iisalo E. Immune response in infants undergoing
         application of cast: comparison of halothane and balanced anesthesia. Can J
         Anaesth. 1999;46(11):1036-1042. DOI: 10.1007/bf03013198
24.      Espanol T, Todd GB, Soothill JF. The effect of anaesthesia on the lymphocyte
         response to phytohaemagglutinin. Clin Exp Immunol. 1974;18(1):73-79.
25.      Hauser GJ, Chan MM, Casey WF, Midgley FM, Holbrook PR. Immune
         dysfunction in children after corrective surgery for congenital heart disease. Crit
         Care Med. 1991;19(7):874-881.
26.      Puri P, Lee A, Reen DJ. Differential susceptibility of neonatal lymphocytes to the
         immunosuppressive effects of anesthesia and surgery. Pediatr Surg Int.
         1992;7(1):47-50. DOI: 10.1007/bf00181002
27.      Hansen TG, Tonnesen E, Andersen JB, Toft P, Bendtzen K. The peri-operative
         cytokine response in infants and young children following major surgery. Eur J
         Anaesthesiol. 1998;15(1):56-60. DOI: 10.1046/j.1365-2346.1998.00230.x
28.      Mattila-Vuori A, Salo M, Iisalo E, Pajulo O, Viljanto J. Local and systemic
         immune response to surgery under balanced anaesthesia in children. Paediatr
         Anaesth. 2000;10(4):381-388. DOI: 10.1046/j.1460-9592.2000.00505.x
29.      Romeo C, Cruccetti A, Turiaco A, et al. Monocyte and neutrophil activity after
         minor surgical stress. J Pediatr Surg. 2002;37(5):741-744. DOI:
         10.1053/jpsu.2002.32268
30.      Vuori A, Salo M, Viljanto J, Pajulo O, Pulkki K, Nevalainen T. Effects of post-
         operative pain treatment using non-steroidal anti-inflammatory analgesics,
         opioids or epidural blockade on systemic and local immune responses in
         children. Acta Anaesthesiol Scand. 2004;48(6):738-749. DOI: 10.1111/j.1399-
         6576.2004.00404.x
31.      Siebert JN, Posfay-Barbe KM, Habre W, Siegrist CA. Influence of anesthesia on
         immune responses and its effect on vaccination in children: review of evidence.
         Paediatr Anaesth. 2007;17(5):410-420. DOI: 10.1111/j.1460-9592.2006.02120.x
32.      Currie J. Vaccination: is it a real problem for anesthesia and surgery? Paediatr
         Anaesth. 2006;16(5):501-503. DOI: 10.1111/j.1460-9592.2006.01898.x
33.      Siebert J, Posfay-Barbe KM, Habre W, Siegrist C-A. Author's reply. Paediatr
         Anaesth. 2007;17(12):1218-1220. DOI: 10.1111/j.1460-9592.2007.02369.x




General Best Practice Guidelines for Immunization: Contraindications and Precautions   64
      Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 67 of 197

34.      Nafiu OO, Lewis I. Vaccination and anesthesia: more questions than answers.
         Paediatr Anaesth. 2007;17(12):1215-1215. DOI: 10.1111/j.1460-
         9592.2007.02318.x
35.      Short JA, Van Der Walt JH, Zoanetti DC. Author's reply. Paediatr Anaesth.
         2007;17(12):1215-1216. DOI: 10.1111/j.1460-9592.2007.02321.x
36.      Marin M, Broder KR, Temte JL, Snider DE, Seward JF. Use of combination
         measles, mumps, rubella, and varicella vaccine: recommendations of the
         Advisory Committee on Immunization Practices (ACIP). MMWR Recomm Rep.
         2010;59(RR-3):1-12.
37.      Szilagyi PG, Rodewald LE. Missed opportunities for immunizations: a review of
         the evidence. J Public Health Manag Pract. 1996;2(1):18-25. DOI:
         10.1097/00124784-199600210-00005
38.      CDC. Use of diphtheria toxoid-tetanus toxoid-acellular pertussis vaccine as a five-
         dose series. Supplemental recommendations of the Advisory Committee on
         Immunization Practices (ACIP). MMWR Recomm Rep. 2000;49(RR-13):1-8.
39.      Fiore AE, Wasley A, Bell BP. Prevention of hepatitis A through active or passive
         immunization: recommendations of the Advisory Committee on Immunization
         Practices (ACIP). MMWR Recomm Rep. 2006;55(RR-7):1-23.
40.      Mast EE, Margolis HS, Fiore AE, et al. A comprehensive immunization strategy
         to eliminate transmission of hepatitis B virus infection in the United States:
         recommendations of the Advisory Committee on Immunization Practices (ACIP)
         part 1: immunization of infants, children, and adolescents. MMWR Recomm Rep.
         2005;54(RR-16):1-31.
41.      Briere EC, Rubin L, Moro PL, Cohn A, Clark T, Messonnier N. Prevention and
         control of Haemophilus influenzae type b disease: recommendations of the
         advisory committee on immunization practices (ACIP). MMWR Recomm Rep.
         2014;63(RR-1):1-14.
42.      Markowitz L, Dunne E, Saraiya M, et al. Human papillomavirus vaccination:
         recommendations of the Advisory Committee on Immunization Practices (ACIP).
         MMWR Recomm Rep. 2014;63(RR-05):1-30.
43.      Grohskopf LA, Sokolow LZ, Olsen SJ, et al. Prevention and Control of Seasonal
         Influenza with Vaccines Recommendations of the Advisory Committee on
         Immunization Practices — United States, 2016–17 Influenza Season. MMWR
         Recomm Rep 2016;65(No. RR-5):1-54.

General Best Practice Guidelines for Immunization: Contraindications and Precautions   65
      Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 68 of 197

44.      Prevots DR, Burr RK, Sutter RW, Murphy TV. Poliomyelitis prevention in the
         United States. Updated recommendations of the Advisory Committee on
         Immunization Practices (ACIP). MMWR Recomm Rep. 2000;49(RR-5):1-22;
         quiz CE21-27.
45.      Cohn AC, MacNeil JR, Clark TA, et al. Prevention and control of meningococcal
         disease: recommendations of the Advisory Committee on Immunization Practices
         (ACIP). MMWR Recomm Rep. 2013;62(RR-2):1-28.
46.      Bexsero Package Insert. Available at
         www.fda.gov/BiologicsBloodVaccines/Vaccines/ApprovedProducts/ucm431374.
         htm (accessed 05/04/17)
47.      Trumenba Package Insert. Available at
         www.fda.gov/downloads/BiologicsBloodVaccines/Vaccines/ApprovedProducts/
         UCM421139.pdf (accessed 05/04/17)
48.      Bilukha OO, Rosenstein N. Prevention and control of meningococcal disease.
         Recommendations of the Advisory Committee on Immunization Practices
         (ACIP). MMWR Recomm Rep. 2005;54(RR-7):1-21.
49.      Advisory Committee on Immunization Practices. Preventing pneumococcal
         disease among infants and young children. Recommendations of the Advisory
         Committee on Immunization Practices (ACIP). MMWR Morb Mortal Wkly Rep.
         2000;49(RR-9):1-35.
50.      CDC. Prevention of pneumococcal disease: recommendations of the Advisory
         Committee on Immunization Practices (ACIP). MMWR Recomm Rep.
         1997;46(RR-8):1-24.
51.      Broder KR, Cortese MM, Iskander JK, et al. Preventing tetanus, diphtheria, and
         pertussis among adolescents: use of tetanus toxoid, reduced diphtheria toxoid
         and acellular pertussis vaccines recommendations of the Advisory Committee on
         Immunization Practices (ACIP). MMWR Recomm Rep. 2006;55(RR-3):1-34.
52.      Marin M, Guris D, Chaves SS, Schmid S, Seward JF. Prevention of varicella:
         recommendations of the Advisory Committee on Immunization Practices (ACIP).
         MMWR Recomm Rep. 2007;56(RR-4):1-40.
53.      Harpaz R, Ortega-Sanchez IR, Seward JF. Prevention of herpes zoster:
         recommendations of the Advisory Committee on Immunization Practices (ACIP).
         MMWR Recomm Rep. 2008;57(RR-5):1-30; quiz CE32-34.



General Best Practice Guidelines for Immunization: Contraindications and Precautions   66
      Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 69 of 197

54.      Grohskopf LA, Olsen SJ, Sokolow LZ, et al. Prevention and control of seasonal
         influenza with vaccines: recommendations of the Advisory Committee on
         Immunization Practices (ACIP)—United States, 2014-15 influenza season.
         MMWR Morb Mortal Wkly Rep. 2014;63(32):691-697.
55.      Cortese MM, Parashar UD. Prevention of rotavirus gastroenteritis among infants
         and children: recommendations of the Advisory Committee on Immunization
         Practices (ACIP). MMWR Recomm Rep. 2009;58(RR-2):1-25.
56.      American Academy of Pediatrics. Passive immunization. In: Pickering L, Baker C,
         Kimberlin D, Long S, eds. Red Book: 2012 Report of the Committee on Infectious
         Diseases. 28th ed. Elk Grove Village, IL: American Academy of Pediatrics; 2012.




General Best Practice Guidelines for Immunization: Contraindications and Precautions   67
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 70 of 197




             5. Preventing and Managing Adverse
                                           Reactions

Updates

Major changes to the best practice guidance include 1) more descriptive characterization
of anaphylactic allergy and 2) incorporation of protocols for managing adverse
reactions.


Benefit and Risk Communication

Parents, guardians, legal representatives, and adolescent and adult patients should be
informed about the benefits of and risks from vaccines in language that is culturally
sensitive and at an appropriate educational level. Opportunity for questions should be
provided before each vaccination. Discussion of the benefits of and risks from
vaccination is sound medical practice and is required by law.

The National Childhood Vaccine Injury Act of 1986 (1) requires that vaccine information
materials be developed for each vaccine covered by the Act (uscode.house.gov). These
materials, known as vaccine information statements (VISs), must be provided by all
public and private vaccination providers each time a vaccine is administered. Copies of
VISs are available from state health authorities responsible for vaccination and from
CDC (www.cdc.gov/vaccines/hcp/vis/index.html). Translations of VISs into languages
other than English are available from certain state vaccination programs and from the
Immunization Action Coalition website (http://www.immunize.org). The act does not
require that a signature be obtained; however, documentation of consent might be
recommended or required by certain state or local health authorities or school
authorities.

Some parents or patients question the need for or safety of vaccinations and want to
discuss the risks from and benefits of certain vaccines. Some refuse certain vaccines or
reject all vaccinations for personal or religious reasons. Having a basic understanding of


General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions   68
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 71 of 197




how patients and parents of patients view vaccine risk and developing effective
approaches to address vaccine safety concerns are imperative for vaccination providers.

Each person understands and reacts to vaccine information on the basis of different
factors, including previous experience, education, personal values, method of data
presentation, perceptions of the risk for disease and perceived ability to control these
risks, and risk tolerance. In some circumstances, decisions about vaccination are based
on inaccurate information about risk provided by the media and certain websites.
Websites and other sources of vaccine information may be inaccurate or incomplete.
Health care providers can be a pivotal source of science-based credible information by
discussing with parents and patients the risks from and benefits of vaccines, which helps
patients make informed decisions.

When a parent or patient initiates a discussion about a perceived vaccine adverse
reaction, the health care provider should discuss the specific concerns and provide
factual information, using appropriate language. Effective, empathetic vaccine risk
communication is essential in responding to misinformation and concerns, with health
care providers recognizing that risk assessment and decision-making can be difficult
and confusing. Certain vaccines might be acceptable to a parent who is resistant to other
vaccines. This partial acceptance can be used to facilitate additional communication.
Their concerns can be addressed using the VIS and offering other resource materials
(e.g., vaccination information from CDC: www.cdc.gov/vaccines/hcp/vis/index.html).

The American Academy of Pediatrics (AAP) does not recommend that providers exclude
from their practice patients whose parents or guardians question or refuse vaccination.
However, an effective public health strategy is to identify common ground and discuss
measures that need to be followed if the decision is to defer vaccination (2). Health care
providers should reinforce key points about each vaccine, including safety, and
emphasize risks for disease among unvaccinated children.




General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions   69
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 72 of 197




Parents should be advised of state laws regarding entry to schools or child-care facilities,
which might require that unvaccinated children be excluded from the facility during
outbreaks (www.cdc.gov/vaccines/imz-
managers/coverage/schoolvaxview/requirements/index.html). These discussions
should be documented in the patient’s medical record, including the refusal to receive
certain vaccines (i.e., informed refusal). When a vaccine is refused when first offered the
provider should take the opportunity to offer the vaccine again at the next visit.


Preventing Adverse Reactions

Vaccines are intended to produce active immunity to specific antigens. An adverse
reaction is an undesirable side effect that occurs after a vaccination. Vaccine adverse
reactions are classified as 1) local, 2) systemic, or 3) allergic (additional information is
available at
https://www.fda.gov/BiologicsBloodVaccines/Vaccines/ApprovedProducts/ucm09383
3.htm. Local reactions (e.g., redness) are usually the least severe and most frequent.
Systemic reactions (e.g., fever) occur less frequently than local reactions, and severe
allergic reactions (e.g., anaphylaxis) are the least frequent reactions. Severe adverse
reactions are rare (3).

Some of the systemic reactions may be complicated by the onset of syncope. Syncope
(vasovagal or vasodepressor reaction) can occur after vaccination and is most common
among adolescents and young adults. In 2005, the Vaccine Adverse Event Reporting
System (VAERS) began detecting a trend of increasing syncope reports that coincided
with the licensure of 3 vaccines for adolescents: human papillomavirus (HPV),
MenACWY, and Tdap (4). Of particular concern among adolescents has been the risk for
serious secondary injuries, including skull fracture and cerebral hemorrhage. Of 463
VAERS reports of syncope during January 1, 2005, to July 31, 2007, a total of 41 listed
syncope with secondary injury with information on the timing after vaccination, and the
majority of these syncope reports (76%) occurred among adolescents.




General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions   70
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 73 of 197




Among all age groups, 80% of reported syncope episodes occur within 15 minutes of
vaccine administration (additional information is available at
www.cdc.gov/vaccinesafety/concerns/fainting.html). Providers should take appropriate
measures to prevent injuries if a patient becomes weak or dizzy or loses consciousness.
Adolescents and adults should be seated or lying down during vaccination. Vaccine
providers, particularly when vaccinating adolescents, should consider observing
patients (with patients seated or lying down) for 15 minutes after vaccination to
decrease the risk for injury should they faint (4). If syncope develops, patients should be
observed until the symptoms resolve.

Although allergic reactions are a common concern for vaccine providers, these reactions
are uncommon and anaphylaxis following vaccines is rare, occurring at a rate of
approximately one per million doses for many vaccines (5). Epinephrine and equipment
for managing an airway should be available for immediate use (6). The best practice to
prevent allergic reactions is to identify individuals at increased risk by obtaining a
history of allergy to previous vaccinations and vaccine components that might indicate
an underlying hypersensitivity. Acute allergic reactions following vaccinations might be
caused by the vaccine antigen, residual animal protein, antimicrobial agents,
preservatives, stabilizers, or other vaccine components (7). Components of each vaccine
are listed in the respective package insert. An extensive list of vaccine components and
their use, as well as the vaccines that contain each component, has been published (8)
and also is available from CDC
(www.cdc.gov/vaccines/pubs/pinkbook/downloads/appendices/b/excipient-table-
2.pdf). Additional information and tables of potential allergens in different vaccines are
available at (http://www.vaccinesafety.edu/components-Allergens.htm). The allergens
identified in the history can be cross-checked against the allergens identified in package
inserts.




General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions   71
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 74 of 197




Managing Acute Vaccine Reactions

Vaccine providers should be familiar with identifying immediate-type allergic reactions,
including anaphylaxis, and be competent in treating these events at the time of vaccine
administration. Providers should also have a plan in place to contact emergency medical
services immediately in the event of a severe acute vaccine reaction.

Allergic reactions can include: local or generalized urticaria (hives) or angioedema;
respiratory compromise due to wheezing or swelling of the throat; hypotension; and
shock. Immediate-immunoglobulin E (IgE)–mediated (type 1) immune reactions, such
as anaphylaxis, usually occur within minutes of parenteral administration and involve
specific IgE interactions with discrete antigens (9,10). Rapid recognition and initiation
of treatment are required to prevent possible progression to respiratory failure or
cardiovascular collapse. It is important to note that urticaria may not be present in all
cases of anaphylaxis. For respiratory or cardiovascular symptoms, or other signs or
symptoms of anaphylaxis, immediate intramuscular epinephrine is the treatment of
choice (11,12). Additional doses of epinephrine as well as other drugs also might be
indicated (Tables 5-1 and 5-2) (12). If hypotension is present, the patient should be
placed in a recumbent position with the legs elevated. Maintenance of the airway,
oxygen administration, and intravenous normal saline might be necessary. After the
patient is stabilized, arrangements should be made for immediate transfer to an
emergency facility for additional evaluation and treatment. Because anaphylaxis may
recur after patients begin to recover, monitoring in a medical facility for several hours is
advised, even after complete resolution of symptoms and signs. Additional information
on management of patients with anaphylaxis has been published (9).


Persons Who Have Had an Allergic Reaction Following a
Previous Immunization

For an individual patient who has experienced an immediate reaction to immunization,
it is important to identify the type of reaction that occurred, obtain a history of prior
allergic reactions, and try to identify the particular agent responsible. An algorithm


General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions   72
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 75 of 197




approach to these patients has been published (13) and additional advice is available for
allergists on the evaluation of these adverse events (10). In general, a history of a severe
allergic reaction to a vaccine should be considered a contraindication to additional doses
of the same vaccine (13). Referral of the individual to an allergist for evaluation is
usually indicated to possibly determine the component responsible, before making
decisions regarding administration of the additional doses of the same vaccine or other
vaccines that have the same components. Patients who have not had a severe allergic
reaction following a vaccine, but who have a history of possible allergy to a vaccine
component can often be vaccinated safely after careful evaluation (6).


Influenza Vaccination of Persons with a History of Egg
Allergy

Severe allergic and anaphylactic reactions can occur in response to a number of
influenza vaccine components, but such reactions are rare (6). All but the recombinant
inactivated influenza vaccine may have come into contact with egg protein. The use of
influenza vaccines for persons with a history of egg allergy has been reviewed recently by
ACIP (14). VAERS data mining did not identify a higher than expected proportion of
serious allergic events after influenza vaccination during the 2011-2012 season, relative
to all other reported vaccines and adverse events in the database. Persons with a history
of egg allergy should receive recombinant inactivated vaccine (if 18 years or older), or
IIV.

Other measures, such as dividing and administering the vaccine by a 2-step approach
and skin testing with vaccine, are not recommended (10).

All vaccines should be administered in settings in which personnel and equipment for
rapid recognition and treatment of anaphylaxis are available. ACIP recommends that all
vaccination providers be certified in cardiopulmonary resuscitation (CPR), have an
office emergency plan, and ensure that all staff are familiar with the plan (6). Some
persons who report allergy to egg might not be egg-allergic. Those who are able to eat
lightly cooked egg (e.g., scrambled egg) without reaction are unlikely to be allergic.


General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions   73
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 76 of 197




Egg-allergic persons might tolerate egg in baked products (e.g., bread or cake).
Tolerance to egg-containing foods does not exclude the possibility of egg allergy (15).
Egg allergy can be confirmed by a consistent medical history of adverse reactions to eggs
and egg-containing foods, plus skin and/or blood testing for IgE antibodies to egg
proteins.

A previous severe allergic reaction to influenza vaccine, regardless of the component
suspected to be responsible for the reaction, is a contraindication to future receipt of the
vaccine (14).


Yellow Fever Vaccination of Persons with a History of
Egg Allergy

Yellow fever vaccine contains egg protein. There have been insufficient studies to
determine which patients with egg allergy may be able to receive yellow fever vaccine,
but there are reports of patients with true egg allergy safely receiving yellow fever
vaccine after evaluation by specialists with expertise in the management of allergic
reactions (16,17). According to the manufacturer, persons who are able to eat eggs or egg
products may receive the vaccine (18). However, potential hypersensitivity reactions
might occur in persons with a history of minor reactions to eggs. For egg-sensitive
persons, a scratch test or intradermal test can be performed before administering the
vaccine to check for reactivity. If a person has a severe egg-sensitivity or has a positive
skin test to the vaccine, but the vaccination is recommended because of their travel
destination-specific risk, desensitization can be performed under direct supervision of a
physician experienced in the management of anaphylaxis. The desensitization proce-
dure is detailed in the product insert (see yellow fever recommendations at
https://www.fda.gov/BiologicsBloodVaccines/Vaccines/ApprovedProducts/ucm09407
4.htm).




General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions   74
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 77 of 197




Vaccines with MMR or Varicella Components and
Persons with a History of Egg Allergy

Varicella vaccine is grown in human diploid cell cultures and can safely be administered
to persons with a severe allergy to eggs or egg proteins (19). Measles and mumps vaccine
viruses are grown in chick embryo fibroblast tissue culture. However, persons with a
severe egg allergy can receive measles- or mumps-containing vaccines in the usual
manner because the content of these proteins is extremely low (20). The rare severe
allergic reactions after measles- or mumps-containing vaccines or varicella are thought
to be caused by other components of the vaccine (e.g., gelatin) (21-24). MMR, MMRV,
varicella and other vaccines contain hydrolyzed gelatin as a stabilizer.


Vaccines and Persons with a History of Allergy to
Substances Other than Eggs

Persons who have had an anaphylactic reaction to gelatin or gelatin-containing products
should be evaluated by an allergist prior to receiving gelatin-containing vaccines (6).

Certain vaccines contain trace amounts of antimicrobial agents or other preservatives
(e.g., neomycin or thimerosal), although allergies to these are rare. No licensed vaccine
contains penicillin or penicillin derivatives.

Most often, neomycin hypersensitivity manifests as contact dermatitis, a delayed-type
(cell-mediated) immune response rather than immediate-hypersensitivity (IgE-
mediated allergy)–type response (25,26). A history of delayed-type reactions to
neomycin is not a contraindication for administration of neomycin-containing vaccines.
There has only been 1 reported case of immediate hypersensitivity reaction following a
neomycin-containing vaccine (27). Persons who have had anaphylactic reactions to
neomycin should be evaluated by an allergist prior to receiving vaccines containing
neomycin (6).




General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions   75
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 78 of 197




Thimerosal, an organic mercurial compound in use since the 1930s, is added to certain
immunobiologics as a preservative. Since mid-2001, vaccines routinely recommended for
infants younger than 6 months of age have been manufactured without thimerosal as a
preservative (14). Live, attenuated vaccines have never contained thimerosal. Thimerosal-
free formulations of inactivated influenza vaccine are available. Inactivated influenza
vaccine also is available in formulations with only trace amounts of thimerosal, which
remains as a manufacturing residual but is not added at the higher concentration that would
be necessary for it to function as a preservative. Thimerosal at a preservative concentration
is present in certain other vaccines that can be administered to children (e.g., Td and DT).
Information about the thimerosal content of vaccines is available from FDA at
https://www.fda.gov/BiologicsBloodVaccines/SafetyAvailability/VaccineSafety/UCM09622
8.

Reactions to thimerosal have been described as local delayed-type hypersensitivity reactions
with only rare reports of immediate reactions (28-31). Thimerosal elicits positive delayed-
type hypersensitivity patch tests in 1%-18% of persons tested; however, these tests have no
relevance to acute allergic reactions that might occur within minutes or hours after
immunization (32,33). The majority of persons do not experience reactions to thimerosal
administered as a component of vaccines even when patch or intradermal tests for
thimerosal indicate hypersensitivity (31). A local or delayed-type hypersensitivity reaction to
thimerosal is not a contraindication to receipt of a vaccine that contains thimerosal (34).

Latex is sap from the rubber tree. Latex contains naturally occurring plant proteins that can
be responsible for immediate-type allergic reactions. Latex is processed to form either
natural rubber latex products such as gloves or dry, natural rubber products such as syringe
plunger tips and vial stoppers. Synthetic rubber is also used in gloves, syringe plungers, and
vial stoppers but does not contain the latex proteins linked to immediate-type allergic
reactions. Natural rubber latex or dry, natural rubber used in vaccine packaging generally is
noted in the manufacturers’ package inserts.

Immediate-type allergic reactions due to latex allergy have been described after vaccination,
but such reactions are rare (35).




General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions   76
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 79 of 197




If a person reports a severe anaphylactic allergy to latex, vaccines supplied in vials or
syringes that contain natural rubber latex should be avoided if possible (6). If not, if the
decision is made to vaccinate, providers should be prepared to treat immediate allergic
reactions due to latex, including anaphylaxis. The most common type of latex
hypersensitivity is a delayed-type (type 4, cell-mediated) allergic contact dermatitis (36).
For patients with a history of contact allergy to latex, vaccines supplied in vials or
syringes that contain dry natural rubber or natural rubber latex may be administered.


Reporting Adverse Events After Vaccination

Modern vaccines are safe and effective; however, adverse events have been reported
after administration of all vaccines (3). More complete information about adverse
reactions to a specific vaccine is available in the package insert for each vaccine and
from CDC at www.cdc.gov/vaccines/vac-gen/side-effects.htm. An adverse event is an
untoward event that occurs after a vaccination that might be caused by the vaccine
product or vaccination process. These events range from common, minor, local
reactions to rare, severe, allergic reactions (e.g., anaphylaxis). Reporting to VAERS
helps establish trends, identify clusters of adverse events, or generate hypotheses.
However, establishing evidence for cause and effect on the basis of case reports and case
series alone is usually not possible, because health problems that have a temporal
association with vaccination do not necessarily indicate causality.

Many adverse events require more detailed epidemiologic studies to compare the
incidence of the event among vaccinees with the incidence among unvaccinated persons.
Potential causal associations between reported adverse events after vaccination can be
assessed through epidemiologic or clinical studies.

The National Childhood Vaccine Injury Act of 1986 (1) requires health care personnel
and vaccine manufacturers to report to VAERS specific adverse events that occur after
vaccination. The reporting requirements are different for manufacturers and health care
personnel. Manufacturers are required to report all adverse events that occur after
vaccination to VAERS, whereas health-care providers are required to report events that



General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions   77
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 80 of 197




appear in the reportable events table on the VAERS website at
https://vaers.hhs.gov/docs/VAERS_Table_of_Reportable_Events_Following_Vaccinat
ion.pdf.

In addition to the mandated reporting of events listed on the reportable events table,
health care personnel should report to VAERS all events listed in product inserts as
contraindications, as well as all clinically significant adverse events, even if they are
uncertain that the adverse event is related causally to vaccination (6). Persons other
than health care personnel also can report adverse events to VAERS.

General information on VAERS is available at https://vaers.hhs.gov/index.html.
Specific information for healthcare providers is available at
https://vaers.hhs.gov/resources/infoproviders.html. Reporting to VAERS is fully
electronic and can be done using an online reporting tool or a writable PDF; instructions
are available at https://vaers.hhs.gov/reportevent.html. Further assistance on VAERS
reporting is available through email at info@VAERS.org and the VAERS toll free
number 1-800-822-7967.




National Vaccine Injury Compensation Program

The National Vaccine Injury Compensation Program, established by the National
Childhood Vaccine Injury Act of 1986 (1), is a no-fault system in which persons thought
to have experienced an injury or to have died as a result of administration of a covered
vaccine can seek compensation. The program became operational on October 1, 1988,
and is intended as an alternative to civil litigation under the traditional tort system in
that negligence need not be proven. Claims arising from covered vaccines must first be
adjudicated through the program before civil litigation can be pursued.

The program relies on the Vaccine Injury Table, which lists the vaccines covered by the
program and the injuries (including death), disabilities, illnesses, and conditions for
which compensation might be awarded. The table defines the time during which the first




General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions   78
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 81 of 197




symptom or substantial aggravation of an injury must appear after vaccination to be
eligible. Successful claimants receive a legal presumption of causation if a condition
listed in the table is proven, thus avoiding the need to prove actual causation in an
individual case. Claimants also can prevail for conditions not listed in the reportable
events table if they prove causation for covered vaccines. Additional information is
available from the Health Resources and Services Administration (HRSA at
https://www.hrsa.gov/vaccine-compensation/index.html or by telephone at 800-338-
2382). Persons who would like to file a claim for vaccine injury should contact the U.S.
Court of Federal Claims (717 Madison Place, N.W., Washington, DC 20005; telephone:
202-357-6400).

 TABLE 5-1: Rapid overview: Emergent management of anaphylaxis in
 infants and children(a)
 Diagnosis is    The most common signs and symptoms are cutaneous (eg, sudden onset of generalized
 made            urticaria, angioedema, flushing, pruritus). However, 10 to 20% of patients have no skin
                 findings.
 clinically:     Danger signs: Rapid progression of symptoms, evidence of respiratory distress (e.g., stridor,
                 wheezing, dyspnea, increased work of breathing, retractions, persistent cough, cyanosis), signs
                 of poor perfusion, abdominal pain, vomiting, dysrhythmia, hypotension, collapse.
 Acute           The first and most important therapy in anaphylaxis is epinephrine. There are NO absolute
 management:     contraindications to epinephrine in the setting of anaphylaxis.
                 Airway: Immediate intubation if evidence of impending airway obstruction from angioedema.
                 Delay may lead to complete obstruction. Intubation can be difficult and should be performed
                 by the most experienced clinician available. Cricothyrotomy may be necessary.
                 IM epinephrine (1 mg/mL preparation): Epinephrine 0.01 mg/kg should be injected
                 intramuscularly in the midouter thigh. For large children (>50 kg), the maximum is 0.5 mg per
                 dose. If there is no response or the response is inadequate, the injection can be repeated in 5 to
                 15 minutes (or more frequently). If epinephrine is injected promptly IM, patients respond to
                 one, two, or at most, three injections. If signs of poor perfusion are present or symptoms are
                 not responding to epinephrine injections, prepare IV epinephrine for infusion (see below).
                 Place patient in recumbent position, if tolerated, and elevate lower extremities.



                 Oxygen: Give 8 to 10 L/minute via facemask or up to 100% oxygen, as needed.
                 Normal saline rapid bolus: Treat poor perfusion with rapid infusion of 20 mL/kg. Reevaluate
                 and repeat fluid boluses (20 mL/kg), as needed. Massive fluid shifts with severe loss of
                 intravascular volume can occur. Monitor urine output.
                 Albuterol: For bronchospasm resistant to IM epinephrine, give albuterol 0.15 mg/kg
                 (minimum dose: 2.5 mg) in 3 mL saline inhaled via nebulizer. Repeat, as needed.
                 H1 antihistamine: Consider giving diphenhydramine 1 mg/kg (max 40 mg) IV.
                 H2 antihistamine: Consider giving ranitidine 1 mg/kg (max 50 mg) IV.
                 Glucocorticoid: Consider giving methylprednisolone 1 mg/kg (max 125 mg) IV.
                 Monitoring: Continuous noninvasive hemodynamic monitoring and pulse oximetry monitoring
                 should be performed. Urine output should be monitored in patients receiving IV fluid
                 resuscitation for severe hypotension or shock.
 Treatment of    Epinephrine infusion:(b) In patients with inadequate response to IM epinephrine and IV saline,
 refractory      give epinephrine continuous infusion at 0.1 to 1 mcg/kg/minute, titrated to effect.
                 Vasopressors:(b) Patients may require large amounts of IV crystalloid to maintain blood
 symptoms:       pressure. Some patients may require a second vasopressor (in addition to epinephrine). All
                 vasopressors should be given by infusion pump, with the doses titrated continuously according



General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions                      79
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 82 of 197



                       to blood pressure and cardiac rate/function monitored continuously and oxygenation
                       monitored by pulse oximetry
 IM: intramuscular; IV: intravenous.
 (a) A child is defined as a prepubertal patient weighing less than 40 kg.
 (b) All patients receiving an infusion of epinephrine and/or another vasopressor require continuous noninvasive

 monitoring of blood pressure, heart rate and function, and oxygen saturation. We suggest that pediatric centers
 provide instructions for preparation of standard concentrations and also provide charts for established infusion
 rate for epinephrine and other vasopressors in infants and children.



 Table 5-2: Rapid overview: Emergency management of anaphylaxis in
 adults
 Diagnosis is made clinically:                              The most common signs and symptoms are cutaneous
                                                            (e.g., sudden onset of generalized urticaria,
                                                            angioedema, flushing, pruritus). However, 10 to 20% of
                                                            patients have no skin findings.
                                                            Danger signs: Rapid progression of symptoms,
                                                            respiratory distress (e.g., stridor, wheezing, dyspnea,
                                                            increased work of breathing, persistent cough,
                                                            cyanosis), vomiting, abdominal pain, hypotension,
                                                            dysrhythmia, chest pain, collapse.
 Acute management:                                          The first and most important treatment in anaphylaxis
                                                            is epinephrine. There are NO absolute contraindications
                                                            to epinephrine in the setting of anaphylaxis.
                                                            Airway: Immediate intubation if evidence of impending
                                                            airway obstruction from angioedema. Delay may lead to
                                                            complete obstruction. Intubation can be difficult and
                                                            should be performed by the most experienced clinician
                                                            available. Cricothyrotomy may be necessary.
 Promptly and simultaneously, give:                         IM epinephrine (1 mg/mL preparation): Give
                                                            epinephrine 0.3 to 0.5 mg intramuscularly, preferably
                                                            in the midouter thigh. Can repeat every 5 to 15 minutes
                                                            (or more frequently), as needed. If epinephrine is
                                                            injected promptly IM, most patients respond to one,
                                                            two, or at most, three doses. If symptoms are not
                                                            responding to epinephrine injections, prepare IV
                                                            epinephrine for infusion (see below).
                                                            Place patient in recumbent position, if tolerated, and
                                                            elevate lower extremities.
                                                            Oxygen: Give 8 to 10 L/minute via facemask or up to
                                                            100% oxygen, as needed.
                                                            Normal saline rapid bolus: Treat hypotension with
                                                            rapid infusion of 1 to 2 liters IV. Repeat, as needed.
                                                            Massive fluid shifts with severe loss of intravascular
                                                            volume can occur.
                                                            Albuterol (salbutamol): For bronchospasm resistant to
                                                            IM epinephrine, give 2.5 to 5 mg in 3 mL saline via
                                                            nebulizer. Repeat, as needed.
 Adjunctive therapies:                                      H1 antihistamine:(a) Consider giving diphenhydramine
                                                            25 to 50 mg IV (for relief of urticaria and itching only).
                                                            H2 antihistamine:(a) Consider giving ranitidine 50 mg
                                                            IV.
                                                            Glucocorticoid:(a) Consider giving methylprednisolone
                                                            125 mg IV.
                                                            Monitoring: Continuous noninvasive hemodynamic
                                                            monitoring and pulse oximetry monitoring should be
                                                            performed. Urine output should be monitored in
                                                            patients receiving IV fluid resuscitation for severe
                                                            hypotension or shock.
 Treatment of refractory symptoms:                          Epinephrine infusion(b),: For patients with inadequate
                                                            response to IM epinephrine and IV saline, give



General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions                        80
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 83 of 197



                                                             epinephrine continuous infusion, beginning at 0.1
                                                             mcg/kg/minute by infusion pump(c) . Titrate the dose
                                                             continuously according to blood pressure, cardiac rate
                                                             and function, and oxygenation.
                                                             Vasopressors(b: Some patients may require a second
                                                             vasopressor (in addition to epinephrine). All
                                                             vasopressors should be given by infusion pump, with
                                                             the doses titrated continuously according to blood
                                                             pressure and cardiac rate/function and oxygenation
                                                             monitored by pulse oximetry.
                                                             Glucagon: Patients on beta blockers may not respond to
                                                             epinephrine and can be given glucagon 1 to 5 mg IV
                                                             over 5 minutes, followed by infusion of 5 to 15
                                                             mcg/minute. Rapid administration of glucagon can
                                                             cause vomiting.
 Instructions on how to prepare and administer epinephrine for IV continuous infusions are available as
 separate tables in UpToDate.
 IM: intramuscular; IV: intravenous.
 (a) These medications should not be used as initial or sole treatment.
 (b) All patients receiving an infusion of epinephrine and another vasopressor require continuous noninvasive

 monitoring of blood pressure, heart rate and function, and oxygen saturation.
 (c) For example, the initial infusion rate for a 70 kg patient would be 7 mcg/minute. This is consistent with the

 recommended range for non–weight-based dosing for adults, which is 2 to 10 mcg/minute. Non–weight-based
 dosing can be used if the patient's weight is not known and cannot be estimated.

Reproduced with permission from: Campbell RL, Kelso JM. Anaphylaxis: Emergency treatment. In:
UpToDate, Post TW (Ed), UpToDate, Waltham, MA. (Accessed on 03/08/2017) Copyright © 2017
UpToDate, Inc. For more information visit www.uptodate.com.
Source: (37).




General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions                         81
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 84 of 197




REFERENCES
   1.      National Childhood Vaccine Injury Act, 42 U.S.C. Sect. 300aa-1 to 300aa-34
           (1986).
   2.      Opel DJ, Heritage J, Taylor JA, et al. The architecture of provider-parent
           vaccine discussions at health supervision visits. Pediatrics. 2013:2013-2037.
           DOI: 10.1542/peds.2013-2037
   3.      CDC. Update: vaccine side effects, adverse reactions, contraindications, and
           precautions. Recommendations of the Advisory Committee on Immunization
           Practices (ACIP). MMWR Recomm Rep. 1996;45(RR-12):1-35.
   4.      CDC. Syncope after vaccination—United States, January 2005-July 2007.
           MMWR Morb Mortal Wkly Rep. 2008;57(17):457-460.
   5.      Bohlke K, Davis RL, Marcy SM, et al. Risk of anaphylaxis after vaccination of
           children and adolescents. Pediatrics. 2003;112(4):815-820. DOI:
           10.1542/peds.112.4.815
   6.      Kroger A, Atkinson W, Pickering L. General immunization practices. In:
           Plotkin S, Orenstein W, Offit P, eds. Vaccines. 6th ed. China: Elsevier
           Saunders; 2013:88-111.
   7.      Grabenstein JD. Clinical management of hypersensitivities to vaccine
           components. Hospital Pharmacy. 1997;32:77-87.
   8.      Grabenstein JD. ImmunoFacts: Vaccines and Immunologic Drugs—2013.
           38th ed. St. Louis, MO: Lippincott Williams & Wilkins; 2012.
   9.      Lieberman P, Nicklas RA, Oppenheimer J, et al. The diagnosis and
           management of anaphylaxis practice parameter: 2010 update. J Allergy Clin
           Immunol. 2010;126(3):477-480.e471-442. DOI: 10.1016/j.jaci.2010.06.022
   10.     Kelso JM, Greenhawt MJ, Li JT, et al. Adverse reactions to vaccines practice
           parameter 2012 update. J Allergy Clin Immunol. 2012;130(1):25-43. DOI:
           10.1016/j.jaci.2012.04.003
   11.     Ruggeberg JU, Gold MS, Bayas JM, et al. Anaphylaxis: case definition and
           guidelines for data collection, analysis, and presentation of immunization
           safety data. Vaccine. 2007;25(31):5675-5684. DOI:
           10.1016/j.vaccine.2007.02.064


General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions   82
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 85 of 197




   12.     Sampson HA, Munoz-Furlong A, Bock SA, et al. Symposium on the definition
           and management of anaphylaxis: summary report. J Allergy Clin Immunol.
           2005;115(3):584-591. DOI: 10.1016/j.jaci.2005.01.009
   13.     Wood RA, Berger M, Dreskin SC, et al. An algorithm for treatment of patients
           with hypersensitivity reactions after vaccines. Pediatrics. 2008;122(3):e771-
           777. DOI: 10.1542/peds.2008-1002
   14.     Grohskopf LA, Sokolow LZ, Olsen SJ, Bresee JS, Broder KR, Karron RA.
           Prevention and control of influenza with vaccines: recommendations of the
           Advisory Committee on Immunization Practices, United States, 2015-16
           influenza season. MMWR Morb Mortal Wkly Rep. 2015;64(30):818-825.
   15.     Erlewyn-Lajeunesse M, Brathwaite N, Lucas JS, Warner JO.
           Recommendations for the administration of influenza vaccine in children
           allergic to egg. BMJ. 2009;339:b3680. DOI: 10.1136/bmj.b3680
   16.     Mosimann B, Stoll B, Francillon C, Pecoud A. Yellow fever vaccine and egg
           allergy. J Allergy Clin Immunol. 1995;95(5 Pt 1):1064. DOI: 10.1016/S0091-
           6749(95)70118-4
   17.     Munoz-Cano R, Sanchez-Lopez J, Bartra J, Valero A. Yellow fever vaccine and
           egg allergy: really a problem? Allergy. 2010;65(4):533-534. DOI:
           10.1111/j.1398-9995.2009.02205.x
   18.     Sanofi Pasteur Inc. Yellow fever vaccine: YF-VAX®[Package insert].
           Swiftwater, PA: Sanofi Pasteur Inc.; 2015. Available at:
           http://www.fda.gov/downloads/BiologicsBloodVaccines/Vaccines/Approved
           Products/UCM142831.pdf. Accessed 02 Feb 2017.
   19.     Marin M, Guris D, Chaves SS, Schmid S, Seward JF. Prevention of varicella:
           recommendations of the Advisory Committee on Immunization Practices
           (ACIP). MMWR Recomm Rep. 2007;56(RR-4):1-40.
   20.     Watson JC, Hadler SC, Dykewicz CA, Reef S, Phillips L. Measles, mumps, and
           rubella—vaccine use and strategies for elimination of measles, rubella, and
           congenital rubella syndrome and control of mumps: recommendations of the
           Advisory Committee on Immunization Practices (ACIP). MMWR Recomm
           Rep. 1998;47(RR-8):1-57.



General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions   83
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 86 of 197




   21.     Kelso JM, Jones RT, Yunginger JW. Anaphylaxis to measles, mumps, and
           rubella vaccine mediated by IgE to gelatin. J Allergy Clin Immunol.
           1993;91(4):867-872. DOI: 10.1016/0091-6749(93)90344-F
   22.     Sakaguchi M, Nakayama T, Inouye S. Food allergy to gelatin in children with
           systemic immediate-type reactions, including anaphylaxis, to vaccines. J
           Allergy Clin Immunol. 1996;98(6 Pt 1):1058-1061. DOI: 10.1016/S0091-
           6749(96)80191-6
   23.     Sakaguchi M, Ogura H, Inouye S. IgE antibody to gelatin in children with
           immediate-type reactions to measles and mumps vaccines. J Allergy Clin
           Immunol. 1995;96(4):563-565. DOI: 10.1016/S0091-6749(95)70304-7
   24.     Sakaguchi M, Yamanaka T, Ikeda K, et al. IgE-mediated systemic reactions to
           gelatin included in the varicella vaccine. J Allergy Clin Immunol.
           1997;99(2):263-264. DOI: 10.1016/S0091-6749(97)70108-8
   25.     Rietschel RL, Bernier R. Neomycin sensitivity and the MMR vaccine. JAMA.
           1981;245(6):571. DOI: 10.1001/jama.1981.03310310017008
   26.     Elliman D, Dhanraj B. Safe MMR vaccination despite neomycin allergy.
           Lancet. 1991;337(8737):365. DOI: 10.1016/0140-6736(91)90995-2
   27.     Kwittken PL, Rosen S, Sweinberg SK. MMR vaccine and neomycin allergy.
           Am J Dis Child. 1993;147(2):128-129. DOI:
           10.1001/archpedi.1993.02160260018005
   28.     Aberer W. Vaccination despite thimerosal sensitivity. Contact Dermatitis.
           1991;24(1):6-10. DOI: 10.1111/j.1600-0536.1991.tb01621.x
   29.     Cox NH, Forsyth A. Thiomersal allergy and vaccination reactions. Contact
           Dermatitis. 1988;18(4):229-233. DOI: 10.1111/j.1600-0536.1988.tb02809.x
   30.     Kirkland LR. Ocular sensitivity to thimerosal: a problem with hepatitis B
           vaccine? South Med J. 1990;83(5):497-499.
   31.     Zheng W, Dreskin SC. Thimerosal in influenza vaccine: an immediate
           hypersensitivity reaction. Ann Allergy Asthma Immunol. 2007;99(6):574-
           575. DOI: 10.1016/s1081-1206(10)60391-2
   32.     Wantke F, Demmer CM, Götz M, Jarisch R. Contact dermatitis from
           thimerosal. Contact Dermatitis. 1994;30(2):115. DOI: 10.1111/j.1600-
           0536.1994.tb00580.x


General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions   84
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 87 of 197




   33.     Moller H. All these positive tests to thimerosal. Contact Dermatitis.
           1994;31(4):209-213. DOI: 10.1111/j.1600-0536.1994.tb01989.x
   34.     Russell M, Pool V, Kelso JM, Tomazic-Jezic VJ. Vaccination of persons
           allergic to latex: a review of safety data in the Vaccine Adverse Event
           Reporting System (VAERS). Vaccine. 2004;23(5):664-667. DOI:
           10.1016/j.vaccine.2004.06.042
   35.     Lear JT, English JS. Anaphylaxis after hepatitis B vaccination. Lancet.
           1995;345(8959):1249. DOI: 10.1016/S0140-6736(95)92039-0
   36.     Slater JE. Latex allergy. J Allergy Clin Immunol. 1994;94(2 Pt 1):139-149;
           quiz 150. DOI: 10.1053/ai.1994.v94.a55437
   37.     Adapted from: Simons FER. Anaphylaxis. J Allergy Clin Immunol.
           2010;125:S161.




General Best Practice Guidelines for Immunization: Preventing and Managing Adverse Reactions   85
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 88 of 197

                       6. Vaccine Administration

Updates

Major changes to the best practice guidance include 1) allowances for alternate
administration route (subcutaneous instead of intramuscular) for hepatitis A vaccine and
2) an age cutoff of 12 years through 17 years of age for validating a dose of intradermal
influenza vaccine if given in error.


Infection Control and Sterile Technique

General Precautions

Persons administering vaccinations should follow appropriate precautions to minimize
risk for disease exposure and spread. Hands should be cleansed with an alcohol-based
waterless antiseptic hand rub or washed with soap and water before preparing vaccines
for administration and between each patient contact (1). Occupational Safety and Health
Administration (OSHA) regulations do not require gloves to be worn when
administering vaccinations, unless persons administering vaccinations have open
lesions on their hands or are likely to come into contact with a patient’s body fluids (2).
If worn, gloves should be changed between patients.


Vaccine Administration: Preparation and Timely
Disposal

Vaccines should be drawn up in a designated clean medication area that is not adjacent
to areas where potentially contaminated items are placed. Multi-dose vials to be used for
more than one patient should not be kept or accessed in the immediate patient
treatment area. This is to prevent inadvertent contamination of the vial through direct
or indirect contact with potentially contaminated surfaces or equipment that could then
lead to infections in subsequent patients (3). Smallpox vaccine is accessed by dipping a
bifurcated needle directly into the vaccine vial.


General Best Practice Guidelines for Immunization: Vaccine Administration                 86
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 89 of 197

The vaccine adheres to the sides of the bifurcated needle, and is administered via skin
puncture. The vial must be accessed in the immediate patient area to reduce
environmental contamination by vaccine virus. To prevent contamination of the vial,
make sure the patient area is clean and free of potentially contaminated equipment.

Different vaccines should never be mixed in the same syringe unless specifically licensed
for such use (4). Single-dose vials and manufacturer-filled syringes are designed for
single-dose administration and should be discarded if vaccine has been withdrawn or
reconstituted and subsequently not used within the time frame specified by the
manufacturer. Syringes that are prefilled by the manufacturer and activated (i.e., syringe
cap removed or needle attached) but unused should be discarded at the end of the clinic
day. For inactivated vaccines manufacturers, typically recommend use within the same
day that a vaccine is withdrawn or reconstituted. When in doubt about the appropriate
handling of a vaccine, vaccination providers should contact that vaccine’s manufacturer.

ACIP discourages the routine practice of providers’ prefilling syringes for several
reasons. Because the majority of vaccines have a similar appearance after being drawn
into a syringe, prefilling might result in administration errors. Because unused prefilled
syringes also typically must be discarded if not used within the same day that they are
filled, vaccine wastage might occur. The FDA does not license administration syringes
for vaccine storage.

In certain circumstances in which a single vaccine type is being used (e.g., in
preparation for a community influenza vaccination campaign), filling a small number
(10 or fewer) of syringes may be considered (5). The doses should be administered as
soon as possible after filling, by the same person who filled the syringes. Unused
syringes that are prefilled by the manufacturer and activated (i.e., syringe cap removed
or needle attached) should be discarded at the end of the clinic day.




General Best Practice Guidelines for Immunization: Vaccine Administration                 87
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 90 of 197



Safe Use of Needles and Syringes

Needles and syringes used for vaccine injections must be sterile and disposable. A
separate needle and syringe should be used for each injection. Changing needles
between drawing vaccine from a vial and injecting it into a recipient is not necessary
unless the needle has been damaged or contaminated (6).

Bloodborne diseases (e.g., hepatitis B, hepatitis C, human immunodeficiency virus
[HIV]) are occupational hazards for clinicians and other health-care providers. The
Needlestick Safety and Prevention Act (2) was enacted in 2000 to reduce the incidence
of needlestick injury and the consequent risk for bloodborne diseases acquired from
patients. The act directed OSHA to strengthen its existing bloodborne pathogen
standards. The revised standards became effective in 2001 (2). These federal regulations
require the use of engineering and work practice controls to eliminate or minimize
employee exposure to bloodborne pathogens (see
https://www.osha.gov/SLTC/bloodbornepathogens/standards.html). Engineering
controls means controls (e.g., sharps disposal containers, self-sheathing needles, safer
medical devices, such as sharps with engineered sharps injury protections and
needleless systems) that isolate or remove the bloodborne pathogens hazard from the
workplace (see
https://www.osha.gov/pls/oshaweb/owadisp.show_document?p_table=STANDARDS&
p_id=10051). Needle-shielding or needle-free devices that might satisfy the
occupational safety regulations for administering injectable vaccines are available in the
United States (7-8). The regulations also require maintenance of records documenting
injuries caused by needles and other medical sharp objects and that nonmanagerial
employees be involved in the evaluation and selection of safety-engineered devices
before they are procured. Additional information about implementation and
enforcement of these regulations is available from OSHA.




General Best Practice Guidelines for Immunization: Vaccine Administration                  88
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 91 of 197

To prevent inadvertent needlestick injury or reuse, safety mechanisms should be
deployed after use and needles and syringes should be discarded immediately in labeled,
puncture-proof containers located in the same room where the vaccine is administered
(5). Used needles should never be recapped.


Route of Administration

Injectable Route

Routes of administration are recommended by the manufacturer for each
immunobiologic (Table 6-1). With the exceptions of bacille Calmette-Guérin (BCG)
vaccine and smallpox vaccine (administered intraepidermally), injectable vaccines are
administered by the intramuscular, subcutaneous, or intradermal route. Deviation from
the recommended route of administration might reduce vaccine efficacy (9, 10) or
increase the risk for local adverse reactions (11-13).

The method of administration of injectable vaccines is determined, in part, by the
inclusion of adjuvants in some vaccines. An adjuvant is a vaccine component distinct
from the antigen that enhances the immune response to the antigen, but might also
increase risk of adverse reactions. To decrease risk of local adverse events, inactivated
vaccines containing an adjuvant should be injected into a muscle. Administering a
vaccine containing an adjuvant either subcutaneously or intradermally can cause local
irritation, induration, skin discoloration, inflammation, and granuloma formation.


Intramuscular Injections

Needle Length

Injectable immunobiologics should be administered where local, neural, vascular, or
tissue injury is unlikely. Use of longer needles has been associated with less redness or
swelling than occurs with shorter needles because of injection into deeper muscle mass
(11). Appropriate needle length depends on age and body mass. Injection technique is
the most important parameter to ensure efficient intramuscular vaccine delivery.



General Best Practice Guidelines for Immunization: Vaccine Administration                   89
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 92 of 197

For all intramuscular injections, the needle should be long enough to reach the muscle
mass and prevent vaccine from seeping into subcutaneous tissue, but not so long as to
involve underlying nerves, blood vessels, or bone (10,14-16). Vaccinators should be
familiar with the anatomy of the area into which they are injecting vaccine.
Intramuscular injections are administered at a 90-degree angle to the skin, preferably
into the anterolateral aspect of the thigh or the deltoid muscle of the upper arm,
depending on the age of the patient (Table 6-2).

The needle gauge for intramuscular injection is 22-25 gauge. A decision on needle
length and site of injection must be made for each person on the basis of the size of the
muscle, the thickness of adipose tissue at the injection site, the volume of the material to
be administered, injection technique, and the depth below the muscle surface into which
the material is to be injected (Figure 1). Some experts allow intramuscular injection with
a ⅝-inch needle but ONLY if the skin is stretched flat (16). If the subcutaneous and
muscle tissue are bunched to minimize the chance of striking bone (14), a 1-inch needle
or larger is required to ensure intramuscular administration. Aspiration before injection
of vaccines or toxoids (i.e., pulling back on the syringe plunger after needle insertion but
before injection) is not necessary because no large blood vessels are present at the
recommended injection sites, and a process that includes aspiration might be more
painful for infants (17).

Infants (Aged <12 Months)

For the majority of infants, the anterolateral aspect of the thigh is the recommended site
for injection because it provides comparatively larger muscle mass than the deltoid
(Figure 2) (18). In certain circumstances (e.g., physical obstruction to other sites and no
reasonable indication to defer doses), the gluteal muscle can be used. If the gluteal
muscle must be used, care should be taken to define the anatomic landmarks.(a) For the
majority of infants, a 1-inch needle is sufficient to penetrate the thigh muscle.




General Best Practice Guidelines for Immunization: Vaccine Administration                 90
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 93 of 197

Toddlers (Aged 12 Months-2 Years)

For toddlers, the anterolateral thigh muscle is preferred, and when this site is used, the
needle should be at least 1 inch long. The deltoid muscle can be used if the muscle mass
is adequate. If 2 vaccines are to be administered in a single limb, they should be spaced
an inch apart (4,19).

Children (Aged 3-10 Years)

The deltoid muscle is preferred for children aged 3-10 years (18); the needle length for
deltoid site injections can range from ⅝ to 1 inch on the basis of technique. The
anterolateral thigh can also be used (20). In this case the needle length should be 1 inch
to 1.25 inches. Knowledge of body mass can be useful for estimating the appropriate
needle length (21).

Young Adolescents (Aged 11-18 years)

The deltoid muscle is preferred for adolescents 11-18 years of age. The anterolateral
thigh can also be used. For injection into the anterolateral thigh, most adolescents will
require a 1-1.5-inch needle to ensure intramuscular administration (21).

Adults (Aged ≥19 Years)

For adults, the deltoid muscle is recommended for routine intramuscular vaccinations
(18) (Figure 3). The anterolateral thigh also can be used. For adults a measurement of
body mass/weight is allowable prior to vaccination, understanding that resources to
measure body mass/weight are not available in all clinical settings. For men and women
who weigh <130 lbs (<60 kg), a ⅝-inch needle is sufficient to ensure intramuscular
injection in the deltoid muscle if the injection is made at a 90-degree angle and the
tissue is not bunched. For men and women who weigh 130-152 lbs (60-70 kg), a 1-inch
needle is sufficient. For women who weigh 152-200 lbs (70-90 kg) and men who weigh
152-260 lbs (70-118 kg), a 1- to 1.5-inch needle is recommended. For women who weigh
>200 lbs (>90 kg) or men who weigh >260 lbs (>118 kg), a 1.5-inch needle is
recommended (Table 6-2) (15).



General Best Practice Guidelines for Immunization: Vaccine Administration                   91
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 94 of 197

Subcutaneous Injections
Subcutaneous injections are administered at a 45-degree angle, usually into the thigh for
infants aged <12 months and in the upper-outer triceps area of persons aged ≥12
months. Subcutaneous injections may be administered into the upper-outer triceps area
of an infant if necessary. A ⅝-inch, 23- to 25-gauge needle should be inserted into the
subcutaneous tissue (Figures 4 and 5) (4).


Intradermal Injections

One brand of injectable influenza vaccine is licensed to be administered intradermally.
It is packaged as a pre-filled 3/50-inch microneedle injector system and approved for
persons 18-64 years of age. The approved site is the skin over the deltoid muscle.

Intradermal influenza vaccine injection of someone 12-17 years of age can be counted as
a valid dose on the presumption that their skin thickness is similar to someone 18-64
years of age. A dose of intradermal vaccine given to someone younger than 12 years of
age or older than 64 years of age should not be counted as valid (personal
communication with manufacturer).




General Best Practice Guidelines for Immunization: Vaccine Administration                 92
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 95 of 197

Oral Route

Rotavirus, adenovirus, cholera vaccine, and oral typhoid vaccines are the only vaccines
administered orally in the United States. Oral typhoid capsules should be administered
as directed by the manufacturer. The capsules should not be opened or mixed with any
other substance. Rotavirus vaccines are licensed for infants. There are 2 brands of
rotavirus vaccine, and they have different types of applicators. Providers should consult
package inserts for details. A dose of rotavirus vaccine need not be repeated if the
vaccine is spit up or vomited. The infant should receive the remaining recommended
doses of rotavirus vaccine following the routine schedule (5).




Intranasal Route

LAIV is approved for healthy nonpregnant persons aged 2-49 years and is the only
vaccine administered by the intranasal route. The administration device is a nasal
sprayer with a dose-divider clip that allows introduction of one 0.1-mL spray into each
naris. The tip should be inserted slightly into the naris before administration. Even if the
person coughs or sneezes immediately after administration or the dose is expelled any
other way, the vaccine dose need not be repeated (5).

Severely immunosuppressed persons (i.e., those who require care in a protected
environment, e.g., bone marrow transplant patients, patients with severe combined
immunodeficiency disease) should not administer LAIV. It would be uncommon for
persons with these conditions to be in a role administering vaccines. Other persons at
increased risk for influenza complications can administer LAIV. These include persons
with underlying medical conditions placing them at higher risk or who are likely to be at
risk, including pregnant women, persons with asthma, and persons aged ≥50 years (22).




General Best Practice Guidelines for Immunization: Vaccine Administration                 93
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 96 of 197

Multiple Injections

If multiple vaccines are administered at a single visit, administer each preparation at a
different anatomic site (23). The location of all injection sites with the corresponding
vaccine injected should be documented in each patient’s medical record. Health-care
practices should consider using a vaccination site map so that all persons administering
vaccines routinely use a particular anatomic site for each particular vaccine.

For infants and younger children, if more than 2 vaccines are injected in a single limb,
the thigh is the preferred site because of the greater muscle mass; the injections should
be sufficiently separated (separate anatomic sites [i.e. ≥1 inch] if possible) so that any
local reactions can be differentiated (8,24). For older children and adults, the deltoid
muscle can be used for more than one intramuscular injection. If a vaccine and an
immune globulin preparation are administered simultaneously (e.g., Td/Tdap and
tetanus immune globulin [TIG], hepatitis A and IG, hepatitis B and hepatitis B
immunoglobulin [HBIG]), separate limbs should be used for each injection (25,26).


Jet Injections

Jet injectors are needle-free devices that pressurize liquid medication, forcing it through
a nozzle orifice into a narrow stream capable of penetrating skin to deliver a drug or
vaccine into intradermal, subcutaneous, or intramuscular tissues (27,28). Immune
responses generated by jet injectors against both attenuated and inactivated viral and
bacterial antigens are usually equivalent to, and occasionally greater than, immune
responses induced by needle injection. However, local reactions or injuries (e.g., skin
laceration, transient neuropathy, hematoma) are sometimes more frequent on delivery
of vaccine by jet injectors compared with needle injection, depending on the inherent
irritability of the vaccine and operator technique (28).

Multiple use jet injectors using the same nozzle for consecutive injections without
intervening sterilization were used in mass vaccination campaigns from the 1950s
through the 1990s (28); however, these were found to be unsafe because of the
possibility of bloodborne pathogen transmission (29-32) and should not be used. A new
generation of jet injectors with disposable cartridges and syringes has been developed
General Best Practice Guidelines for Immunization: Vaccine Administration                    94
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 97 of 197

since the 1990s. With a new, sterile dose chamber and nozzle for each patient and
correct use, these devices do not have the same safety concerns as multiple-use nozzle
jet injectors. Several of the newer devices have been approved by FDA for sale in the
United States (28) and for use with individual vaccines. Jet injectors prevent needlestick
injuries to health-care providers (2) and can overcome improper, unsterile reuse and
other drawbacks of needles and syringes in developing countries (7,33,34).


Methods for Alleviating Discomfort and Pain Associated
with Vaccination

Comfort measures, such as distraction (e.g., playing music or pretending to blow away
the pain), cooling of the injection site(s), topical analgesia, ingestion of sweet liquids,
breastfeeding, swaddling, and slow, lateral swaying can help infants or children cope
with the discomfort associated with vaccination (35-37). Pretreatment (30-60 minutes
before injection) with a 5% topical lidocaine-prilocaine emulsion might decrease the
pain of vaccination by causing superficial anesthesia (38,39). Evidence indicates that
this cream does not interfere with the immune response to MMR (40). Topical
lidocaine-prilocaine emulsion should not be used on infants aged <12 months who are
receiving treatment with methemoglobin-inducing agents (e.g., acetaminophen, amyl
nitrate, nitroprusside, dapsone) because of the possible development of
methemoglobinemia (41). Use of a topical refrigerant (vapocoolant) spray immediately
before vaccination can reduce the short-term pain associated with injections and can be
as effective as lidocaine-prilocaine cream (42). Evidence does not support use of
antipyretics before or at the time of vaccination; however, they can be used for the
treatment of fever and local discomfort that might occur following vaccination. Studies
of children with previous febrile seizures have not demonstrated antipyretics to be
effective in the prevention of febrile seizures (43).




General Best Practice Guidelines for Immunization: Vaccine Administration                     95
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 98 of 197

Clinical Implications of Nonstandard Vaccination Practices

Best practice guidance for route, site, and dosage of immunobiologics is derived from
data from clinical trials, practical experience, normal periodicity of health-care visits,
and theoretical considerations. ACIP discourages variations from the recommended
route, site, volume, or number of doses of any vaccine.

Variation from the recommended route and site can result in inadequate protection. In
adults (but not in infants) (44), the immunogenicity of hepatitis B is substantially lower
when the gluteal rather than the deltoid site is used for administration (6). Hepatitis B
administered intradermally might result in a lower seroconversion rate and final titer of
hepatitis B surface antibody than when administered by the deltoid intramuscular route
(45,46). Hepatitis B administered by any route other than intramuscular, or in adults at
any site other than the deltoid or anterolateral thigh, should not be counted as valid and
should be repeated (6). Similarly, doses of rabies vaccine administered in the gluteal site
should not be counted as valid doses and should be repeated (47). Hepatitis A vaccine
and meningococcal conjugate vaccine do not need to be repeated if administered by the
subcutaneous route (48-49). However, for DTaP, Hib, and PCV13, there is no evidence
related to immunogenicity of these 3 vaccines given subcutaneously. Providers should
address circumstances in which dose(s) of these vaccines have been administered
subcutaneously on a case-by-case basis.

Inactivated influenza vaccine is immunogenic when administered in a lower-than-
standard dose by the intradermal route to healthy adult volunteers. Intradermal
injection produced antibody responses similar to intramuscular injection in vaccinees
aged 18-60 years (50). However, the immunogenicity for persons aged ≥65 years is
inadequate, and varying the recommended route and dose either with the intradermal
product licensed through 64 years of age or with other influenza vaccines is not
recommended (19).




General Best Practice Guidelines for Immunization: Vaccine Administration                    96
     Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 99 of 197

Live, attenuated injectable vaccines (e.g., MMR, varicella, yellow fever) and certain
inactivated vaccines (e.g., meningococcal polysaccharide) are recommended by the
manufacturers to be administered by subcutaneous injection. PPSV23and IPV are
recommended by the manufacturer to be administered by the subcutaneous or
intramuscular route. Response to vaccines recommended by the subcutaneous route is
unlikely to be affected if the vaccines are administered by the intramuscular rather than
subcutaneous route. Repeating doses of vaccine administered by the intramuscular
route when recommended to be by the subcutaneous route is not necessary (6).

Administering volumes smaller than recommended (e.g., inappropriately divided doses)
might result in inadequate protection. Using reduced doses administered at multiple
vaccination visits that equal a full dose or using smaller divided doses is not
recommended (4). Any vaccination using less than the standard dose should not be
counted, and the person should be revaccinated according to age unless serologic testing
indicates that an adequate response has developed. However, if 2 half-volume
formulations of vaccine have already been administered on the same clinic day to a
patient recommended for the full volume formulation, these 2 doses can count as one
full dose. If less than a full recommended dose of a vaccine is administered because of
syringe, applicator, or needle leakage, the dose should be repeated (5). Using larger-
than-recommended dosages can be hazardous because of excessive local or systemic
concentrations of antigens or other vaccine constituents.

(a) If the gluteal muscle is chosen, injection should be administered lateral and superior to a line between the posterior superior iliac

spine and the greater trochanter or in the ventrogluteal site, the center of a triangle bounded by the anterior superior iliac spine, the
tubercle of the iliac crest, and the upper border of the greater trochanter.




General Best Practice Guidelines for Immunization: Vaccine Administration                                                             97
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 100 of 197

TABLE 6-1. Dose and route of administration for selected vaccines

Vaccine                           Dose                                      Route

DTaP, DT, Td, Tdap                0.5 mL                                    IM

DTaP-HepB-IPV                     0.5 mL                                    IM

DTaP/Hib                          0.5 mL                                    IM

DTaP-IPV/Hib                      0.5 mL                                    IM

DTaP-IPV                          0.5 mL                                    IM

Hib                               0.5 mL                                    IM

Hib-MenCY                         0.5 mL                                    IM

HepA                              ≤18 years: 0.5 mL                         IM
                                  ≥19 years: 1.0 mL

HepB                              ≤19 years: 0.5 mL(a)                      IM
                                  ≥20 years: 1.0 mL

HepA-HepB                         ≥18 years: 1.0 mL                         IM

LAIV                              0.2 mL divided dose between               Intranasal spray
                                  nares

IIV                               6-35 months: 0.25 mL or 0.5 mL            IM
                                  ≥3 years: 0.5 mL
                                  18-64 years: 0.1 mL                       ID

MMR                               0.5 mL                                    Subcut

MMRV                              0.5 mL                                    Subcut

MenACWY                           0.5 mL                                    IM

PCV13                             0.5 mL                                    IM

PPSV23                            0.5 mL                                    IM or Subcut

HPV                               0.5 mL                                    IM

IPV                               0.5 mL                                    IM or Subcut

Rotavirus (RV1 or RV5)            (1.0 mL or 2.0 mL)                        Oral

Varicella                         0.5 mL                                    Subcut

 ZVL                              0.65 mL                                   Subcut
General Best Practice Guidelines for Immunization: Vaccine Administration                      98
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 101 of 197

RZV                                       0.5 mL(b)                                            IM
Abbreviations: DT = diphtheria and tetanus toxoids; DTaP = diphtheria and tetanus toxoids and acellular
pertussis; HepA = hepatitis A; HepB = hepatitis B; Hib = Haemophilus influenzae type b; HPV = human
papillomavirus; IIV = inactivated influenza vaccine; IM = intramuscular; IPV = inactivated poliovirus; LAIV = live,
attenuated influenza vaccine; MenACWY = quadrivalent meningococcal conjugate vaccine; MenCY = bivalent
meningococcal conjugate vaccine component; MMR = measles, mumps, and rubella; MMRV = measles, mumps,
rubella, and varicella; MPSV4 = quadrivalent meningococcal polysaccharide vaccine; PCV13 = pneumococcal
conjugate vaccine; PPSV23= pneumococcal polysaccharide vaccine; RV1 = live, attenuated monovalent rotavirus
vaccine; RV5 = live, reassortment pentavalent rotavirus vaccine; RZV = recombinant adjuvanted zoster vaccine;
Subcut = subcutaneous; Td = tetanus and diphtheria toxoids; Tdap = tetanus toxoid, reduced diphtheria toxoid,
and acellular pertussis; ZVL = zoster vaccine live.
Source: Adapted from Immunization Action Coalition: http://www.immunize.org.
    (a) Persons aged 11-15 years may be administered Recombivax HB (Merck), 1.0 mL (adult formulation) on a
        2-dose schedule.
    (b) Do not withdraw more than 0.5 mL from the reconstituted product, even if some product is left in the vial.




General Best Practice Guidelines for Immunization: Vaccine Administration                                            99
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 102 of 197

TABLE 6-2. Needle length and injection site of IM injections for children
aged ≤18 years (by age) and adults aged ≥19 years (by sex and weight)

Age group                                   Needle length               Injection site

Children (birth-18 years)

  Neonates(a)                               5/8 inch (16 mm)(b)         Anterolateral thigh

  Infants, 1-12 months                      1 inch (25 mm)              Anterolateral thigh

  Toddlers, 1-2 years                       1-1.25 inch (25-32          Anterolateral thigh(c)
                                            mm)

                                            5/8(b)-1 inch (16-25        Deltoid muscle of arm
                                            mm)

  Children, 3-10 years                      5/8(b)-1 inch (16-25        Deltoid muscle of arm(c)
                                            mm)

                                            1-1.25 inches (25-32        Anterolateral thigh
                                            mm)

                                            5/8(b)-1 inch (16-25        Deltoid muscle of arm(c)
                                            mm)
 Children, 11-18 years
                                            1-1.5 inches (25-38         Anterolateral thigh
                                            mm)

Adults (≥19 years)

  Men and women, <60 kg (130 lbs)           1 inch (25 mm) (d)          Deltoid muscle of arm

  Men and women, 60-70 kg (130-             1 inch (25 mm)
  152 lbs)

  Men, 70-118 kg (152-260 lbs)              1-1.5 inches (25-38
                                            mm)
  Women, 70-90 kg (152-200 lbs)

  Men, >118 kg (260 lbs)                    1.5 inches (38 mm)

  Women, >90 kg (200 lbs)

Abbreviation: IM = intramuscular.
Source: (14).


General Best Practice Guidelines for Immunization: Vaccine Administration                        100
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 103 of 197
(a) First 28 days of life.

(b) If skin is stretched tightly and subcutaneous tissues are not bunched.

(c) Preferred site.

(d) Some experts recommend a 5/8-inch needle for men and women who weigh <60 kg, if used, skin must be

stretched tightly (do not bunch subcutaneous tissue)




General Best Practice Guidelines for Immunization: Vaccine Administration                                101
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 104 of 197

Figure 1. Intramuscular needle insertion




Source: Adapted from California Immunization Branch.

Alternate Text: This drawing shows intramuscular needle insertion into a cross-
section of skin. The needle is inserted at a 90-degree angle and penetrates the dermis,
fatty tissue (subcutaneous), and muscle tissue.




General Best Practice Guidelines for Immunization: Vaccine Administration             102
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 105 of 197

Figure 2. Intramuscular/subcutaneous site of administration: anterolateral
thigh




Source: Adapted from Minnesota Department of Health.

Alternate Text: This drawing shows a mother holding an infant. The anterolateral
aspect of the infant’s thigh is shaded, showing the proper site for
intramuscular/subcutaneous vaccine administration.




General Best Practice Guidelines for Immunization: Vaccine Administration          103
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 106 of 197

Figure 3. Intramuscular site of administration: deltoid




Source: Adapted from Minnesota Department of Health.

Alternate Text: This line drawing is a side view of an adult. The deltoid muscle of the
arm is shaded, showing the proper site for intramuscular vaccine administration.




General Best Practice Guidelines for Immunization: Vaccine Administration            104
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 107 of 197

Figure 4. Subcutaneous site of administration: triceps




Source: Adapted from the Minnesota Department of Health.

Alternate Text: This line drawing is a rear/dorsal view of an adult. The triceps muscle
of the arm is shaded, showing the proper site for subcutaneous vaccine administration.




General Best Practice Guidelines for Immunization: Vaccine Administration           105
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 108 of 197

Figure 5. Subcutaneous needle insertion




Source: Adapted from California Immunization Branch.

Alternate Text: This drawing shows subcutaneous needle insertion into a cross-
section of skin. The needle is inserted at a 45-degree angle and penetrates the dermis
and fatty tissue (subcutaneous) but not the muscle tissue.




General Best Practice Guidelines for Immunization: Vaccine Administration                106
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 109 of 197

REFERENCES
   1.      Boyce JM, Pittet D. Guideline for hand hygiene in health-care settings.
           Recommendations of the Healthcare Infection Control Practices Advisory
           Committee and the HICPAC/SHEA/APIC/IDSA Hand Hygiene Task Force.
           MMWR Recomm Rep. 2002;51(RR-16):1-45, quiz CE41-44.
   2.      Occupational Health and Safety Administration. Occupational exposure to
           bloodborne pathogens; needlesticks and other sharps injuries; Final Rule (29
           CFR Part 1910). Fed Regist. 2001;66(12):5318-5325.
   3.      Siegel J, Rhinehart E, Jackson M, Chiarello L, the Healthcare Infection
           Control Practices Advisory Committee. 2007 guideline for isolation
           precautions: preventing transmission of infectious agents in healthcare
           settings Atlanta, GA: CDC;2007.
   4.      CDC. General recommendations on immunization. Recommendations of the
           Advisory Committee on Immunization Practices (ACIP). MMWR Recomm
           Rep. 1994;43(RR-1):1-38.
   5.      Kroger AT, Sumaya CV, Pickering LK, Atkinson WL. General
           recommendations on immunization: recommendations of the Advisory
           Committee on Immunization Practices (ACIP). MMWR Recomm Rep. 2011:1-
           60.
   6.      Atkinson WL, Pickering LK, Schwartz B, Weniger BG, Iskander JK, Watson
           JC. General recommendations on immunization. Recommendations of the
           Advisory Committee on Immunization Practices (ACIP) and the American
           Academy of Family Physicians (AAFP). MMWR Recomm Rep. 2002;51(RR-
           2):1-35.
   7.      Drucker E, Alcabes PG, Marx PA. The injection century: massive unsterile
           injections and the emergence of human pathogens. Lancet.
           2001;358(9297):1989-1992. DOI: 10.1016/s0140-6736(01)06967-7




General Best Practice Guidelines for Immunization: Vaccine Administration             107
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 110 of 197

   8.      International Health Care Worker Safety Center. List of safety-engineered
           sharp devices and other products designed to prevent occupational exposures
           to bloodborne pathogens. 2003;
           https://www.medicalcenter.virginia.edu/epinet/safetydevice.html. Accessed
           07 Feb 2017.
   9.      Shaw FE, Jr., Guess HA, Roets JM, et al. Effect of anatomic injection site, age
           and smoking on the immune response to hepatitis B vaccination. Vaccine.
           1989;7(5):425-430. DOI: 10.1016/0264-410X(89)90157-6
   10.     Zuckerman JN. The importance of injecting vaccines into muscle. Different
           patients need different needle sizes. BMJ. 2000;321(7271):1237-1238. DOI:
           10.1136/bmj.321.7271.1237
   11.     Ipp MM, Gold R, Goldbach M, et al. Adverse reactions to diphtheria, tetanus,
           pertussis-polio vaccination at 18 months of age: effect of injection site and
           needle length. Pediatrics. 1989;83(5):679-682.
   12.     Michaels L, Poole RW. Injection granuloma of the buttock. Can Med Assoc J.
           1970;102(6):626-628.
   13.     Haramati N, Lorans R, Lutwin M, Kaleya RN. Injection granulomas.
           Intramuscle or intrafat? Arch Fam Med. 1994;3(2):146-148.
   14.     Bergeson PS, Singer SA, Kaplan AM. Intramuscular injections in children.
           Pediatrics. 1982;70(6):944-948.
   15.     Poland GA, Borrud A, Jacobson RM, et al. Determination of deltoid fat pad
           thickness. Implications for needle length in adult immunization. JAMA.
           1997;277(21):1709-1711. DOI: 10.1001/jama.1997.03540450065037
   16.     Groswasser J, Kahn A, Bouche B, Hanquinet S, Perlmuter N, Hessel L. Needle
           length and injection technique for efficient intramuscular vaccine delivery in
           infants and children evaluated through an ultrasonographic determination of
           subcutaneous and muscle layer thickness. Pediatrics. 1997;100(3 Pt 1):400-
           403. DOI: 10.1542/peds.100.3.400




General Best Practice Guidelines for Immunization: Vaccine Administration                  108
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 111 of 197

   17.     Ipp M, Taddio A, Sam J, Gladbach M, Parkin PC. Vaccine-related pain:
           randomised controlled trial of two injection techniques. Arch Dis Child.
           2007;92(12):1105-1108. DOI: 10.1136/adc.2007.118695
   18.     CDC. Recommendation of the Immunization Practices Advisory Committee:
           general recommendations on immunization MMWR Morb Mortal Wkly Rep.
           1983;32(1):1-16.
   19.     Kroger AT, Atkinson WL, Marcuse EK, Pickering LK. General
           recommendations on immunization: recommendations of the Advisory
           Committee on Immunization Practices (ACIP). MMWR Recomm Rep.
           2006;55(RR-15):1-48.
   20.     Jackson LA, Yu O, Nelson JC, et al. Injection site and risk of medically
           attended local reactions to acellular pertussis vaccine. Pediatrics.
           2011;127(3):e581-587. DOI: 10.1542/peds.2010-1886
   21.     Middleman AB, Anding R, Tung C. Effect of needle length when immunizing
           obese adolescents with hepatitis B vaccine. Pediatrics. 2010;125(3):e508-512.
           DOI: 10.1542/peds.2009-1592
   22.     Fiore AE, Uyeki TM, Broder K, et al. Prevention and control of influenza with
           vaccines: recommendations of the Advisory Committee on Immunization
           Practices (ACIP), 2010. MMWR Recomm Rep. 2010;59(RR-8):1-62.
   23.     CDC. General recommendations on immunization: recommendations of the
           Public Health Service Advisory Committee on Immunization Practices.
           MMWR Morb Mortal Wkly Rep. 1976;25(44):1-3.
   24.     Scheifele D, Bjornson G, Barreto L, Meekison W, Guasparini R. Controlled
           trial of Haemophilus influenzae type B diphtheria toxoid conjugate combined
           with diphtheria, tetanus and pertussis vaccines, in 18-month-old children,
           including comparison of arm versus thigh injection. Vaccine. 1992;10(7):455-
           460. DOI: 10.1016/0264-410X(92)90394-Y
   25.     CDC. Diphtheria, tetanus, and pertussis: recommendations for vaccine use
           and other preventive measures. Recommendations of the Immunization
           Practices Advisory Committee (ACIP). MMWR Recomm Rep. 1991;40(RR-
           10):1-28.




General Best Practice Guidelines for Immunization: Vaccine Administration               109
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 112 of 197

   26.     Mast EE, Margolis HS, Fiore AE, et al. A comprehensive immunization
           strategy to eliminate transmission of hepatitis B virus infection in the United
           States: recommendations of the Advisory Committee on Immunization
           Practices (ACIP) part 1: immunization of infants, children, and adolescents.
           MMWR Recomm Rep. 2005;54(RR-16):1-31.
   27.     Hingson RA, Davis HS, Rosen M. Historical development of jet injection and
           envisioned uses in mass immunization and mass therapy based upon 2
           decades experience. Mil Med. 1963;128(6):516-524.
   28.     Weniger B, Papania M. Alternative vaccine delivery methods. In: Plotkin S,
           Orenstein W, Offit P, eds. Vaccines. 5th ed. China: Saunders/Elsevier;
           2008:1357-1392.
   29.     CDC. Hepatitis B associated with jet gun injection—California. MMWR Morb
           Mortal Wkly Rep. 1986;35(23):373-376.
   30.     Canter J, Mackey K, Good LS, et al. An outbreak of hepatitis B associated with
           jet injections in a weight reduction clinic. Arch Intern Med. 1990;150(9):1923-
           1927. DOI: 10.1001/archinte.1990.00390200105020
   31.     Hoffman PN, Abuknesha RA, Andrews NJ, Samuel D, Lloyd JS. A model to
           assess the infection potential of jet injectors used in mass immunisation.
           Vaccine. 2001;19(28-29):4020-4027. DOI: 10.1016/S0264-410X(01)00106-2
   32.     Kelly K, Loskutov A, Zehrung D, et al. Preventing contamination between
           injections with multiple-use nozzle needle-free injectors: a safety trial.
           Vaccine. 2008;26(10):1344-1352. DOI: 10.1016/j.vaccine.2007.12.041
   33.     Simonsen L, Kane A, Lloyd J, Zaffran M, Kane M. Unsafe injections in the
           developing world and transmission of bloodborne pathogens: a review. Bull
           World Health Organ. 1999;77(10):789-800.
   34.     Kane A, Lloyd J, Zaffran M, Simonsen L, Kane M. Transmission of hepatitis B,
           hepatitis C and human immunodeficiency viruses through unsafe injections in
           the developing world: model-based regional estimates. Bull World Health
           Organ. 1999;77(10):801-807.
   35.     Gray L, Watt L, Blass EM. Skin-to-skin contact is analgesic in healthy
           newborns. Pediatrics. 2000;105(1):e14. DOI: 10.1542/peds.105.1.e14




General Best Practice Guidelines for Immunization: Vaccine Administration               110
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 113 of 197

   36.     Gray L, Miller LW, Philipp BL, Blass EM. Breastfeeding is analgesic in healthy
           newborns. Pediatrics. 2002;109(4):590-593. DOI: 10.1542/peds.109.4.590
   37.     Harrington JW, Logan S, Harwell C, et al. Effective analgesia using physical
           interventions for infant immunizations. Pediatrics. 2012;129(5):815-822.
           DOI: 10.1542/peds.2011-1607
   38.     Taddio A, Nulman I, Goldbach M, Ipp M, Koren G. Use of lidocaine-prilocaine
           cream for vaccination pain in infants. J Pediatr. 1994;124(4):643-648. DOI:
           10.1016/S0022-3476(05)83150-6
   39.     Uhari M. A eutectic mixture of lidocaine and prilocaine for alleviating
           vaccination pain in infants. Pediatrics. 1993;92(5):719-721.
   40.     Halperin SA, McGrath P, Smith B, Houston T. Lidocaine-prilocaine patch
           decreases the pain associated with the subcutaneous administration of
           measles-mumps-rubella vaccine but does not adversely affect the antibody
           response. J Pediatr. 2000;136(6):789-794. DOI: 10.1016/S0022-
           3476(00)64169-0
   41.     Frayling IM, Addison GM, Chattergee K, Meakin G. Methaemoglobinaemia in
           children treated with prilocaine-lignocaine cream. BMJ. 1990;301(6744):153-
           154. DOI: 10.1136/bmj.301.6744.153
   42.     Reis EC, Holubkov R. Vapocoolant spray is equally effective as EMLA cream
           in reducing immunization pain in school-aged children. Pediatrics.
           1997;100(6):E5. DOI: 10.1542/peds.100.6.e5
   43.     American Academy of Pediatrics Steering Committee on Quality
           Improvement and Management, Subcommittee on Febrile Seizures. Febrile
           seizures: clinical practice guideline for the long-term management of the child
           with simple febrile seizures. Pediatrics. 2008;121(6):1281-1286. DOI:
           10.1542/peds.2008-0939
   44.     Cook IF, Murtagh J. Comparative immunogenicity of hepatitis B vaccine
           administered into the ventrogluteal area and anterolateral thigh in infants. J
           Paediatr Child Health. 2002;38(4):393-396. DOI: 10.1046/j.1440-
           1754.2002.00013.x




General Best Practice Guidelines for Immunization: Vaccine Administration              111
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 114 of 197

   45.     Redfield RR, Innis BL, Scott RM, Cannon HG, Bancroft WH. Clinical
           evaluation of low-dose intradermally administered hepatitis B virus vaccine. A
           cost reduction strategy. JAMA. 1985;254(22):3203-3206. DOI:
           10.1001/jama.1985.03360220069031
   46.     Coleman PJ, Shaw FE, Jr., Serovich J, Hadler SC, Margolis HS. Intradermal
           hepatitis B vaccination in a large hospital employee population. Vaccine.
           1991;9(10):723-727. DOI: 10.1016/0264-410X(91)90287-G
   47.     Fishbein DB, Sawyer LA, Reid-Sanden FL, Weir EH. Administration of
           human diploid-cell rabies vaccine in the gluteal area. N Engl J Med.
           1988;318(2):124-125. DOI: 10.1056/nejm198801143180219
   48.     CDC. Inadvertent misadministration of meningococcal conjugate vaccine—
           United States, June-August 2005. MMWR Morb Mortal Wkly Rep.
           2006;55(37):1016-1017.
   49.     Ragni MV, Lusher JM, Koerper MA, Manco-Johnson M, Krause DS. Safety
           and immunogenicity of subcutaneous hepatitis A vaccine in children with
           haemophilia. Haemophilia. 2000;6(2):98-103. DOI: 10.1046/j.1365-
           2516.2000.00386.x
   50.     Belshe RB, Newman FK, Cannon J, et al. Serum antibody responses after
           intradermal vaccination against influenza. N Engl J Med. 2004;351(22):2286-
           2294. DOI: 10.1056/NEJMoa043555




General Best Practice Guidelines for Immunization: Vaccine Administration              112
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 115 of 197




   7. Storage and Handling of Immunobiologics

Updates

Most of the 2011 language was removed because this content is now codified and
continually updated in the CDC’s Vaccine Storage and Handling Toolkit, available at
www.cdc.gov/vaccines/hcp/admin/storage/toolkit/index.html. This content included
Storage Units, Monitoring Storage Temperature, Vaccine Inventory, and Vaccine
Transport.


General Principles

Failure to adhere to recommended specifications for storage and handling of
immunobiologics can reduce or destroy their potency, resulting in inadequate or no
immune response in the recipient
(www.cdc.gov/vaccines/hcp/admin/storage/toolkit/index.html). Recommendations in
the product package inserts, including methods for reconstitution of the vaccine, should
be followed carefully. Maintenance of vaccine quality is the shared responsibility of all
handlers of vaccines from the time a vaccine is manufactured until administration. All
vaccines should be inspected on delivery and monitored during storage to ensure that
the recommended storage temperatures are maintained. Vaccines should continue to be
stored at recommended temperatures immediately upon receipt until use. Inadequate
vaccine storage also can result in significant costs to replace vaccine inventory
(www.cdc.gov/vaccines/hcp/admin/storage/toolkit/index.html).


Storage Temperature

Vaccines licensed for refrigerator storage should be stored at 2°C-8°C (36°F-46°F).
Liquid vaccines containing an aluminum adjuvant permanently lose potency when
exposed to freezing temperatures. Inactivated vaccines that are stored in a liquid state
(i.e., non-lyophilized [freeze-dried]) but that do not contain aluminum adjuvants should
also generally be kept at refrigerator temperature, although whether or not they lose


General Best Practice Guidelines for Immunization: Storage and Handling of Immunobiologics   113
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 116 of 197




potency when frozen is not known. Inactivated lyophilized vaccines generally do not
need to be frozen, but lyophilized varicella-containing vaccines that are recommended
to be stored frozen lose potency when exposed to higher temperatures because the
viruses degrade more quickly at storage temperatures that are warmer than
recommended (Table 7-1). These varicella-containing vaccines also can be prone to
losses in sterility if kept too cold, due to increased gas permeability of the rubber vaccine
vial (observed with use of dry ice at temperatures below -50°C or -58°F [personal
communication, manufacturer]).


Expiration Dates and Windows

All vaccines have an expiration date determined by the manufacturer that must be
observed. Providers should record the vaccine expiration dates and lot numbers on a
stock or inventory record for each vaccine vial when a shipment is received. When
vaccines are removed from storage, clinicians and other health-care providers should
note whether an expiration window exists for vaccine stored at room temperature or at
an intermediate temperature. For example, single-component varicella vaccine that is
stored frozen must be discarded after 72 hours of storage at refrigerator temperature.
Vaccine transport between the storage site and the administration clinic is discouraged
unless the cold chain is maintained, and vaccine transport by the patient (e.g.,
transporting zoster vaccine from a pharmacy to a clinic) is particularly discouraged. An
expiration window also applies to vaccines that have been reconstituted. For example,
after reconstitution, MMR vaccine should be kept at refrigerator temperature and must
be administered within 8 hours. Doses of expired vaccines that are administered
inadvertently generally should not be counted as valid and should be repeated.
Inactivated vaccines should generally be repeated as soon as possible. Live vaccines
should be repeated after a 28-day interval from the invalid dose to reduce the risk for
interference from interferon on the subsequent doses. Recombinant zoster vaccine
(RZV) is neither live nor inactivated: the repeat dose of RZV should be administered 28
days after the invalid dose, to reduce the burden of adverse reactions which occurs with
this vaccine. Additional information about expiration dates is available at
https://www.cdc.gov/vaccines/hcp/admin/storage/toolkit/index.html


General Best Practice Guidelines for Immunization: Storage and Handling of Immunobiologics   114
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 117 of 197




Response to Out-of-Range Temperature Reading

An out-of-range temperature reading should prompt immediate action. A plan should
be developed ahead of time to address various types of emergencies that might require
removal of vaccine from the original storage unit. Transfer of vaccines to a
predesignated alternative emergency storage site might be necessary if a temperature
problem cannot be resolved immediately (e.g., plugging in an unplugged unit or closing
a door that has been left open). It is critical to avoid freezing vaccine during transport
(improperly packing vaccine with ice can damage vaccines). Vaccine should be marked
“do not use” and moved to the alternate site after verifying that the alternate unit is at
the proper temperature. Determinations of vaccine viability in practice include
consideration of both time and magnitude of temperature excursions and should be
made in consultation with state/local public health departments or the vaccine
manufacturer, as one or both of these groups may have additional information based on
a broad international perspective. Damage to the immunogenicity of a vaccine exposed
to temperatures outside of the recommended range might not be apparent visually. As a
general rule, vaccines that have been stored at inappropriate temperatures should not
be administered unless public health authorities or the manufacturer determine it is safe
and effective to do so. If such vaccines already have been administered, vaccine exposed
to inappropriate temperatures that is inadvertently administered should generally be
repeated. Inactivated vaccines should generally be repeated as soon as possible. Live
vaccines should be repeated after a 28-day interval from the invalid dose to reduce the
risk for interference from interferon on the subsequent doses. Recombinant zoster
vaccine (RZV) is neither live nor inactivated: the repeat dose of RZV should be
administered 28 days after the invalid dose, to reduce the burden of adverse reactions
which occurs with this vaccine. Clinicians should consult promptly with state or local
health departments in these situations. Consultation with CDC is available when
necessary.




General Best Practice Guidelines for Immunization: Storage and Handling of Immunobiologics   115
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 118 of 197




TABLE 7-1. Vaccine storage temperature recommendations

Nonlyophilized, aluminum-adjuvanted vaccines

  Vaccines                  Vaccine storage              Diluent storage temperature
                            temperature

 Diphtheria-tetanus-        2°C-8°C (36°F-46°F)          No diluent(a)
containing vaccines         Do not freeze
(DT, Td) or pertussis-
containing vaccines
(DTaP, Tdap)

  HepA and HepB             2°C-8°C (36°F-46°F)          No diluent
                            Do not freeze

  MenB(b)                   2°C-8°C (36°F-46°F)          No diluent
                            Do not freeze

  PCV13                     2°C-8°C (36°F-46°F)          No diluent
                            Do not freeze

  HPV(b)                    2°C-8°C (36°F-46°F)          No diluent
                            Do not freeze

Nonlyophilized, nonaluminum-adjuvanted vaccines

  Vaccines                  Vaccine storage              Diluent storage temperature
                            temperature

  PRP-OMP Hib               2°C-8°C (36°F-46°F)          No diluent

  IPV(b)                    2°C-8°C (36°F-46°F)          No diluent

  MenACWY(b),(c)            2°C-8°C (36°F-46°F)          No diluent

  PPSV                      2°C-8°C (36°F-46°F)          No diluent

  IIV(b)                    2°C-8°C (36°F-46°F)          No diluent

  RZV(b)                    2°C-8°C (36°F-46°F)          2°C-8°C (36°F-46°F)
                            Do not freeze                Do not freeze




General Best Practice Guidelines for Immunization: Storage and Handling of Immunobiologics   116
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 119 of 197




Lyophilized (non-varicella) vaccines

  Vaccines                      Vaccine storage                   Diluent storage temperature
                                temperature

  PRP-T Hib(b)                  2°C-8°C (36°F-46°F) (d) 2°C-8°C (36°F-46°F) Do not freeze


  MMR(b)                        2°C-8°C (36°F-46°F) d) 2°C-25°C (35°F-77°F)
                                                       Can be refrigerated or stored at
                                                       room temperature

Varicella-containing vaccines

  Vaccines                      Vaccine storage                   Diluent storage temperature
                                temperature

  MMRV(b)                       -50°C to -15°C (-58°F-            2°C-25°C (35°F-77°F)
                                5°F)                              Can be refrigerated or stored at
                                                                  room temperature

  Varicella(b)                  -50°C to -15°C (-58°F-            2°C-25°C (35°F-77°F)
                                5°F)                              Can be refrigerated or stored at
                                                                  room temperature

  Herpes zoster(b)              -50°C to -15°C (-58°F-            2°C-25°C (35°F-77°F)
                                5°F)                              Can be refrigerated or stored at
                                                                  room temperature

Noninjectable vaccines

  Vaccines                      Vaccine storage                   Diluent storage temperature
                                temperature

  RV5 vaccine(b)                2°C-8°C (36°F-46°F)               No diluent
                                Do not freeze

  RV1 vaccine(b)                2°C-8°C (36°F-46°F)               The diluent may be stored at a
                                Do not freeze                     controlled room temperature 20°C-
                                                                  25°C (68°F-77°F).
                                                                  Do not freeze

  LAIV(b)                       2°C-8°C (36°F-46°F)               No diluent
Abbreviations: DT = diphtheria and tetanus toxoids; DTaP = diphtheria and tetanus toxoids and acellular
pertussis; HepA = hepatitis A; HepB = hepatitis B; Hib = Haemophilus influenzae type b; HPV = human
papillomavirus; IIV = inactivated influenza vaccine; IPV = inactivated poliovirus; LAIV = live, attenuated influenza
vaccine; MenACWY = quadrivalent meningococcal conjugate vaccine; MenB = Serogroup B meningococcal vaccine;
MMR = measles, mumps, and rubella; MMRV = measles, mumps, rubella, and varicella; MPSV4 = quadrivalent



General Best Practice Guidelines for Immunization: Storage and Handling of Immunobiologics                       117
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 120 of 197



meningococcal polysaccharide vaccine; PCV13 = pneumococcal conjugate vaccine; PPSV23= pneumococcal
polysaccharide vaccine; PRP-OMP = polyribosylribitol phosphate-meningococcal outer membrane protein
conjugate; PRP-T = polyribosylribitol phosphate polysaccharide conjugated to a tetanus toxoid; PRP-T Hib =
polyribosylphosphate tetanus-toxoid conjugate Hib vaccine; PRP-T Hib-MenCY = polyribosylphosphate-tetanus-
toxoid Hib vaccine with a bivalent Meningococcal vaccine; RV = rotavirus; RV1 = live, attenuated monovalent
rotavirus vaccine; RV5 = live, reassortment pentavalent rotavirus vaccine; Td = tetanus and diphtheria toxoids;
Tdap = tetanus toxoid, reduced diphtheria toxoid, and acellular pertussis.
Sources: (1,2).
(a) DTaP-Daptacel is sometimes used as a diluent for ActHib.

(b) Protect from light.

(c) There are 2 meningococcal conjugate vaccines; Menactra is nonlyophilized, and Menveo is lyophilized. Both

powder and diluent should be stored at 35°F-46°F.
(d) The lyophilized pellet may be stored at freezer temperature; the reconstituted vaccine should be stored at

refrigerator temperature.




REFERENCES
   1.        Kroger A, Atkinson W, Pickering L. General immunization practices. In:
             Plotkin S, Orenstein W, Offit P, eds. Vaccines. 6th ed. China: Elsevier
             Saunders; 2013:88-111.
   2.        CDC. Guidelines for maintaining and managing the vaccine cold chain.
             MMWR Morb Mortal Wkly Rep. 2003;52(42):1023-1025.




General Best Practice Guidelines for Immunization: Storage and Handling of Immunobiologics                       118
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 121 of 197




                 8. Altered Immunocompetence

Updates

This section incorporates general content from the Infectious Diseases Society of
America policy statement, 2013 IDSA Clinical Practice Guideline for Vaccination of the
Immunocompromised Host (1), to which CDC provided input in November 2011. The
evidence supporting this guidance is based on expert opinion and arrived at by
consensus.


General Principles

Altered immunocompetence, a term often used synonymously with
immunosuppression, immunodeficiency, and immunocompromise, can be classified as
primary or secondary. Primary immunodeficiencies generally are inherited and include
conditions defined by an inherent absence or quantitative deficiency of cellular,
humoral, or both components that provide immunity. Examples include congenital
immunodeficiency diseases such as X-linked agammaglobulinemia, SCID, and chronic
granulomatous disease. Secondary immunodeficiency is acquired and is defined by loss
or qualitative deficiency in cellular or humoral immune components that occurs as a
result of a disease process or its therapy. Examples of secondary immunodeficiency
include HIV infection, hematopoietic malignancies, treatment with radiation, and
treatment with immunosuppressive drugs. The degree to which immunosuppressive
drugs cause clinically significant immunodeficiency generally is dose related and varies
by drug. Primary and secondary immunodeficiencies might include a combination of
deficits in both cellular and humoral immunity. Certain conditions like asplenia and
chronic renal disease also can cause altered immunocompetence.

Determination of altered immunocompetence is important to the vaccine provider
because incidence or severity of some vaccine-preventable diseases is higher in persons
with altered immunocompetence; therefore, certain vaccines (e.g., inactivated influenza
vaccine, pneumococcal vaccines) are recommended specifically for persons with these


General Best Practice Guidelines for Immunization: Altered Immunocompetence            119
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 122 of 197




diseases (2,3). Administration of live vaccines might need to be deferred until immune
function has improved. This is primarily a safety concern, because persons who have
altered immunocompetence and receive live vaccines might be at increased risk for an
adverse reaction because of uninhibited growth of the attenuated live virus or bacteria.
Vaccines might be less effective during the period of altered immunocompetence.
Inactivated vaccines might best be deferred during a period of altered
immunocompetence; in this circumstance, the concern is with effectiveness and not
safety. Additionally, if an inactivated vaccine is administered during the period of
altered immunocompetence, it might need to be repeated after immune function has
improved.

The degree of altered immunocompetence in a patient should be determined by a
physician. The challenge for clinicians and other health-care providers is assessing the
safety and effectiveness of vaccines for conditions associated with primary or secondary
immunodeficiency, especially when new therapeutic modalities are being used and
information about the safety and effectiveness of vaccines has not been characterized
fully in persons receiving these drugs (Table 8-1). Laboratory studies can be useful for
assessing the effects of a disease or drug on the immune system. Tests useful to assess
humoral immunity include immunoglobulin (and immunoglobulin subset) levels and
specific antibody levels (e.g., tetanus and diphtheria). Tests that demonstrate the status
of cellular immunity include lymphocyte numbers (i.e., a complete blood count with
differential), a test that delineates concentrations and proportions of lymphocyte
subsets (i.e., B and T lymphocytes, CD4+ B lymphocytes versus CD8+ T lymphocytes),
and tests that measure T-cell proliferation or function in response to specific or
nonspecific stimuli (e.g., lymphocyte proliferation assays) (4,5). The ability to
characterize a drug or disease condition as affecting cellular or humoral immunity is
only the first step; using this information to draw inferences about whether particular
vaccines are indicated or whether caution is advised with use of live or inactivated
vaccines is more complicated and might require consultation with an infectious diseases
or immunology specialist.




General Best Practice Guidelines for Immunization: Altered Immunocompetence             120
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 123 of 197




Altered Immunocompetence as an Indication to Receive a
Vaccine Outside of Routinely Recommended Age Groups

This section describes situations in which vaccines are recommended outside of the
routine-age-based recommendation because the risk for vaccine-preventable disease is
increased due to altered immunocompetence. Persons with altered immunocompetence
generally are recommended to receive polysaccharide-based vaccines (PCV13, PPSV23,
and Hib), on the basis of increased risk for disease if the vaccine is withheld. For certain
specific categories of altered immunocompetence, patients are also recommended to
receive polysaccharide based vaccines (MenACWY, Hib-MenCY, and MPSV4).


Pneumococcal Vaccines

Two types of vaccine against invasive pneumococcal disease are available in the United
States: PCV13 and PPSV23. PCV13 is recommended routinely for all children beginning
at age 2 months through age 59 months and for adults aged 65 years or older. PCV13 is
also recommended for children, adolescents, and adults with conditions that place them
at high risk for invasive disease from Streptococcus pneumoniae. PCV13 is
recommended for persons aged 6-64 years who have not previously received PCV13 and
have congenital immunodeficiency disorders (including B- or T-lymphocyte deficiency,
complement deficiencies, and phagocytic disorders), anatomic or functional asplenia
(including sickle cell disease and other hemoglobinopathies), HIV infection, cochlear
implant, cerebrospinal fluid leak, chronic renal failure, nephrotic syndrome, iatrogenic
immunosuppression, or other immunocompromising conditions.

PPSV23 is licensed for use in persons aged ≥2 years and recommended routinely for
adults aged 65 years and older. PPSV23 is also recommended for persons age 2 through
64 years with congenital immunodeficiency disorders, anatomical and functional
asplenia, HIV infection, cochlear implant, cerebrospinal fluid leak, and iatrogenic
immunosuppression. Complete recommendations on use of PCV13 and PPSV23 are
available in the Recommended Immunization Schedules for Persons Aged 0 Through 18
Years and the Recommended Adult Immunization Schedule (2,6).


General Best Practice Guidelines for Immunization: Altered Immunocompetence              121
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 124 of 197




Meningococcal Vaccines

Three types of meningococcal vaccines are licensed in the United States: meningococcal
conjugate (MenACWY and Hib-MenCY), meningococcal polysaccharide (MPSV4), and
serogroup B meningococcal (MenB) vaccines. Persons with functional or anatomic
asplenia (including sickle cell disease) and persistent complement component deficiency
(including persons taking eculizumab [Soliris]) (7) are at increased risk for
meningococcal disease and should receive both MenACWY and MenB vaccines. For
children 2 months through 23 months of age, an age-appropriate series of
meningococcal conjugate vaccine should be administered. If MenACWY-D (Menactra) is
administered to a child with asplenia, it should be after 2 years of age and at least 4
weeks after the completion of all PCV13 doses. A 2-dose primary series of either
MenACWY-CRM (Menveo) or MenACWY-D (Menactra) should be administered to
persons 2 years of age or older with asplenia or complement deficiency. Following the
primary series of vaccine, a 3-year interval to the next dose is recommended for persons
who received their previous dose at younger than 7 years. A 5-year interval is
recommended for persons who received their previous dose at age 7 years or older.
Although MPSV4 is the only meningococcal vaccine licensed for persons older than 55
years of age, adults 56 years and older with asplenia or complement deficiency should be
vaccinated with MenACWY-CRM or MenACWY-D rather than MPSV4 (8).
Meningococcal serogroup B vaccines are licensed for persons 10-25 years of age and are
recommended for persons 10 years of age or older for persons with high-risk conditions
like functional or anatomic asplenia or persistent complement component deficiency.
There are presently no recommendations for booster doses of either MenB vaccine
(9,10). Complete recommendations for use of meningococcal vaccines are available in
the Recommended Immunization Schedules for Persons Aged 0 Through 18 Years and
the Recommended Adult Schedule (2,6).


Hib Vaccines

Hib conjugate vaccines are available in single or combined antigen preparations. Hib
vaccine is recommended routinely for all children through age 59 months. Children 12


General Best Practice Guidelines for Immunization: Altered Immunocompetence               122
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 125 of 197




through 59 months who are at high risk for invasive Hib disease (i.e., recipients of
chemotherapy or radiation for malignant neoplasms, or those with functional or
anatomic asplenia, HIV infection, immunoglobulin deficiency, or early complement
component deficiency) and who are unvaccinated or received only one dose of Hib
vaccine before 12 months of age should receive 2 additional doses of Hib vaccine; those
who received 2 or more doses of Hib before 12 months of age should receive one
additional dose. A child younger than 5 years of age receiving chemotherapy or radiation
therapy should have Hib doses repeated if the doses were received during therapy or
within 14 days of starting therapy; repeat doses should be started at least 3 months after
completion of therapy. Recipients of hematopoietic cell transplants should be
revaccinated with 3 doses of Hib vaccine, starting 6-12 months after successful
transplant, regardless of vaccination history or age. Children 5-18 years of age with HIV
who are unimmunized(a) should receive a dose of Hib vaccine; Hib vaccination is not
recommended in HIV-infected adults. Unimmunized(a) asplenic patients older than 59
months of age or adults should receive a dose of Hib vaccine. Anyone 15 months of age
or older who is undergoing a splenectomy and is unimmunized(a) should receive a dose
of Hib vaccine (11). Complete recommendations for use of Hib vaccine are available in
the Recommended Immunization Schedules for Persons Aged 0 Through 18 Years and
the Recommended Adult Immunization Schedule (2,6).


Vaccination of Contacts of Persons with Altered
Immunocompetence

Household contacts and other close contacts of persons with altered
immunocompetence should receive all age- and exposure-appropriate vaccines, with the
exception of smallpox vaccine (12,13). Receipt of vaccines will prevent the vaccine-
preventable disease, so there can be no potential transmission to the contact with altered
immunocompetence. The live MMR, varicella, and rotavirus vaccines should be
administered to susceptible household contacts and other close contacts of
immunocompromised patients when indicated. Zoster vaccine can be administered




General Best Practice Guidelines for Immunization: Altered Immunocompetence            123
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 126 of 197




when indicated. MMR vaccine viruses are not transmitted to contacts, and transmission
of varicella-zoster virus vaccine strain is rare (14,15). No specific precautions are needed
unless the varicella vaccine recipient has a rash after vaccination, in which case direct
contact with susceptible household contacts with altered immunocompetence should be
avoided until the rash resolves (14,15). All members of the household should wash their
hands after changing the diaper of an infant who received rotavirus vaccine. This
minimizes rotavirus transmission, as shedding may occur up to one month after the last
dose (16,17). Household and other close contacts of persons with altered
immunocompetence should receive annual influenza vaccination. Introduction of low
levels of vaccine viruses into the environment likely is unavoidable when administering
LAIV. LAIV vaccine viruses are cold-adapted, so they can replicate in the nose and
generate an immune response without entering the lungs (i.e., they are temperature
sensitive and replicate poorly at core body temperatures). No instances have been
reported of illness caused by attenuated vaccine virus infections among health-care
providers or immunocompromised patients. LAIV may be administered to healthy
household and other close contacts of persons with altered immunocompetence unless
the person with altered immunocompetence is in a protective environment, typically
defined as a specialized patient-care area with a positive airflow relative to the corridor,
high-efficiency particulate air filtration, and frequent air changes (3). No preference
exists for inactivated influenza vaccine use by health-care workers or other persons who
have close contact with persons with lesser degrees of immunosuppression (e.g.,
persons with diabetes, persons with asthma taking high-dose corticosteroids, or persons
infected with HIV), and no preference exists for inactivated influenza vaccine use by
health-care workers or other healthy persons aged 5-49 years in close contact with all
other groups at high risk.


Inactivated Vaccines: Safety

All inactivated vaccines can be administered safely to persons with altered
immunocompetence, whether the vaccine is a killed whole-organism or a recombinant,
subunit, split-virus, toxoid, polysaccharide, or polysaccharide protein-conjugate vaccine.




General Best Practice Guidelines for Immunization: Altered Immunocompetence                 124
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 127 of 197




Inactivated Vaccines: Effectiveness

Except for inactivated influenza vaccine, vaccination during chemotherapy or radiation
therapy should be avoided if possible because antibody response might be suboptimal.
Patients vaccinated within a 14-day period before starting immunosuppressive therapy
or while receiving immunosuppressive therapy should be considered unimmunized and
should be revaccinated at least 3 months after therapy is discontinued if immune
competence has been restored. Patients who have quantitative B-cell deficiencies and
are receiving immunoglobulin therapy should not receive either inactivated or live
vaccines while receiving the immunoglobulin therapy because of concerns about
effectiveness of the vaccines. Patients on chemotherapy with anti-B cell antibodies (e.g.,
rituximab) should wait at least 6 months after therapy before being vaccinated with
inactivated vaccines. Some experts recommended longer than 6 months for some anti-B
cell antibodies. For other forms of altered immunocompetence, if inactivated vaccines
are indicated, the usual schedules are recommended. However, the effectiveness of such
vaccinations might be suboptimal (1).


Live, Attenuated Viral and Bacterial Vaccines: Effectiveness

The same rationale regarding effectiveness that exists with inactivated vaccines also
exists with live vaccines.


Live, Attenuated Viral and Bacterial Vaccines: Safety

Severe complications have followed vaccination with certain live, attenuated viral and
live, attenuated bacterial vaccines among persons with altered immunocompetence (18-
26). Persons with most forms of altered immunocompetence should not receive live
vaccines (MMR, varicella, MMRV, LAIV, zoster, yellow fever, Ty21a oral typhoid, BCG,
smallpox, and rotavirus). However, exceptions exist, and are discussed in this section.

Patients with any defect in phagocytic function (e.g., chronic granulomatous disease,
leukocyte adhesion deficiency, myeloperoxidase deficiency, Chediak-Higashi syndrome)



General Best Practice Guidelines for Immunization: Altered Immunocompetence             125
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 128 of 197




should NOT receive live bacterial vaccines. Patients with a specific type of defect in
phagocytic function—chronic granulomatous disease—should receive otherwise
indicated live attenuated viral vaccines in addition to inactivated vaccines but should
NOT receive live bacterial vaccines. Patients with defects in phagocytic function that are
undefined or known to be accompanied by defects in T-cell and natural killer cell
function (e.g., leukocyte adhesion deficiency, myeloperoxidase deficiency, Chediak-
Higashi syndrome) should NOT receive live attenuated viral or bacterial vaccines. These
conditions include specific deficits in T-cell and natural killer cell function, reducing the
response to live viral vaccine antigens to an extent not seen in chronic granulomatous
disease (1). Children with deficiencies in complement should receive otherwise indicated
live, attenuated viral and live, attenuated bacterial vaccines. Children with asplenia
should not receive LAIV, but can receive other indicated live, attenuated viral and live,
attenuated bacterial vaccines.

Persons with severe cell-mediated immunodeficiency should not receive live, attenuated
viral or bacterial vaccines. Patients with defects of the interferon-gamma/interleukin-12
axis should not receive live bacterial vaccines. Patients with deficiencies of interferon-
gamma or interferon-alpha should not receive live viral or live bacterial vaccine. These
defects involve a deficiency in cytokine production which affects the immune response
to a wide scope of antigens, both bacterial and viral (1). Two factors support vaccination
of HIV-exposed or HIV-infected infants with rotavirus vaccines: 1) the HIV diagnosis
might not be established in infants born to HIV-infected mothers before the age of the
first rotavirus vaccine dose (only 1.5%-3% of HIV-exposed infants in the United States
will be determined to be HIV-infected), and 2) the vaccine strains of rotavirus are
considerably attenuated. Patients taking exogenous interferon as therapy should not
receive live bacterial or live viral vaccines.

Children with HIV infection are at increased risk for complications from varicella and
herpes zoster infection compared with immunocompetent children (27,28). Limited
data among HIV-infected children younger than 8 years (specifically, those individuals
with CDC class N, A, or B with age-specific CD4+ T-lymphocyte percentages of ≥15%)
indicate that single-component varicella vaccine is immunogenic, effective, and safe



General Best Practice Guidelines for Immunization: Altered Immunocompetence               126
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 129 of 197




(14,28). Data on use of varicella vaccine in HIV-infected adolescents and adults are
lacking. However, on the basis of expert opinion, the safety of varicella vaccine in HIV-
infected persons older than 8 years with comparable levels of immune function
(CD4+T-lymphocyte count greater than 200 cells/mm3) is likely to be similar to that of
children aged younger than 8 years (14). Varicella vaccine should be considered for
persons who meet these criteria. Eligible HIV-infected persons 12 months of age or
older should receive 2 doses of single-component varicella vaccine with a 3-month
interval between doses (14,28). Doses separated by <3 months are invalid for persons
with HIV infection. MMRV vaccine should not be administered to any HIV-infected
person.

Persons with HIV infection are at increased risk for severe complications if infected with
measles. No severe or unusual adverse events have been reported after measles
vaccination among HIV-infected persons who did not have evidence of severe
immunosuppression (29-32). Two doses of MMR vaccine are recommended for all HIV-
infected individuals aged ≥12 months who do not have evidence of current severe
immunosuppression (i.e., individuals aged ≤5 years must have CD4+T lymphocyte
[CD4+] percentages ≥15% for ≥6 months, and individuals aged >5 years must have
CD4+percentages ≥15% and CD4+≥200 lymphocytes/mm3 for ≥6 months) and do not
have current evidence of measles, rubella, and mumps immunity. In cases when only
CD4+cell counts or only CD4+percentages are available for those >5 years, the
assessment of severe immunosuppression can be based on the CD4+values (count or
percentage) that are available. In cases when CD4+percentages are not available for
those aged ≤5 years, the assessment of severe immunosuppression can be based on age-
specific CD4+counts at the time CD4+counts were measured; i.e., absence of severe
immunosuppression is defined as ≥6 months above age-specific CD4+count criteria:
CD4+count >750 lymphocytes/mm3 while aged ≤12 months and CD4+count ≥500
lymphocytes/mm3 while aged 1 through 5 years (33). Similarly, repeat doses of MMR
vaccination are recommended for individuals with perinatal HIV infection who were
vaccinated prior to establishment of effective combination antiretroviral therapy
(cART). They should receive 2 appropriately spaced doses of MMR vaccine once
effective cART has been established (individuals aged ≤5 years must have


General Best Practice Guidelines for Immunization: Altered Immunocompetence            127
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 130 of 197




CD4+percentages ≥15% for ≥6 months; individuals aged >5 years must have
CD4+percentages ≥15% and CD4+≥200 lymphocytes/mm3 for ≥6 months) unless they
have other acceptable current evidence of measles, rubella, and mumps immunity.

HIV-infected persons who are receiving regular doses of IGIV are unlikely to respond to
varicella vaccine or MMR vaccine because of the continued presence of passively
acquired antibody. However, because of the potential benefit, MMR and varicella
vaccines should be considered approximately 14 days before the next scheduled dose of
IGIV (if not otherwise contraindicated), although an optimal immune response might
not occur depending on the presence of neutralizing antibodies against the vaccine
virus. Vaccination should be repeated (if not otherwise contraindicated) after the
recommended interval (see Table 3-5 in the Timing and Spacing of Immunobiologics of
this document). In most cases, this is after the therapy has been discontinued.

Patients with leukemia, lymphoma, or other malignancies whose disease is in remission,
who have restored immunocompetence, and whose chemotherapy has been
discontinued for at least 3 months can receive live-virus vaccines. Persons with impaired
humoral immunity (e.g., hypogammaglobulinemia or dysgammaglobulinemia) may be
vaccinated with varicella vaccine (14). However, most persons with these disorders also
receive periodic doses of IGIV. Appropriate spacing should be maintained between
administration of IGIV and varicella vaccine in an attempt to prevent an inadequate
response to vaccination caused by the presence of neutralizing antibodies from the IGIV.

Zoster incidence is higher in persons with altered immunocompetence (34). Adults with
most types of altered immunocompetence are expected to maintain residual immunity
to varicella-zoster virus because of chronic latent infection that protects against primary
varicella but provides incomplete protection against zoster. Zoster vaccine is
contraindicated in persons with primary or acquired immunodeficiency (e.g.,
lymphoma, leukemia, tumors involving bone marrow, and patients receiving
chemotherapy) and some HIV infected patients (34). Zoster vaccine may be
administered to certain persons age 60 or older with altered immunocompetence, such
as persons receiving low dosages of immunosuppressive medications, those with



General Best Practice Guidelines for Immunization: Altered Immunocompetence             128
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 131 of 197




isolated B-cell deficiencies (i.e., impaired humoral immunity), or those with HIV
infection who have CD4+ T-lymphocyte counts >200 cells/mm3.


Recipients of Hematopoietic Cell Transplants

A hematopoietic cell transplant (HCT) results in immunosuppression because of the
hematopoietic ablative therapy administered before the transplant, drugs used to
prevent or treat graft-versus-host disease, and, in some cases, from the underlying
disease process necessitating transplantation (35-37). HCT involves ablation of the bone
marrow followed by reimplantation of the person’s own stem cells or stem cells from a
donor. Antibody titers to vaccine-preventable diseases (e.g., tetanus, poliovirus,
measles, mumps, rubella, and encapsulated bacteria) decrease 1-4 years after autologous
or allogeneic HCT if the recipient is not revaccinated. HCT recipients of all ages are at
increased risk for certain vaccine-preventable diseases, including diseases caused by
encapsulated bacteria (i.e., pneumococcal, meningococcal, and Hib infections). As a
result, HCT recipients who received vaccines prior to their HCT should be revaccinated
routinely after HCT, regardless of the source of the transplanted stem cells (35-37).
Vaccination or revaccination doses of pneumococcal vaccines, DTaP vaccine, Hib
vaccine, hepatitis A vaccine, hepatitis B vaccine, meningococcal vaccines, IPV,
inactivated influenza vaccines, and human papillomavirus (HPV) vaccines (for
individuals aged 9-26 years) are recommended after HCT (1,35). Varicella, zoster, and
MMR vaccines may be administered after HCT if 24 months have passed since HCT, the
patient does NOT have graft-vs-host disease, and is considered immunocompetent.
Yellow fever vaccine, rabies vaccine, tick-borne encephalitis vaccine, and Japanese
encephalitis vaccine are not routinely administered vaccines, so their use post-HCT will
be driven by a disease-specific risk such as exposure or travel. If someone has received
yellow fever vaccine prior to an HCT, another dose should be administered post-HCT
(38). BCG, LAIV, typhoid vaccine, and rotavirus vaccine are not recommended after
HCT. Most inactivated vaccines should be initiated 6 months after the HCT (37).
Inactivated influenza vaccine should be administered beginning at least 6 months after
HCT and annually thereafter for the life of the patient. A dose of inactivated influenza
vaccine can be given as early as 4 months after HCT, but a second dose should be


General Best Practice Guidelines for Immunization: Altered Immunocompetence                129
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 132 of 197




considered in this situation (37). A second dose is recommended routinely for all
children younger than 9 years receiving influenza vaccine for the first time. Sequential
administration of 3 doses of pneumococcal conjugate vaccine is recommended,
beginning 3-6 months after the transplant, followed by a dose of PPSV23 (35). Some
sources state a 4-week interval between these doses as reasonable with the dose of
PPSV23 being replaced by a dose of PCV13 in the context of graft-versus-host disease
(35). Others sources support 3 doses of PCV13 at 8-week intervals, with a dose of
PPSV23 recommended 8 weeks after the last dose of PCV13 and 12 months after the
HCT (1). A 3-dose regimen of Hib vaccine should be administered beginning 6 months
after transplant; at least 1 month should separate the doses (37). This series should be
given regardless of whether or not vaccine doses were administered prior to the HCT.
The revaccination schedule for pertussis-containing vaccines includes 3 doses of DTaP
for patients <7 years (14). For patients ≥7 years, providers have 3 options for
revaccination: 1) 3 doses of DTaP; 2) one dose of Tdap and 2 doses of DT; or 3) one dose
of Tdap and 2 doses of Td (1).

Providers need to make a clinical judgment whether they will follow the revaccination
schedule described above, even if doses were not administered prior to the HCT. There
are specific recommendations for Hib and pertussis-containing vaccines. Use of the 3-
dose Hib schedule following HCT is supported for both patients that received Hib prior
to HCT and those who did not receive Hib prior to HCT (6,11). For children >6 years
who did not receive previous doses of pertussis-containing vaccine prior to the HCT, the
preferred schedule following HCT is a dose of Tdap followed by 2 doses of Td (personal
communication, subject matter experts). This is identical to one of the alternative
regimens for revaccination doses, described above.


Conditions or Drugs that Might Cause Immunodeficiencies

Asplenia and use of corticosteroids or certain drugs have the potential to be
immunosuppressive and are presumed to cause some degree of altered
immunocompetence.




General Best Practice Guidelines for Immunization: Altered Immunocompetence            130
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 133 of 197




Anatomic or Functional Asplenia

Persons with anatomic asplenia (e.g., surgical removal or congenital absence of the
spleen) or functional asplenia (as occurs in persons with sickle cell disease) are at
increased risk for infection by encapsulated bacteria, especially S. pneumoniae
(pneumococcus), N. meningitidis (meningococcus), and Hib (7,8,39). Children should
receive an age-appropriate series of PCV13. Unvaccinated children 2-5 years should
receive 2 doses of PCV13. Children ≥6 years should receive a dose of PCV13 if they have
not previously received a dose of PCV13. Persons aged ≥2 years should receive 2 doses of
PPSV23 separated by 5 years, beginning 8 or more weeks after completing all
recommended doses of PCV13 (6,7,40,41). In circumstances where both PCV13 and
PPSV23 are indicated, doses of PCV13 should be administered first followed by PPSV23
8 weeks after the last dose of PCV13.

Meningococcal conjugate (MenACWY) and serogroup B (MenB) vaccines are
recommended for persons with anatomic or functional asplenia (including sickle cell
disease). For children 2-23 months of age, a series of MenACWY-CRM (Menveo) or Hib-
MenCY (MenHibrix) should be administered. For persons ≥2 years of age, a 2-dose
primary series of either MenACWY-CRM or MenACWY-D (Menactra) should be
administered. If a person with functional or anatomic asplenia is catching up on
pneumococcal conjugate vaccine (PCV13), and the provider only carries MenACWY-D,
indicated doses of PCV13 should be completed first and MenACWY-D should be given 4
weeks after the PCV13 series is completed. Following the primary series of vaccine, a 3-
year interval to the next dose is recommended for asplenic children who received their
last previous dose at age younger than 7 years. A 5-year interval for asplenic persons is
recommended for persons who received their last previous dose at age 7 years or older.
Meningococcal B (MenB) vaccine should be administered as either a 2-dose series of
MenB-4C (Bexsero) or a 3-dose series of MenB-FHbp (Trumenba). The same vaccine
product must be used for all doses. Based on available data and expert opinion, MenB-
4C or MenB-FHbp may be administered concomitantly with MenACWY vaccines, but at
a different anatomic site, if feasible. There are presently no recommendations for
booster doses of either MenB vaccine.


General Best Practice Guidelines for Immunization: Altered Immunocompetence             131
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 134 of 197




Hib vaccine is recommended routinely for all children through age 59 months. Children
12-59 months with functional or anatomic asplenia and who are unvaccinated or who
received only one dose of Hib disease before 12 months of age should receive 2 doses of
Hib vaccine; those who received 2 or more doses of Hib before 12 months of age should
receive one additional dose. Unimmunized(a) asplenic patients older than 59 months of
age should receive one dose of Hib vaccine. Anyone ≥15 months of age who is
undergoing a splenectomy and is unimmunized(a) should receive one dose of Hib
vaccine.

Pneumococcal, meningococcal, and Hib vaccinations should be administered at least 14
days before elective splenectomy, if possible. If the vaccinations are not administered
before surgery, they should be administered after the procedure as soon as the patient’s
condition is stable.


Corticosteroids

The amount of systemically absorbed corticosteroids and the duration of administration
needed to suppress the immune system of an otherwise immunocompetent person are
not well defined. Although the immunosuppressive effects of steroid treatment vary, the
majority of clinicians consider a dose equivalent to either ≥2 mg/kg of body weight or
≥20 mg/day of prednisone or equivalent for persons who weigh >10 kg when
administered for ≥14 consecutive days as sufficiently immunosuppressive to raise
concern about the safety of vaccination with live-virus vaccines (37). This dosage is
referred to as “high-dose corticosteroids”. Corticosteroids used in greater than
physiologic doses also can reduce the immune response to vaccines. Vaccination
providers should defer live-virus vaccination for at least 1 month after discontinuation
of high-dose systemically absorbed corticosteroid therapy administered for ≥14 days.
Following vaccination, the decision needs to be made when to restart
immunosuppressive therapy. There are no specific recommendations about when to
restart immunosuppressive medicines. However, when initiating immunosuppressive
therapy, providers should wait 4 weeks after a live vaccine and 2 weeks after an
inactivated vaccine. However, if patients require therapy for chronic inflammatory


General Best Practice Guidelines for Immunization: Altered Immunocompetence               132
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 135 of 197




conditions, this therapy should not be delayed because of past administration of
vaccines (1).

Corticosteroid therapy usually is not a contraindication to administering live-virus
vaccine when administration is 1) short term (i.e., <14 days); 2) a low to moderate dose
(i.e., <20 mg of prednisone or equivalent per day or <2mg/kg body weight per day for a
young child); 3) long-term, alternate-day treatment with short-acting preparations; 4)
maintenance physiologic doses (replacement therapy); or 5) topical (skin or eyes),
inhaled, or by intra-articular, bursal, or tendon injection (37). No evidence of an
increased risk for more severe reactions to live, attenuated viral vaccines has been
reported among persons receiving corticosteroid therapy by aerosol, and such therapy is
not a reason to delay vaccination.


Other Immunosuppressive Drugs

When feasible, clinicians should administer all indicated vaccines before initiation of
chemotherapy, before treatment with other immunosuppressive drugs, and before
radiation or splenectomy. Persons receiving chemotherapy or radiation for leukemia
and other hematopoietic malignancies, or for solid tumors, should be assumed to have
altered immunocompetence. Live, attenuated vaccines should not be administered for at
least 3 months after such immunosuppressive therapy. Inactivated vaccines
administered during chemotherapy should be readministered after immune competence
is regained. Children vaccinated before receiving chemotherapy for leukemia,
lymphoma, other malignancies, or radiation generally are thought to retain immune
memory after treatment, although revaccination with the common childhood vaccines
after chemotherapy for acute lymphoblastic leukemia might be indicated (42). In
general, revaccination of a person after chemotherapy or radiation therapy is considered
unnecessary if the previous vaccination occurred before therapy and not during therapy,
with the exception of recipients of HCT, who should be revaccinated as recommended
previously. Determination of the level of immune memory and the need for
revaccination should be made by the treating physician.




General Best Practice Guidelines for Immunization: Altered Immunocompetence               133
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 136 of 197




Certain immunosuppressive medications are administered to prevent solid organ
transplant rejection. Live vaccines should be withheld for 2 months following
discontinuation of anti-rejection therapies in patients with a solid organ transplant.
Zoster vaccine should be withheld one month following discontinuation of anti-rejection
therapies (34).

Other immunosuppressive medications include human immune mediators like
interleukins and colony-stimulating factors, immune modulators, and medicines like
tumor necrosis factor-alpha inhibitors and anti-B cell antibodies. Inactivated and live
vaccines should be administered 2 or more weeks before initiating such therapies. Live
vaccines should be withheld 3 months following such therapies, and both inactivated
and live vaccines should be withheld at least 6 months following therapy with anti-B cell
antibodies. Some experts recommend longer than 6 months following anti-B cell
antibodies. Anti-B cell antibodies suppress antibody-producing cells for a prolonged
duration, hence the longer interval recommended before administering vaccines (17).
Zoster vaccine is an exception and should be withheld 1 month following anti-B cell
antibodies.

(a) Patients who have not received a primary series and booster dose or at least 1 dose of Hib vaccine after 14 months of age are


considered unimmunized.




General Best Practice Guidelines for Immunization: Altered Immunocompetence                                                         134
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 137 of 197




 TABLE 8-1. Vaccination of persons with primary and secondary
 immunodeficiencies
 Primary      Specific         Contraindicated Risk-specific Effectiveness
              immunodeficien vaccines(a)       recommended   and
              cy                               vaccines(a)   comments
 B-lymphocyte      Severe antibody      OPV(b)                Pneumococcal      The
 (humoral)         deficiencies         Smallpox(c)           Hib (children     effectiveness
                   (e.g., X-linked      LAIV                  12-59 months of   of any
                   agammaglobuli        BCG                   age)(d)           vaccine is
                   nemia and            Ty21a (live                             uncertain if
                   common               typhoid)                                it depends
                   variable             Yellow fever                            only on the
                   immunodeficien       MMR                                     humoral
                   cy)                  MMRV                                    response
                                                                                (e.g.,
                                                                                PPSV23or
                                                                                MPSV4)

                                                                                IGIV
                                                                                interferes
                                                                                with the
                                                                                immune
                                                                                response to
                                                                                measles
                                                                                vaccine and
                                                                                possibly
                                                                                varicella
                                                                                vaccine
                   Less severe          OPV(b)                Pneumococcal      All vaccines
                   antibody             BCG                   Hib (children     likely
                   deficiencies         Yellow fever(e)       12-59 months of   effective;
                   (e.g., selective     Other live            age)(d)           immune
                   IgA deficiency       vaccines appear                         response
                   and IgG              to be safe                              might be
                   subclass                                                     attenuated
                   deficiency)
 T-lymphocyte      Complete             All live              Pneumococcal      Vaccines
 (cell-mediated    defects (e.g.,       vaccines(f),(g),(h)   Hib (children     likely to be
 and humoral)      SCID disease,                              12-59 months of   effective
                   complete                                   age)(d)
                   DiGeorge
                   syndrome)




General Best Practice Guidelines for Immunization: Altered Immunocompetence                    135
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 138 of 197




                   Partial defects      All live              Pneumococcal      Effectiveness
                   (e.g., most          vaccines(f),(g),(h)   Meningococcal     of any
                   patients with                              Hib (children     vaccine
                   DiGeorge                                   12-59 months of   depends on
                   syndrome,                                  age)(d)           degree of
                   Wiskott-Aldrich                                              immune
                   syndrome,                                                    suppression
                   ataxia-
                   telangiectasia)
                   Interferon-          All live bacterial None
                   gamma/               vaccines
                   Interleukin 12       (All live
                   axis deficiencies    vaccines
                                        contraindicated
                                        in Interferon-
                                        gamma or
                                        interferon-alpha
                                        deficiencies)
 Complement        Persistent           None               Pneumococcal         All routine
                   complement,                             Meningococcal        vaccines
                   properdin, or                           Hib (children        likely
                   factor B                                12-59 months of      effective
                   deficiency;                             age)(d)


                   Taking               None                  Meningococcal
                   eculizumab
                   (Soliris)




 Phagocytic        Chronic              Live bacterial        None              Live viral
 function          granulomatous        vaccines(f)                             vaccines
                   disease                                                      likely safe
                                                                                and effective




General Best Practice Guidelines for Immunization: Altered Immunocompetence                   136
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 139 of 197




                   Phagocytic           MMR                  Pneumococcal     All
                   deficiencies that    MMRV                                  inactivated
                   are undefined or     Varicella                             vaccines safe
                   accompanied by       OPV(b)                                and likely
                   defects in T-cell    Smallpox                              effective
                   and NK cell          BCG
                   dysfunction          LAIV
                   (such as a           Ty21a
                   Chediak-             Yellow Fever
                   Higashi              and bacterial
                   syndrome,            vaccines(f),(g)
                   Leukocyte
                   Adhesion
                   Deficiency
                   [LAD], and
                   myeloperoxidas
                   e deficiency)
 Secondary         HIV/AIDS             OPV(b)               Pneumococcal     MMR and
                                        Smallpox             Hib(d), (j)      Varicella
                                        BCG                  HepB             vaccine in
                                        LAIV                                  those with
                                        MMRV                                  mild
                                                                              immunosup
                                        Withhold MMR,                         pression,
                                        varicella, and                        rotavirus,
                                        zoster in                             and all
                                        severely                              inactivated
                                        immunocompro                          vaccines,
                                        mised persons                         including
                                                                              inactivated
                                        Yellow fever                          influenza as
                                        vaccine might                         per routine
                                        have a                                vaccination
                                        contraindication                      schedule,
                                        or a precaution                       might be
                                        depending on                          effective(k)
                                        clinical
                                        parameters of
                                        immune
                                        function(i)
                   Generalized          Live viral and    Pneumococcal        Effectiveness
                   malignant            bacterial,        Hib(m)              of any
                   neoplasm,            depending on                          vaccine
                   transplantation,     immune                                depends on
                   immunosuppres        status(f),(g),(l)                     degree of




General Best Practice Guidelines for Immunization: Altered Immunocompetence              137
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 140 of 197




                        sive or radiation                                                           immune
                        therapy                                                                     suppression




                        Asplenia                  LAIV                      Pneumococcal            All routine
                                                                            Meningococcal           vaccines
                                                                            Hib(d),(n)              likely
                                                                                                    effective
                        Chronic renal             LAIV                      Pneumococcal            All routine
                        disease                                             HepB(o)                 vaccines
                                                                                                    likely
                                                                                                    effective
 Abbreviations: AIDS = acquired immunodeficiency syndrome; BCG = bacille Calmette-Guérin; HepB = hepatitis
 B; Hib = Haemophilus influenzae type b; HIV = human immunodeficiency virus; IG = immunoglobulin; IGIV =
 immune globulin intravenous; IgA = immune globulin A; IgG = immune globulin G; LAIV = live, attenuated
 influenza vaccine; MMR = measles, mumps, and rubella; MMRV = measles, mumps, rubella, and varicella; MPSV4
 = quadrivalent meningococcal polysaccharide vaccine; OPV = oral poliovirus vaccine (live); PPSV23=
 pneumococcal polysaccharide vaccine; SCID = severe combined immunodeficiency; Ty21a = live oral typhoid
 vaccine.
 Source: (43).
 (a) Other vaccines that are universally or routinely recommended should be given if not contraindicated. An

 exception is patients with B-cell deficiencies receiving immunoglobulins, who should not receive either live or
 inactivated vaccines, due to safety (live vaccines) and efficacy (live and inactivated vaccines) concerns.
 (b) OPV is no longer available in the United States.

 (c) This table refers to contraindications for nonemergency vaccination (i.e., the ACIP recommendations);

 emergency response recommendations are addressed in the clinical guidance for smallpox vaccine use in an
 emergency.
 (d) Children 12-59 months: if unimmunized or received zero or only 1 dose, and that dose was administered before

 12 months of age, should receive 2 Hib doses, 8 weeks apart; if received 2 or more doses before age 12 months, and
 none after 12 months, should receive 1 Hib dose 8 weeks after the last dose; if completed a primary series and
 received a booster dose at age 12 months or older, no additional Hib doses are recommended.
 (e) There are no data to support IgA deficiency as a contraindication for yellow fever vaccine.

 (f) Live bacterial vaccines: BCG, adenovirus, and oral Ty21a Salmonella Typhi vaccine.

 (g) Live viral vaccines: MMR, MMRV, OPV, LAIV, yellow fever, zoster, rotavirus, varicella, and vaccinia (smallpox).

 Nonemergency smallpox vaccination is not recommended for children younger than 18 years or the general public.
 (h) Regarding T-lymphocyte immunodeficiency as a contraindication for rotavirus vaccine, data exist only for SCID.

 (i) Symptomatic HIV infection or CD4+ T-lymphocyte count of <200/mm3 or <15% of total lymphocytes for

 children aged <6 years is a contraindication to yellow fever vaccine administration. Asymptomatic HIV infection
 with CD4+ T-lymphocyte count of 200-499/mm3 for persons aged ≥6 years or 15%-24% of total lymphocytes for
 children aged <6 years is a precaution for yellow fever vaccine administration. Details of yellow fever vaccine
 recommendations are available from CDC (44)
 (j) Patients 5-18 years of age who have not received a Hib primary series and a booster dose or at least one Hib dose

 after 14 months of age.
 (k) HIV-infected children should be considered for varicella vaccine if CD4+ T-lymphocyte count is ≥15% and

 should receive MMR vaccine if they are aged ≥12 months and do not have 1) evidence of current severe
 immunosuppression (i.e., individuals aged ≤5 years must have CD4+T lymphocyte [CD4] percentages ≥15% for ≥6
 months; and individuals aged >5 years must have CD4+percentages ≥15% and CD4+≥200 lymphocytes/mm3 for
 ≥6 months) and 2) other current evidence of measles, rubella, and mumps immunity. In cases when only CD4+cell
 counts or only CD4+percentages are available for those older than age 5 years, the assessment of severe



General Best Practice Guidelines for Immunization: Altered Immunocompetence                                        138
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 141 of 197



 immunosuppression can be based on the CD4+values (count or percentage) that are available. In cases when
 CD4+percentages are not available for those aged ≤5 years, the assessment of severe immunosuppression can be
 based on age-specific CD4+counts at the time CD4+counts were measured; i.e., absence of severe
 immunosuppression is defined as ≥6 months above age-specific CD4+count criteria: CD4+count >750
 lymphocytes/mm3 while aged ≤12 months and CD4+count ≥500 lymphocytes/mm3 while aged 1 through 5 years
 (33).
 (l) Withholding inactivated vaccines also is recommended with some forms of immunosuppressive therapy, like

 anti-CD20 antibodies, induction or consolidation chemotherapy, or patients with major antibody deficiencies
 receiving immunoglobulins. Inactivated influenza vaccine is an exception, but consideration should be given to
 repeating doses of any inactivated vaccine administered during these therapies.
 (m) Persons younger than 60 months undergoing chemotherapy or radiation therapy who have not received a Hib

 primary series and a booster dose or at least one Hib dose after 14 months of age; HCT patients of any ages,
 regardless of Hib vaccine history.
 (n) Persons older than 59 months who are asplenic and persons 15 months or older who are undergoing elective

 splenectomy who have not received a Hib primary series and a booster dose or at least one Hib dose after 14
 months of age.
 (o) Indicated based on the risk from dialysis-based bloodborne transmission.




General Best Practice Guidelines for Immunization: Altered Immunocompetence                                       139
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 142 of 197




REFERENCES
   1. Rubin L, Levin M, Ljungman P, et al. 2013 IDSA clinical practice guideline for
       vaccination of the immunocompromised host. Clin Infect Dis. 2014;58(3):e44-
       100. DOI: 10.1093/cid/cit684
   2. Kim DK, Bridges CB, Harriman KH. Advisory committee on immunization
       practices recommended immunization schedule for adults aged 19 years or
       older—United States, 2015. MMWR Morb Mortal Wkly Rep. 2015;64(4):91-92.
   3. Grohskopf LA, Olsen SJ, Sokolow LZ, et al. Prevention and control of seasonal
       influenza with vaccines: recommendations of the Advisory Committee on
       Immunization Practices (ACIP)—United States, 2014-15 influenza season.
       MMWR Morb Mortal Wkly Rep. 2014;63(32):691-697.
   4. Markert ML, Hummell DS, Rosenblatt HM, et al. Complete DiGeorge syndrome:
       persistence of profound immunodeficiency. J Pediatr. 1998;132(1):15-21. DOI:
       10.1016/S0022-3476(98)70478-0
   5. Jeffrey Modell Foundation Medical Advisory Board. 10 warning signs of primary
       immunodeficiency [Poster]. 2009; http:// www.info4pi.org/library/educational-
       materials/10-warning-signs. Accessed 9 March, 2017.
   6. Strikas RA. Advisory committee on immunization practices recommended
       immunization schedules for persons aged 0 through 18 years—United States,
       2015. MMWR Morb Mortal Wkly Rep. 2015;64(4):93-94.
   7. Bilukha OO, Rosenstein N. Prevention and control of meningococcal disease.
       Recommendations of the Advisory Committee on Immunization Practices
       (ACIP). MMWR Recomm Rep. 2005;54(RR-7):1-21.
   8. Cohn AC, MacNeil JR, Clark TA, et al. Prevention and control of meningococcal
       disease: recommendations of the Advisory Committee on Immunization Practices
       (ACIP). MMWR Recomm Rep. 2013;62(RR-2):1-28.
   9. Folaranmi T, Rubin L, Martin SW, Patel M, MacNeil JR. Use of serogroup B
       meningococcal vaccines in persons aged >/=10 years at increased risk for
       serogroup B meningococcal disease: recommendations of the Advisory
       Committee on Immunization Practices, 2015. MMWR Morb Mortal Wkly Rep.
       2015;64(22):608-612.



General Best Practice Guidelines for Immunization: Altered Immunocompetence            140
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 143 of 197




   10. MacNeil JR, Rubin L, Folaranmi T, Ortega-Sanchez IR, Patel M, Martin SW. Use
       of serogroup B meningococcal vaccines in adolescents and young adults:
       recommendations of the Advisory Committee on Immunization Practices, 2015.
       MMWR Morb Mortal Wkly Rep. 2015;64(41):1171-1176. DOI:
       10.15585/mmwr.mm6441a3
   11. Briere EC, Rubin L, Moro PL, Cohn A, Clark T, Messonnier N. Prevention and
       control of Haemophilus influenzae type b disease: recommendations of the
       advisory committee on immunization practices (ACIP). MMWR Recomm Rep.
       2014;63(RR-1):1-14.
   12. Petersen BW, Harms TJ, Reynolds MG, Harrison LH. Use of vaccinia virus
       smallpox vaccine in laboratory and health care personnel at risk for occupational
       exposure to orthopoxviruses - recommendations of the Advisory Committee on
       Immunization Practices (ACIP), 2015. MMWR Morb Mortal Wkly Rep.
       2016;65(10):257-262. DOI: 10.15585/mmwr.mm6510a2
   13. Petersen BW, Damon IK, Pertowski CA, et al. Clinical guidance for smallpox
       vaccine use in a postevent vaccination program. MMWR Recomm Rep.
       2015;64(RR-2):1-26.
   14. Marin M, Guris D, Chaves SS, Schmid S, Seward JF. Prevention of varicella:
       recommendations of the Advisory Committee on Immunization Practices (ACIP).
       MMWR Recomm Rep. 2007;56(RR-4):1-40.
   15. Grossberg R, Harpaz R, Rubtcova E, Loparev V, Seward JF, Schmid DS.
       Secondary transmission of varicella vaccine virus in a chronic care facility for
       children. J Pediatr. 2006;148(6):842-844. DOI: 10.1016/j.jpeds.2006.01.038
   16. Cortese MM, Parashar UD. Prevention of rotavirus gastroenteritis among infants
       and children: recommendations of the Advisory Committee on Immunization
       Practices (ACIP). MMWR Recomm Rep. 2009;58(RR-2):1-25.
   17. Anderson EJ. Rotavirus vaccines: viral shedding and risk of transmission. Lancet
       Infect Dis. 2008;8(10):642-649. DOI: 10.1016/s1473-3099(08)70231-7
   18. Sixbey JW. Routine immunizations and the immunosuppressed child. Adv
       Pediatr Infect Dis. 1987;2:79-114.




General Best Practice Guidelines for Immunization: Altered Immunocompetence               141
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 144 of 197




   19. Wright PF, Hatch MH, Kasselberg AG, Lowry SP, Wadlington WB, Karzon DT.
       Vaccine-associated poliomyelitis in a child with sex-linked agammaglobulinemia.
       J Pediatr. 1977;91(3):408-412. DOI: 10.1016/S0022-3476(77)81309-7
   20. Wyatt HV. Poliomyelitis in hypogammaglobulinemics. J Infect Dis.
       1973;128(6):802-806. DOI: 10.1093/infdis/128.6.802
   21. Davis LE, Bodian D, Price D, Butler IJ, Vickers JH. Chronic progressive
       poliomyelitis secondary to vaccination of an immunodeficient child. N Engl J
       Med. 1977;297(5):241-245. DOI: 10.1056/nejm197708042970503
   22. CDC. Disseminated Mycobacterium bovis infection from BCG vaccination of a
       patient with acquired immunodeficiency syndrome. MMWR Morb Mortal Wkly
       Rep. 1985;34(16):227-228.
   23. Ninane J, Grymonprez A, Burtonboy G, Francois A, Cornu G. Disseminated BCG
       in HIV infection. Arch Dis Child. 1988;63(10):1268-1269. DOI:
       10.1136/adc.63.10.1268
   24. Redfield RR, Wright DC, James WD, Jones TS, Brown C, Burke DS.
       Disseminated vaccinia in a military recruit with human immunodeficiency virus
       (HIV) disease. N Engl J Med. 1987;316(11):673-676. DOI:
       10.1056/nejm198703123161106
   25. CDC. Measles pneumonitis following measles-mumps-rubella vaccination of a
       patient with HIV infection, 1993. MMWR Morb Mortal Wkly Rep.
       1996;45(28):603-606.
   26. Cono J, Casey CG, Bell DM. Smallpox vaccination and adverse reactions.
       Guidance for clinicians. MMWR Recomm Rep. 2003;52(RR-4):1-28.
   27. Derryck A, LaRussa P, Steinberg S, Capasso M, Pitt J, Gershon AA. Varicella and
       zoster in children with human immunodeficiency virus infection. Pediatr Infect
       Dis J. 1998;17(10):931-933. DOI: 10.1097/00006454-199810000-00023
   28. Levin MJ, Gershon AA, Weinberg A, Song LY, Fentin T, Nowak B. Administration
       of live varicella vaccine to HIV-infected children with current or past significant
       depression of CD4(+) T cells. J Infect Dis. 2006;194(2):247-255. DOI:
       10.1086/505149




General Best Practice Guidelines for Immunization: Altered Immunocompetence             142
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 145 of 197




   29. Sprauer MA, Markowitz LE, Nicholson JK, et al. Response of human
       immunodeficiency virus-infected adults to measles-rubella vaccination. J Acquir
       Immune Defic Syndr. 1993;6(9):1013-1016.
   30. McLaughlin M, Thomas P, Onorato I, et al. Live virus vaccines in human
       immunodeficiency virus-infected children: a retrospective survey. Pediatrics.
       1988;82(2):229-233.
   31. Onorato IM, Markowitz LE, Oxtoby MJ. Childhood immunization, vaccine-
       preventable diseases and infection with human immunodeficiency virus. Pediatr
       Infect Dis J. 1988;7(8):588-595.
   32. Palumbo P, Hoyt L, Demasio K, Oleske J, Connor E. Population-based study of
       measles and measles immunization in human immunodeficiency virus-infected
       children. Pediatr Infect Dis J. 1992;11(12):1008-1014.
   33. McLean HQ, Fiebelkorn AP, Temte JL, Wallace GS. Prevention of measles,
       rubella, congenital rubella syndrome, and mumps, 2013: summary
       recommendations of the Advisory Committee on Immunization Practices (ACIP).
       MMWR Recomm Rep. 2013;62(RR-4):1-34.
   34. Harpaz R, Ortega-Sanchez IR, Seward JF. Prevention of herpes zoster:
       recommendations of the Advisory Committee on Immunization Practices (ACIP).
       MMWR Recomm Rep. 2008;57(RR-5):1-30; quiz CE32-34.
   35. Tomblyn M, Chiller T, Einsele H, et al. Guidelines for preventing infectious
       complications among hematopoietic cell transplantation recipients: a global
       perspective. Biol Blood Marrow Transplant. 2009;15(10):1143-1238. DOI:
       10.1016/j.bbmt.2009.06.019
   36. Ljungman P, Cordonnier C, Einsele H, et al. Vaccination of hematopoietic cell
       transplant recipients. Bone Marrow Transplant. 2009;44(8):521-526. DOI:
       10.1038/bmt.2009.263
   37. American Academy of Pediatrics. Immunization in special clinical circumstances.
       In: Pickering L, Baker C, Kimberlin D, Long S, eds. Red Book: 2009 Report of the
       Committee on Infectious Diseases. 28th ed. Elk Grove Village, IL: American
       Academy of Pediatrics; 2009.




General Best Practice Guidelines for Immunization: Altered Immunocompetence            143
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 146 of 197




   38. Staples JE, Bocchini JA, Jr., Rubin L, Fischer M. Yellow fever vaccine booster
       doses: Recommendations of the Advisory Committee on Immunization Practices,
       2015. MMWR Morb Mortal Wkly Rep. 2015;64(23):647-650.
   39. CDC. Haemophilus b conjugate vaccines for prevention of Haemophilus
       influenzae type b disease among infants and children two months of age and
       older. Recommendations of the Immunization Practices Advisory Committee
       (ACIP). MMWR Recomm Rep. 1991;40(RR-1):1-7.
   40. CDC. Prevention of pneumococcal disease: recommendations of the Advisory
       Committee on Immunization Practices (ACIP). MMWR Recomm Rep.
       1997;46(RR-8):1-24.
   41. Nuorti JP, Whitney CG. Prevention of pneumococcal disease among infants and
       children - use of 13-valent pneumococcal conjugate vaccine and 23-valent
       pneumococcal polysaccharide vaccine - recommendations of the Advisory
       Committee on Immunization Practices (ACIP). MMWR Recomm Rep.
       2010;59(RR-11):1-18.
   42. Brodtman DH, Rosenthal DW, Redner A, Lanzkowsky P, Bonagura VR.
       Immunodeficiency in children with acute lymphoblastic leukemia after
       completion of modern aggressive chemotherapeutic regimens. J Pediatr.
       2005;146(5):654-661. DOI: 10.1016/j.jpeds.2004.12.043
   43. American Academy of Pediatrics. Passive immunization. In: Pickering L, Baker C,
       Kimberlin D, Long S, eds. Red Book: 2012 Report of the Committee on Infectious
       Diseases. 28th ed. Elk Grove Village, IL: American Academy of Pediatrics; 2012.
   44. Staples JE, Gershman M, Fischer M. Yellow fever vaccine: recommendations of
       the Advisory Committee on Immunization Practices (ACIP). MMWR Recomm
       Rep. 2010;59(RR-7):1-27.




General Best Practice Guidelines for Immunization: Altered Immunocompetence             144
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 147 of 197




                               9. Special Situations

Updates

Major revisions to this section of the best practices guidance include the timing of
intramuscular administration and the timing of clotting factor deficiency replacement.


Concurrent Administration of Antimicrobial Agents and Vaccines

With a few exceptions, use of an antimicrobial agent does not interfere with the
effectiveness of vaccination. Antibacterial agents have no effect on inactivated,
recombinant subunit, or polysaccharide vaccines or toxoids. They also have no effect on
response to live, attenuated vaccines, except live oral Ty21a typhoid and BCG vaccines.
Ty21a typhoid vaccine should not be administered to persons receiving antimicrobial
agents until 72 hours after the last dose of antimicrobial (1). If feasible, to avoid a
possible reduction in vaccine effectiveness, antibacterial drugs should not be started or
resumed until 1 week after the last dose of Ty21a. Antimicrobial or immunosuppressive
agents may interfere with the immune response to BCG and should only be used under
medical supervision (for additional information, see
www.merck.com/product/usa/pi_circulars/b/bcg/bcg_pi.pdf).

Antiviral drugs used for treatment or prophylaxis of influenza virus infections have no
effect on the response to inactivated influenza vaccine (2). However, live, attenuated
influenza vaccine should not be administered until 48 hours after cessation of therapy
with antiviral influenza drugs. If feasible, to avoid possible reduction in vaccine
effectiveness, antiviral medication should not be administered for 14 days after LAIV
administration (2). If influenza antiviral medications are administered within 2 weeks
after receipt of LAIV, the LAIV dose should be repeated 48 or more hours after the last
dose of antiviral medication. Alternatively, persons receiving antiviral drugs within the
period 2 days before to 14 days after vaccination with LAIV may be revaccinated with
another approved vaccine formulation (e.g., IIV or recombinant influenza vaccine).




                                                                                            145
General Best Practice Guidelines for Immunization: Special Situations
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 148 of 197



Antiviral drugs active against herpesviruses (e.g., acyclovir or valacyclovir) might reduce
the efficacy of vaccines containing live, attenuated varicella zoster virus (i.e., Varivax,
 ProQuad, and Zostavax) (3,4). These drugs should be discontinued at least 24 hours
 before administration, if possible. If clinically appropriate, delay use or resumption of
 antiviral therapy for 14 days after vaccination. No data exist to suggest that commonly
 used antiviral drugs have an effect on rotavirus vaccine or MMR.


 Administration of Live Vaccines and Tuberculin Skin Tests
 (TSTs) and Interferon-gamma Release Assays (IGRAs)

 Measles illness, severe acute or chronic infections, HIV infection, and malnutrition can
 create a relatively anergic state during which the TST might have a false-negative
 reaction (5-7). Although live, attenuated measles vaccine theoretically can suppress TST
 reactivity, the degree of suppression is likely less than that occurring from acute
 infection from wild-type measles virus. Screening children for tuberculosis exposure is
 accomplished by medical history rather than TST testing; universal TST screening of all
 children is no longer recommended, though TST screening is sometimes indicated (e.g.,
 for persons at increased risk for tuberculosis exposure based on medical history, or for
 employees for occupational health reasons).


 In a general screening situation, a provider may find that: both TST and live vaccine are
 recommended; live vaccine is recommended, and TST has already been administered
 more than one day previous; or TST is indicated, and the live vaccine has already been
 administered more than one day previous. TST may be administered simultaneously
 with live vaccines, and this is the preferred scenario. If live vaccine is indicated, and
 TST has been administered more than one day previous, the live vaccine can be
 administered at any interval after the TST. If TST is recommended, and the live vaccine
 has already been administered more than one day previous, providers should ensure a
 28 day interval, in other words defer the TST for 28 days after vaccination. A delay in
 performing the TST removes the concern of any theoretical transient suppression of
 TST reactivity. Some providers choose to perform TST screening and then delay the
 vaccine until the patient returns to have the TST read.

                                                                                             146
General Best Practice Guidelines for Immunization: Special Situations
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 149 of 197



 This option is less favored compared with simultaneous TST/live vaccination, because
 it delays receipt of the measles-containing vaccine.


 While the above rationale is based on measles suppression of TST response, because of
 similar concerns about smallpox vaccine and TST suppression, a TST should not be
 performed until 4 weeks after smallpox vaccination (8).No data exist regarding the
 potential degree of TST suppression that might be associated with other live, attenuated
 virus vaccines (e.g., varicella or yellow fever). However, in the absence of data,
 following guidelines for measles-containing vaccine when scheduling TST screening
 and administering other live, attenuated virus vaccines is prudent. If the opportunity to
 vaccinate might be missed, vaccination should not be delayed only because of these
 theoretical considerations. TST can be repeated 4 weeks after vaccination if it is
 negative and concern for TB infection persists.

 Interferon gamma release assays (IGRAs), such as the QuantiFERON-TB Gold In-Tube
 test and the T-Spot TB test, are blood-test alternatives to the TST for detecting
 Mycobacterium tuberculosis infection The IGRA requires only a single visit to complete
 and may be less effected by previous BCG vaccination (9). The same timing guidelines
 that apply to the interval between a live vaccine and TST apply to IGRA (i.e., 28 days
 between live vaccine and IGRA if they do not occur on the same day), because IGRA
 (like TST) might be suppressed through immunologic mechanisms. The potential for a
 previous TST to cause boosting of future TST results should be considered in adults who
 have a negative initial TST (9). Two-step testing, in which TST is repeated in a short
 time frame (e.g., 1 to 3 weeks) after an initial negative TST, can illicit boosting and
 identify persons whose immune response may have waned with time since infection or
 BCG vaccination. For people undergoing serial screening for infection, for instance
 health care personnel who are tested yearly, differentiation of positive tests due boosting
 versus new infection is important (9). The 2-step test, in which the test is given twice in
 a short time frame, reduces the chance of these false negatives, which are important to
 identify among adults who may have had or plan to have repeat testing anyway—for
 example, health-care personnel who are tested yearly (9). Because this test consists of 2
 TSTs separated by an interval of 1-3 weeks, there is a greater window of time during
 which live vaccine replication could suppress reactivity.

                                                                                           147
General Best Practice Guidelines for Immunization: Special Situations
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 150 of 197



 If a live vaccine is administered, the first dose of a 2-step TST should be delayed for 4
 weeks, and if additional doses of live vaccines are indicated thereafter, they should be
 delayed until the second TST is measured.


 TST or IGRA reactivity in the absence of active tuberculosis is not a contraindication to
 administration of any vaccine, including live, attenuated virus vaccines.

 Note that TST screening of an asymptomatic individual is clinically different than
 testing a person suspected to have active tuberculosis. If a person is suspected to have
 active tuberculosis, MMR vaccine is typically not administered. Active tuberculosis
 should be considered severe acute illness, and moderate or severe acute illness is a
 precaution for vaccination.

 Although no studies have reported on the effects of MMR vaccine on persons with active
 untreated tuberculosis, a theoretical basis exists for concern that measles vaccine might
 exacerbate active tuberculosis (10). As a result, before administering MMR to persons
 with untreated active tuberculosis, initiating antituberculosis therapy is advisable (10).
 Considering whether concurrent immunosuppression (e.g., immunosuppression caused
 by HIV infection) is present before administering live, attenuated vaccines also is
 necessary, because immunosuppression is a contraindication to MMR vaccine.


 Vaccination of Preterm Infants
 In the majority of cases, preterm infants (infants born before 37 weeks’ gestation),
 regardless of birth weight, should be vaccinated at the same chronological age and
 according to the same schedule and using the same precautions as for full-term infants
 and children. Birth weight and size are not factors in deciding whether to vaccinate a
 clinically stable preterm infant (11-15), except for hepatitis B vaccination. The full
 recommended dose of each vaccine should be used. Divided or reduced doses are not
 recommended.

 Decreased seroconversion rates might occur among certain preterm infants (i.e., those
 with low birth weights [<2,000 g]) after administration of hepatitis B vaccine at birth
 (16). However, by the chronological age of 1 month, all preterm infants, regardless of
 initial birth weight, are likely to respond as adequately as larger infants (17-19).
                                                                                             148
General Best Practice Guidelines for Immunization: Special Situations
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 151 of 197



 Infants weighing <2,000 g born to HBsAg-negative mothers should receive the first
 dose of the hepatitis B vaccine series at chronological age 1 month or hospital
 discharge, if hospital discharge occurs when the infant is younger than one month of
 age. Preterm low-birth- weight–infants born to HBsAg-positive mothers should receive
 immunoprophylaxis with hepatitis B vaccine within 12 hours after birth. The initial
 vaccine dose should not be counted toward completion of the hepatitis B series, and 3
 additional doses of hepatitis B vaccine should be administered, beginning when the
 infant is aged 1 month. For mothers with unknown HBsAg status, hepatitis B vaccine is
 recommended within 12 hours of birth regardless of low-birth-weight status.

 In addition to hepatitis B vaccines, hepatitis B Immunoglobulin (HBIG) is
 recommended for infants whose mothers are HBsAg positive or unknown. If the mother
 is HBsAg positive, HBIG must be given within 12 hours of birth. If the mother’s HBsAg
 status is unknown, providers should first attempt to determine the mother’s status.
 Regardless, if the infant is preterm or low birth weight, HBIG must be given within 12
 hours of birth. If the infant is neither preterm nor low birth weight, providers have up to
 7 days from birth to determine if the mother is HBsAg negative; because the protective
 efficacy of HBIG declines the longer that administration is delayed, if results are
 unlikely to be known by day 7 of life, HBIG should be given no later than day 7 if not
 earlier. If the mother is determined to be HBsAg positive, HBIG should be administered
 as soon as possible (20).

 If a child aged at least 6 weeks has been in the hospital since birth, deferral of rotavirus
 vaccine is recommended until the time of discharge. If an infant were to be vaccinated
 with rotavirus vaccine while still needing care in the NICU or nursery, at least a
 theoretic risk exists for vaccine virus being transmitted to infants in the same unit who
 are acutely ill and to preterm infants who are not age-eligible for vaccine (21). The
 rotavirus vaccine series should not be initiated for infants aged ≥15 weeks, 0 days.




                                                                                            149
General Best Practice Guidelines for Immunization: Special Situations
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 152 of 197




 Breastfeeding and Vaccination
 With 2 exceptions, neither inactivated nor live-virus vaccines administered to a lactating
 woman affect the safety of breastfeeding for women or their infants.


 Although live viruses in vaccines can replicate in the mother, the majority of live viruses
 in vaccines have been demonstrated not to be excreted in human milk. Varicella vaccine
 virus has not been found in human milk (22). Although rubella vaccine virus has been
 excreted in human milk, the virus usually does not infect the infant. If infection does
 occur, it is well tolerated because the virus is attenuated (23). Inactivated, recombinant,
 subunit, polysaccharide, and conjugate vaccines, as well as toxoids, pose no risk for
 mothers who are breastfeeding or for their infants. Breastfeeding is a contraindication
 for smallpox vaccination of the mother because of the theoretical risk for contact
 transmission from mother to infant. Yellow fever vaccine should be avoided in
 breastfeeding women, because 2 cases (one confirmed, one probable) of yellow-fever
 vaccine associated acute neurotropic disease (YEL-AND) have been detected in infants
 whose mothers were vaccinated but were not vaccinated themselves. In both infants,
 vaccine virus was recovered from the cerebrospinal fluid of the infant, but the exact
 mode of transmission was not precisely determined because vaccine virus was not
 recovered from breast milk (24). However, when nursing mothers cannot avoid or
 postpone travel to areas endemic for yellow fever in which risk for acquisition is high,
 these women should be vaccinated.

Limited data indicate that breastfeeding can enhance the response to certain vaccine
antigens (25). There are no data to suggest that passive transfer of antibodies in human
milk can affect the efficacy of live-virus vaccines. Breastfed infants should be vaccinated
according to the recommended schedule (26-28).


Vaccination During Pregnancy
No evidence exists of risk to the fetus from vaccinating pregnant women with
inactivated virus or bacterial vaccines or toxoids (29,30). In spite of the lack of evidence
of risk, HPV vaccine, an inactivated vaccine, is not recommended during pregnancy.



                                                                                            150
General Best Practice Guidelines for Immunization: Special Situations
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 153 of 197




Live vaccines administered to a pregnant woman pose a theoretical risk to the fetus;
therefore, live, attenuated virus and live bacterial vaccines generally are contraindicated
during pregnancy. Women should avoid conception for 4 weeks after vaccination with
live vaccines. However, benefits of vaccinating pregnant women usually outweigh
potential risks when the likelihood of disease exposure is high, when infection would
pose a risk to the mother or fetus, and when the vaccine is unlikely to cause harm.


Recommendations for vaccination during pregnancy are developed using ACIP’s
Guiding Principles for Development of ACIP Recommendations for Vaccination
During Pregnancy and Breastfeeding (31).

 Women who are pregnant should receive a dose of Tdap for the prevention of infant
 pertussis whether or not they have previously received Tdap. Vaccination of the mother
 generates antibodies that pass transplacentally to the fetus (32). Vaccination in the third
 trimester optimizes the duration of this antibody protection until after birth.
 Additionally, preventing pertussis in the mother reduces the risk that the infant is
 exposed to pertussis after birth (33). Health care personnel should administer Tdap
 during pregnancy, preferably during the third trimester. If Tdap is not administered
 during pregnancy to women who have never received it, it should be administered
 immediately postpartum. Pregnant women who are not vaccinated or are only partially
 vaccinated against tetanus should complete the primary series (34). Women for whom
 Td is indicated but who did not complete the recommended 3-dose series during
 pregnancy should receive follow-up after delivery to ensure the series is completed. One
 dose of the tetanus vaccine series should be Tdap, if Tdap has not already been received.

 Pregnant and postpartum women are at higher risk for severe illness and complications
 from influenza than women who are not pregnant (2,35). Pregnant women have
 protective levels of anti-influenza antibodies after vaccination (36,37). Passive transfer of
 anti-influenza antibodies that might provide protection from vaccinated women to
 neonates has been reported (36,38-41). Routine vaccination with inactivated influenza
 vaccine is recommended for all women who are or will be pregnant (in any trimester)
 during influenza season.

                                                                                            151
General Best Practice Guidelines for Immunization: Special Situations
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 154 of 197




 IPV can be administered to pregnant women who are at risk for exposure to wild-type
 poliovirus.

 This includes travelers to areas or countries where polio is epidemic or endemic;
 members of communities or specific population groups with disease caused by wild
 polioviruses; laboratory workers who handle specimens that might contain polioviruses;
 health-care personnel who have close contact with patients who might be excreting wild
 polioviruses; and unvaccinated persons whose children will be receiving oral poliovirus
 vaccine (42). Hepatitis A, pneumococcal polysaccharide, meningococcal conjugate, and
 meningococcal polysaccharide vaccines should be considered for women at increased
 risk for those infections (43-45). Pregnant women who must travel to areas where there
 is a risk for acquiring yellow fever should receive yellow fever vaccine, because the
 limited theoretical risk from vaccination is outweighed substantially by the risk for
 yellow fever infection (24,46). Hepatitis B vaccine is not contraindicated in pregnancy
 and should be given to a pregnant woman for whom it is indicated (20,47).

 Pregnancy is a contraindication for smallpox (vaccinia) vaccine and measles-, mumps-,
 rubella-, and varicella-containing vaccines. Smallpox vaccine is the only vaccine known
 to harm a fetus when administered to a pregnant woman. In addition, smallpox vaccine
 should not be administered to a household contact of a pregnant woman (8). Women
 who are pregnant should not have close contact with anyone who has recently (within
 the last 28 days) received the smallpox vaccine. Data from studies of children born to
 mothers inadvertently vaccinated with rubella vaccine during pregnancy demonstrate
 rubella antibody in unvaccinated infants. This could represent passive transfer of
 maternal antibody or a fetal antibody response to vaccine virus infection in the fetus. No
 cases of congenital rubella or varicella syndrome or abnormalities attributable to fetal
 infection have been observed among infants born to susceptible women who
 inadvertently received rubella or varicella vaccines during pregnancy (48-50).




                                                                                            152
General Best Practice Guidelines for Immunization: Special Situations
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 155 of 197




 Because of the importance of protecting women of childbearing age against rubella and
 varicella, reasonable practices in any vaccination program include asking women if they
 are pregnant or might become pregnant in the next 4 weeks; not vaccinating women
 who state that they are or plan to become pregnant within that interval; explaining the
 theoretical risk for the fetus if MMR, varicella, or MMRV vaccine were administered to a
 woman who is pregnant; and counseling women who are vaccinated not to become
 pregnant during the 4 weeks after MMR, varicella, or MMRV vaccination (10,48-51).


 MMRV is an unlikely option for a pregnant woman because the vaccine is only licensed
 through 12 years of age. Routine pregnancy testing of women of childbearing age before
 administering a live-virus vaccine is not recommended (3,10). If a pregnant woman is
 inadvertently vaccinated or becomes pregnant within 4 weeks after MMR or varicella
 vaccination, she should be counseled about the theoretical basis of concern for the fetus;
 however, MMR or varicella vaccination during pregnancy should not be considered a
 reason to terminate pregnancy (3,10,50).

Persons who receive MMR vaccine do not transmit the vaccine viruses to contacts (10).
Transmission of varicella vaccine virus to contacts is exceedingly rare (3). MMR and
varicella vaccines should be administered when indicated to children and other
household contacts of pregnant women (10). Infants living in households with pregnant
women should be vaccinated with rotavirus vaccine according to the same schedule as
infants in households without pregnant women.

Pregnant women should be evaluated for evidence of immunity to rubella and varicella
and be tested for the presence of HBsAg during every pregnancy (10,20,52). Women
without evidence of immunity to rubella and varicella should be vaccinated immediately
after delivery. A second dose of varicella vaccine should be administered 4-8 weeks later.
A woman found to be HBsAg positive should be followed-up carefully to ensure that the
infant receives HBIG and begins the hepatitis B vaccine series no later than 12 hours
after birth and that the infant completes the recommended hepatitis B vaccine series on
schedule (20). No known risk exists for the fetus from passive immunization of pregnant
women with immune globulin preparations.

                                                                                           153
General Best Practice Guidelines for Immunization: Special Situations
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 156 of 197




Persons Vaccinated Outside the United States
Clinicians have a limited ability to determine whether persons are protected on the basis
of their country of origin and their vaccination records alone. Vaccines administered
outside the United States generally can be accepted as valid if the schedule (i.e.,
minimum ages and intervals) is similar to that recommended in the United States. With
the exception of influenza vaccine, only written documentation should be accepted as
evidence of previous vaccination.


Written records are more likely to predict protection if the vaccines, dates of
administration, intervals between doses, and age at the time of vaccination are
comparable to U.S. recommendations. Although vaccines with inadequate potency have
been produced in other countries (53,54), the majority of vaccines used worldwide are
produced with adequate quality control standards and are potent.

 Persons vaccinated outside of the United States can enter the country through a number
 of different mechanisms. Those seeking to immigrate to the United States may be
 vaccinated under the authority of a civil surgeon or a panel physician. Some enter the
 United States as refugees and are vaccinated under the authority of the Office of Refugee
 Resettlement, part of the Administration for Children and Families, in the Department
 of Health and Human Services.

 Adopted children’s birth countries often have vaccination schedules that differ from the
 recommended childhood vaccination schedule in the United States. Differences in the
 U.S. schedule and those used in other countries include the vaccines administered, the
 recommended ages of administration, and the number and timing of doses.

 Data are inconclusive regarding the extent to which an internationally adopted child’s
 vaccination record reflects the child’s protection. A child’s record might indicate
 administration of MMR vaccine when only single-antigen measles vaccine was
 administered. A study of children adopted from orphanages in the People’s Republic of
 China, Russia, and countries in Eastern Europe determined that 67% of children with
 documentation of >3 doses of DTP before adoption had nonprotective titers to these
 antigens (54).

                                                                                          154
General Best Practice Guidelines for Immunization: Special Situations
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 157 of 197



 In contrast, children adopted from these countries who received vaccination in the
 community (not only from orphanages) and had documentation of ≥1 doses of DTP
 exhibited protective titers 67% of the time (54). However, antibody testing was
 performed by using a hemagglutination assay, which tends to underestimate protection
 and cannot directly be compared with antibody concentration (55). Data are likely to
 remain limited for areas other than the People’s Republic of China, Russia, and Eastern
 Europe. Health-care providers should ensure that household contacts of international
 adoptees are vaccinated adequately, particularly for measles, hepatitis A, and hepatitis
 B (56).

 Health-care providers may use one of multiple approaches if the immunogenicity of
 vaccines or the completeness of series administered to persons outside the United States
 is in question. Repeating the vaccinations is an acceptable option that usually is safe and
 prevents the need to obtain and interpret serologic tests. If avoiding unnecessary
 injections is desired, judicious use of serologic testing might help determine which
 vaccinations are needed. For some vaccines, the most readily available serologic tests
 cannot document protection against infection. This best practices document provides
 guidance on possible approaches to evaluation and revaccination for each vaccine
 recommended in the United States (Table 9-1).

DTaP Vaccine
Vaccination providers can revaccinate children younger than 7 years of age with DTaP
vaccine without regard to recorded doses; however, data indicate increased rates of local
adverse reactions after the fourth and fifth doses of DTaP (57). If a revaccination
approach is adopted and a severe local reaction occurs, serologic testing for specific IgG
antibody to tetanus and diphtheria toxins can be measured before administering
additional doses. Protective concentration(a) indicates that additional doses are
unnecessary and subsequent vaccination should occur as age appropriate. No
established serologic correlates exist for protection against pertussis.




                                                                                            155
General Best Practice Guidelines for Immunization: Special Situations
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 158 of 197




For a child whose record indicates receipt of ≥3 doses of DTP or DTaP, serologic testing
for specific IgG antibody to both diphtheria and tetanus toxin before additional doses is
a reasonable approach. If a protective concentration is present, recorded doses are
considered valid, and the vaccination series should be completed as age appropriate. An
indeterminate antibody concentration might indicate immunologic memory but waning
antibody; serologic testing can be repeated after a booster dose if vaccination providers
or parents want to avoid revaccination with a complete series.

Alternately, for a child whose records indicate receipt of ≥3 doses, a single booster dose
can be administered followed by serologic testing after 1 month for specific IgG antibody
to both diphtheria and tetanus toxins. If the child has a protective concentration, the
recorded doses are considered valid, and the vaccination series should be completed as
age appropriate. Children with an indeterminate concentration after a booster dose
should be revaccinated with a complete series.


Hepatitis A Vaccine
Children aged 12-23 months without documentation of hepatitis A vaccination or
serologic evidence of immunity should be vaccinated on arrival in the United States
(45). Persons who have received 1 dose should receive the second dose if 6-18 months
have passed since the first dose was administered.


Hepatitis B Vaccine
Persons not known to be vaccinated for hepatitis B should receive an age-appropriate
series of hepatitis B vaccine. A person whose records indicate receipt of ≥3 doses of
vaccine is considered protected, and additional doses are not needed if ≥1 dose was
administered at age ≥24 weeks. Persons who received their last hepatitis B vaccine dose
at an age <24 weeks should receive an additional dose at age ≥24 weeks. People who
have received <3 doses of vaccine should complete the series at the recommended
intervals and ages.




                                                                                          156
General Best Practice Guidelines for Immunization: Special Situations
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 159 of 197



All foreign-born persons and immigrants, refugees, and internationally adopted children
born in Asia, the Pacific Islands, Africa, and other regions of high or intermediate
hepatitis B endemicity should be tested for HBsAg, regardless of vaccination status (58).
Those determined to be HBsAg positive should be monitored for development of liver
disease. Household members of HBsAg-positive children or adults should be vaccinated
if they are not already immune.


Hib Vaccine
Interpretation of a serologic test to verify whether children who were vaccinated >2
months previously are protected against Hib bacteria can be difficult. Because the
number of vaccinations needed for protection decreases with age and because adverse
events are rare (59), age-appropriate vaccination should be provided. Hib vaccination
is not recommended routinely for persons aged ≥5 years (59).


 Meningococcal Vaccine
 Quadrivalent meningococcal conjugate vaccines are not routinely used in other
 countries in adolescents (the United Kingdom is the exception). Unless patients have
 documented receipt they should be considered unvaccinated and receive the age-
 appropriate doses.


 MMR Vaccine
 The simplest approach to resolving concerns about MMR vaccination is to revaccinate
 with 1 or 2 doses of MMR vaccine, depending on age. Serious adverse events after MMR
 vaccinations are rare (10). No evidence indicates that administering MMR vaccine
 increases the risk for adverse reactions among persons who are already immune to
 measles, mumps, or rubella as a result of previous vaccination or natural disease. Doses
 of measles-containing vaccine administered before the first birthday should not be
 counted as part of the series (10). Alternatively, serologic testing for IgG antibody to
 vaccine viruses indicated on the vaccination record can be considered. Serologic testing
 is widely available for measles and rubella IgG antibody. A person whose record
 indicates receipt of monovalent measles or measles-rubella vaccine on or after the first
 birthday and who has protective antibody against measles and rubella should receive 1

                                                                                            157
General Best Practice Guidelines for Immunization: Special Situations
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 160 of 197



 or 2 doses of MMR or MMRV as age appropriate to ensure protection against mumps
 and varicella (and rubella if measles vaccine alone had been administered). If a person
 whose record indicates receipt of MMR at age ≥12 months has a protective
 concentration of antibody to measles, no additional vaccination is needed unless a
 second dose is required for school entry.


 Pneumococcal Vaccines
 Many industrialized countries now routinely use pneumococcal vaccines. Although
 recommendations for pneumococcal polysaccharide vaccine also exist in many
 countries, the pneumococcal conjugate vaccine might not be routinely administered.
 PCV13 and PPSV23 should be administered according to age-appropriate vaccination
 schedules or as indicated by the presence of underlying medical conditions (43,60).


 Poliovirus Vaccine
 The simplest approach to vaccinating with poliovirus vaccine is to revaccinate persons
 aged <18 years with IPV according to the U.S. schedule. Adverse events after IPV are
 rare (42). Children appropriately vaccinated with 3 doses of OPV in economically
 developing countries might have suboptimal seroconversion, including to type 3
 poliovirus (42).


 Rotavirus Vaccine
 Rotavirus vaccination should not be initiated for infants aged ≥15 weeks, 0 days. Infants
 who began the rotavirus vaccine series outside the United States but who did not
 complete the series and who are still aged ≤8 months, 0 days, should follow the routine
 schedule and receive doses to complete the series. If the brand of a previously
 administered dose is live, reassortment pentavalent rotavirus vaccine or is unknown, a
 total of 3 doses of rotavirus vaccine should be documented for series completion. All
 doses should be administered by age 8 months, 0 days.




                                                                                           158
General Best Practice Guidelines for Immunization: Special Situations
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 161 of 197




 Td and Tdap Vaccines
 Children aged ≥7 years who are not considered fully vaccinated for pertussis should
 receive Tdap vaccine. “Fully vaccinated” means at least 5 doses of DTaP before the
 seventh birthday or at least 4 doses of DTaP before the seventh birthday if the fourth
 dose is given after the fourth birthday. One dose of Tdap is recommended after the
 seventh birthday. If additional doses of vaccine are needed, Td should be
 administered as age appropriate.


 Varicella Vaccine
 Varicella vaccine is not available in most countries. A person who lacks evidence of
 varicella immunity should be vaccinated as age appropriate (3,59).


 Zoster Vaccine
 In the United States, zoster vaccination is recommended for all persons aged ≥60 years
 who have no contraindications, including persons who report a previous episode of
 zoster or who have chronic medical conditions. For persons who do not have
 documentation of receipt of zoster vaccine, the vaccine should be offered at the patient’s
 first clinical encounter with the health-care provider. The vaccine is administered as a
 single 0.65-mL subcutaneous dose. Zoster vaccination is not indicated to treat acute
 zoster, to prevent persons with acute zoster from developing postherpetic neuralgia, or
 to treat ongoing postherpetic neuralgia. Patients do not need to be asked about their
 history of varicella or to have serologic testing conducted to determine zoster immunity
 prior to administration of zoster vaccine.


 Vaccinating Persons with Increased Bleeding Risk
 Providers often avoid giving intramuscular injections or choose alternative routes for
 persons with bleeding disorders because of the risk for hematoma formation after
 injections. In one study, hepatitis B vaccine was administered intramuscularly to 153
 persons with hemophilia. The vaccination was administered with a 23-gauge or smaller
 caliber needle, followed by application of steady pressure to the site for 1-2 minutes.


                                                                                            159
General Best Practice Guidelines for Immunization: Special Situations
    Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 162 of 197



 The vaccinations resulted in a low (4%) bruising rate, and no patients required factor
 supplementation (61). Whether antigens that produce more local reactions (e.g.,
 pertussis) would produce an equally low rate of bruising is unknown.


 When hepatitis B or any other intramuscularly administered vaccine is indicated for a
 patient with a bleeding disorder, the vaccine should be administered intramuscularly if a
 physician familiar with the patient’s bleeding risk determines that the vaccine can be
 administered by this route with reasonable safety. If the patient receives antihemophilia
 or similar therapy, intramuscularly administered vaccinations can be scheduled shortly
 after such therapy is administered. A fine-gauge needle (23-gauge or smaller caliber)
 should be used for the vaccination, followed by firm pressure on the site, without
 rubbing, for at least 2 minutes. The patient or family should be given information on the
 risk for hematoma from the injection. Patients receiving anticoagulation therapy
 presumably have the same bleeding risk as patients with clotting factor disorders and
 should follow the same guidelines for intramuscular administration. If possible,
 vaccination could be scheduled prior to the use of these medications, so that the
 patients’ risk of bleeding is not increased by their therapeutic action.

 (a) Enzyme immunoassay tests are available. Physicians should contact the laboratory performing the test for interpretive standards


 and limitations. Protective concentrations for antibody to diphtheria and tetanus toxins are defined as >0.1 IU/mL.




                                                                                                                                  160
General Best Practice Guidelines for Immunization: Special Situations
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 163 of 197




TABLE 9-1. Approaches to evaluation and vaccination of persons
vaccinated outside the United States who have no (or questionable)
vaccination records

Vaccine                  Recommended                       Alternative approach(a)
                         approach

DTaP                     Revaccination with DTaP,          Persons whose records indicate
                         with serologic testing for        receipt of ≥3 doses: serologic testing
                         specific IgG antibody to          for specific IgG antibody to
                         tetanus and diphtheria            diphtheria and tetanus toxins before
                         toxins in the event of a          administering additional doses (see
                         severe local reaction             text), or administer a single booster
                                                           dose of DTaP, followed by
                                                           serological testing after 1 month for
                                                           specific IgG antibody to diphtheria
                                                           and tetanus toxins with
                                                           revaccination as appropriate (see
                                                           text)

HepA                     Age-appropriate                   Serologic testing for IgG antibodies
                         revaccination                     to hepatitis A

HepB                     Age-appropriate             —
                         revaccination and serologic
                         testing for HBsAg(b)

Hib                      Age-appropriate                   —
                         revaccination

HPV                      Age-appropriate                   —
                         revaccination

Meningococcal            Age-appropriate                   —
conjugate                revaccination
(MenACWY)

MMR                      Revaccination with MMR            Serologic testing for IgG antibodies
                                                           to measles, mumps, and rubella

Pneumococcal             Age-appropriate                   —
conjugate (or in         revaccination
some cases, both
PCV13 and
PPSV23)




General Best Practice Guidelines for Immunization: Special Situations                          161
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 164 of 197




Poliovirus                   Revaccination with                      —
                             inactivated poliovirus
                             vaccine

Rotavirus                    Age-appropriate                         —
                             revaccination

Tdap                         Age-appropriate                         —
                             revaccination of persons
                             who are candidates for
                             Tdap vaccine

Varicella                    Age-appropriate                         —
                             revaccination of persons
                             who lack evidence of
                             varicella immunity

Zoster                       Age-appropriate                         —
                             revaccination
Abbreviations: DTaP = diphtheria and tetanus toxoids and acellular pertussis; HBsAg = hepatitis B surface
antigen; HepA = hepatitis A; HepB = hepatitis B; Hib = Haemophilus influenzae type b; HPV = human
papillomavirus; IgG = immune globulin G; MMR = measles, mumps, and rubella; PCV13 = pneumococcal conjugate
vaccine; PPSV23= pneumococcal polysaccharide vaccine; Tdap = tetanus toxoid, reduced diphtheria toxoid, and
acellular pertussis.
(a) There is a recommended approach for all vaccines and an alternative approach for some vaccines.

(b) In rare instances, hepatitis B vaccine can give a false-positive HBsAg result up to 18 days after vaccination;

therefore, blood should be drawn to test for HBsAg before vaccinating (20).




General Best Practice Guidelines for Immunization: Special Situations                                                162
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 165 of 197




REFERENCES

    1.      Jackson BR, Iqbal S, Mahon B. Updated recommendations for the use of
            typhoid vaccine—Advisory Committee on Immunization Practices, United
            States, 2015. MMWR Morb Mortal Wkly Rep. 2015;64(11):305-308.
    2.      Grohskopf LA, Shay DK, Shimabukuro TT, et al. Prevention and control of
            seasonal influenza with vaccines. Recommendations of the Advisory
            Committee on Immunization Practices—United States, 2013-2014. MMWR
            Recomm Rep. 2013;62(RR-7):1-43.
    3.      Marin M, Guris D, Chaves SS, Schmid S, Seward JF. Prevention of varicella:
            recommendations of the Advisory Committee on Immunization Practices
            (ACIP). MMWR Recomm Rep. 2007;56(RR-4):1-40.
    4.      Harpaz R, Ortega-Sanchez IR, Seward JF. Prevention of herpes zoster:
            recommendations of the Advisory Committee on Immunization Practices
            (ACIP). MMWR Recomm Rep. 2008;57(RR-5):1-30; quiz CE32-34.
    5.      Starr S, Berkovich S. Effects of measles, gamma-globulin-modified measles
            and vaccine measles on the tuberculin test. N Engl J Med. 1964;270:386-391.
            DOI: 10.1056/nejm196402202700802
    6.      Brickman HF, Beaudry PH, Marks MI. The timing of tuberculin tests in
            relation to immunization with live viral vaccines. Pediatrics. 1975;55(3):392-
            396.
    7.      Berkovich S, Starr S. Effects of live type 1 poliovirus vaccine and other viruses
            on the tuberculin test. N Engl J Med. 1966;274(2):67-72. DOI:
            10.1056/nejm196601132740203
    8.      Wharton M, Strikas RA, Harpaz R, et al. Recommendations for using
            smallpox vaccine in a pre-event vaccination program. Supplemental
            recommendations of the Advisory Committee on Immunization Practices
            (ACIP) and the Healthcare Infection Control Practices Advisory Committee
            (HICPAC). MMWR Recomm Rep. 2003;52(RR-7):1-16.




General Best Practice Guidelines for Immunization: Special Situations                     163
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 166 of 197



    9.      Mazurek GH, Jereb J, Vernon A, LoBue P, Goldberg S, Castro K.
            Updated guidelines for using interferon gamma release assays to
            detect Mycobacterium tuberculosis infection - United States, 2010.
            MMWR Recomm Rep. 2010;59(RR-5):1-25.
    10.     Watson JC, Hadler SC, Dykewicz CA, Reef S, Phillips L. Measles, mumps, and
            rubella—vaccine use and strategies for elimination of measles, rubella, and
            congenital rubella syndrome and control of mumps: recommendations of the
            Advisory Committee on Immunization Practices (ACIP). MMWR Recomm
            Rep. 1998;47(RR-8):1-57.
    11.     Bernbaum JC, Daft A, Anolik R, et al. Response of preterm infants to
            diphtheria-tetanus-pertussis immunizations. J Pediatr. 1985;107(2):184-188.
            DOI: 10.1016/S0022-3476(85)80122-0
    12.     Koblin BA, Townsend TR, Munoz A, Onorato I, Wilson M, Polk BF. Response
            of preterm infants to diphtheria-tetanus-pertussis vaccine. Pediatr Infect Dis
            J. 1988;7(10):704-711.
    13.     Smolen P, Bland R, Heiligenstein E, Lawless MR, Dillard R, Abramson J.
            Antibody response to oral polio vaccine in premature infants. J Pediatr.
            1983;103(6):917-919. DOI: 10.1016/S0022-3476(83)80714-8
    14.     Omenaca F, Garcia-Sicilia J, Garcia-Corbeira P, et al. Response of preterm
            newborns to immunization with a hexavalent diphtheria-tetanus-acellular
            pertussis-hepatitis B virus-inactivated polio and Haemophilus influenzae type
            b vaccine: first experiences and solutions to a serious and sensitive issue.
            Pediatrics. 2005;116(6):1292-1298. DOI: 10.1542/peds.2004-2336
    15.     Shinefield H, Black S, Ray P, Fireman B, Schwalbe J, Lewis E. Efficacy,
            immunogenicity and safety of heptavalent pneumococcal conjugate vaccine in
            low birth weight and preterm infants. Pediatr Infect Dis J. 2002;21(3):182-
            186. DOI: 10.1097/00006454-200203000-00003




General Best Practice Guidelines for Immunization: Special Situations                      164
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 167 of 197



    16.     Lau YL, Tam AY, Ng KW, et al. Response of preterm infants to hepatitis B
            vaccine. J Pediatr. 1992;121(6):962-965. DOI: 10.1016/S0022-
            3476(05)80352-X
    17.     Patel DM, Butler J, Feldman S, Graves GR, Rhodes PG. Immunogenicity of
            hepatitis B vaccine in healthy very low birth weight infants. J Pediatr.
            1997;131(4):641-643. DOI: 10.1016/S0022-3476(97)70078-7

    18.     Kim SC, Chung EK, Hodinka RL, et al. Immunogenicity of hepatitis B vaccine
            in preterm infants. Pediatrics. 1997;99(4):534-536. DOI:
            10.1542/peds.99.4.534
    19.     Losonsky GA, Wasserman SS, Stephens I, et al. Hepatitis B vaccination of
            premature infants: a reassessment of current recommendations for delayed
            immunization. Pediatrics. 1999;103(2):E14. DOI: 10.1542/peds.103.2.e14
    20.     Mast EE, Margolis HS, Fiore AE, et al. A comprehensive immunization
            strategy to eliminate transmission of hepatitis B virus infection in the United
            States: recommendations of the Advisory Committee on Immunization
            Practices (ACIP) part 1: immunization of infants, children, and adolescents.
            MMWR Recomm Rep. 2005;54(RR-16):1-31.
    21.     Cortese MM, Parashar UD. Prevention of rotavirus gastroenteritis among
            infants and children: recommendations of the Advisory Committee on
            Immunization Practices (ACIP). MMWR Recomm Rep. 2009;58(RR-2):1-25.
    22.     Bohlke K, Galil K, Jackson LA, et al. Postpartum varicella vaccination: is the
            vaccine virus excreted in breast milk? Obstet Gynecol. 2003;102(5 Pt 1):970-
            977. DOI: 10.1016/S0029-7844(03)00860-3
    23.     Krogh V, Duffy LC, Wong D, Rosenband M, Riddlesberger KR, Ogra PL.
            Postpartum immunization with rubella virus vaccine and antibody response
            in breast-feeding infants. J Lab Clin Med. 1989;113(6):695-699.




General Best Practice Guidelines for Immunization: Special Situations                    165
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 168 of 197



    24.     Staples JE, Gershman M, Fischer M. Yellow fever vaccine: recommendations
            of the Advisory Committee on Immunization Practices (ACIP). MMWR
            Recomm Rep. 2010;59(RR-7):1-27.
    25.     Pickering LK, Granoff DM, Erickson JR, et al. Modulation of the immune
            system by human milk and infant formula containing nucleotides. Pediatrics.
            1998;101(2):242-249. DOI: 10.1542/peds.101.2.242
    26.     Kim-Farley R, Brink E, Orenstein W, Bart K. Vaccination and breast feeding.
            JAMA. 1982;248(19):2451-2452. DOI: 10.1001/jama.1982.03330190021019
    27.     Patriarca PA, Wright PF, John TJ. Factors affecting the immunogenicity of
            oral poliovirus vaccine in developing countries: review. Rev Infect Dis.
            1991;13(5):926-939.

    28.     Hahn-Zoric M, Fulconis F, Minoli I, et al. Antibody responses to parenteral
            and oral vaccines are impaired by conventional and low protein formulas as
            compared to breast-feeding. Acta Paediatr Scand. 1990;79(12):1137-1142.
            DOI: 10.1111/j.1651-2227.1990.tb11401.x
    29.     Koren G, Pastuszak A, Ito S. Drugs in pregnancy. N Engl J Med.
            1998;338(16):1128-1137. DOI: 10.1056/nejm199804163381607
    30.     Grabenstein JD. Vaccines and antibodies in relation to pregnancy and
            lactation. Hospital Pharmacy. 1999;34:949-960.
    31.     CDC. Guiding principles for development of ACIP recommendations for
            vaccination during pregnancy and breastfeeding. MMWR Morb Mortal Wkly
            Rep. 2008;57(21):580.
    32.     Munoz FM, Bond NH, Maccato M, et al. Safety and immunogenicity of
            tetanus diphtheria and acellular pertussis (Tdap) immunization during
            pregnancy in mothers and infants: a randomized clinical trial. JAMA.
            2014;311(17):1760-1769. DOI: 10.1001/jama.2014.3633




General Best Practice Guidelines for Immunization: Special Situations                     166
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 169 of 197



    33.     Wendelboe AM, Njamkepo E, Bourillon A, et al. Transmission of Bordetella
            pertussis to young infants. Pediatr Infect Dis J. 2007;26(4):293-299. DOI:
            10.1097/01.inf.0000258699.64164.6d
    34.     Kretsinger K, Broder KR, Cortese MM, et al. Preventing tetanus, diphtheria,
            and pertussis among adults: use of tetanus toxoid, reduced diphtheria toxoid
            and acellular pertussis vaccine recommendations of the Advisory Committee
            on Immunization Practices (ACIP) and recommendation of ACIP, supported
            by the Healthcare Infection Control Practices Advisory Committee (HICPAC),
            for use of Tdap among health-care personnel. MMWR Recomm Rep.
            2006;55(RR-17):1-37.
    35.     Neuzil KM, Reed GW, Mitchel EF, Simonsen L, Griffin MR. Impact of
            influenza on acute cardiopulmonary hospitalizations in pregnant women. Am
            J Epidemiol. 1998;148(11):1094-1102. DOI:
            10.1093/oxfordjournals.aje.a009587
    36.     Sumaya CV, Gibbs RS. Immunization of pregnant women with influenza
            A/New Jersey/76 virus vaccine: reactogenicity and immunogenicity in mother
            and infant. J Infect Dis. 1979;140(2):141-146. DOI: 10.1093/infdis/140.2.141

    37.     Munoz FM, Greisinger AJ, Wehmanen OA, et al. Safety of influenza
            vaccination during pregnancy. Am J Obstet Gynecol. 2005;192(4):1098-1106.
            DOI: 10.1016/j.ajog.2004.12.019
    38.     Englund JA, Mbawuike IN, Hammill H, Holleman MC, Baxter BD, Glezen
            WP. Maternal immunization with influenza or tetanus toxoid vaccine for
            passive antibody protection in young infants. J Infect Dis. 1993;168(3):647-
            656. DOI: 10.1093/infdis/168.3.647
    39.     Puck JM, Glezen WP, Frank AL, Six HR. Protection of infants from infection
            with influenza A virus by transplacentally acquired antibody. J Infect Dis.
            1980;142(6):844-849. DOI: 10.1093/infdis/142.6.844
    40.     Reuman PD, Ayoub EM, Small PA. Effect of passive maternal antibody on
            influenza illness in children: a prospective study of influenza A in mother-
            infant pairs. Pediatr Infect Dis J. 1987;6(4):398-403. DOI:
            10.1097/00006454-198704000-00011



General Best Practice Guidelines for Immunization: Special Situations                      167
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 170 of 197



    41.     Steinhoff MC, Omer SB, Roy E, et al. Influenza immunization in pregnancy—
            antibody responses in mothers and infants. N Engl J Med.
            2010;362(17):1644-1646. DOI: 10.1056/NEJMc0912599
    42.     Prevots DR, Burr RK, Sutter RW, Murphy TV. Poliomyelitis prevention in the
            United States. Updated recommendations of the Advisory Committee on
            Immunization Practices (ACIP). MMWR Recomm Rep. 2000;49(RR-5):1-22;
            quiz CE21-27.
    43.     CDC. Prevention of pneumococcal disease: recommendations of the Advisory
            Committee on Immunization Practices (ACIP). MMWR Recomm Rep.
            1997;46(RR-8):1-24.
    44.     Bilukha OO, Rosenstein N. Prevention and control of meningococcal disease.
            Recommendations of the Advisory Committee on Immunization Practices
            (ACIP). MMWR Recomm Rep. 2005;54(RR-7):1-21.
    45.     Fiore AE, Wasley A, Bell BP. Prevention of hepatitis A through active or
            passive immunization: recommendations of the Advisory Committee on
            Immunization Practices (ACIP). MMWR Recomm Rep. 2006;55(RR-7):1-23.

    46.     Tsai TF, Paul R, Lynberg MC, Letson GW. Congenital yellow fever virus
            infection after immunization in pregnancy. J Infect Dis. 1993;168(6):1520-
            1523. DOI: 10.1093/infdis/168.6.1520
    47.     Mast EE, Weinbaum CM, Fiore AE, et al. A comprehensive immunization
            strategy to eliminate transmission of hepatitis B virus infection in the United
            States: recommendations of the Advisory Committee on Immunization
            Practices (ACIP) Part II: immunization of adults. MMWR Recomm Rep.
            2006;55(RR-16):1-33; quiz CE31-34.
    48.     Wilson E, Goss MA, Marin M, et al. Varicella vaccine exposure during
            pregnancy: data from 10 years of the pregnancy registry. J Infect Dis.
            2008;197 Suppl 2:S178-184. DOI: 10.1086/522136
    49.     CDC. Revised ACIP recommendation for avoiding pregnancy after receiving a
            rubella-containing vaccine. MMWR Morb Mortal Wkly Rep.
            2001;50(49):1117.
    50.     CDC. Rubella vaccination during pregnancy—United States, 1971-1988.
            MMWR Morb Mortal Wkly Rep. 1989;38(17):289-293.


General Best Practice Guidelines for Immunization: Special Situations                    168
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 171 of 197




    51.     Black NA, Parsons A, Kurtz JB, McWhinney N, Lacey A, Mayon-White RT.
            Post-partum rubella immunisation: a controlled trial of two vaccines. Lancet.
            1983;2(8357):990-992. DOI: 10.1016/S0140-6736(83)90979-0
    52.     CDC. Control and prevention of rubella: evaluation and management of
            suspected outbreaks, rubella in pregnant women, and surveillance for
            congenital rubella syndrome. MMWR Recomm Rep. 2001;50(RR-12):1-23.
    53.     Murray TS, Groth ME, Weitzman C, Cappello M. Epidemiology and
            management of infectious diseases in international adoptees. Clin Microbiol
            Rev. 2005;18(3):510-520. DOI: 10.1128/cmr.18.3.510-520.2005




General Best Practice Guidelines for Immunization: Special Situations                  169
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 172 of 197




                         10. Vaccination Records

Records of Health-Care Providers

Appropriate and timely vaccination documentation helps ensure not only that persons
in need of recommended vaccine doses receive them but also that adequately vaccinated
patients do not receive excess doses. Curtailing the number of excess doses
administered to patients controls costs incurred by patients, providers, insurers,
vaccination programs, and other stakeholders. In addition, avoidance of excess doses of
vaccines should decrease the number of adverse reactions to vaccines. Health care
providers who administer vaccines covered by the National Vaccine Injury
Compensation Program (VICP) are required under the National Childhood Vaccine
Injury Act (1) to ensure that the permanent medical record of the recipient (or a
permanent office log or file) indicates the date the vaccine was administered, the vaccine
manufacturer, the vaccine lot number, and the name, address, and title of the person
administering the vaccine. This Act applies to any vaccine for which there is a routine
recommendation for childhood vaccination, even if many or most doses of the vaccine
are administered to adults (e.g., influenza vaccine). In addition, the provider is required
to record the edition date of the VIS distributed and the date those materials were
provided. The Act considers a health-care provider to be any licensed health care
professional, organization, or institution, whether private or public (including federal,
state, and local departments and agencies), under whose authority a specified vaccine is
administered. This information should be kept for all vaccines, not just for those
required by the Act. Providers and staff members also should systematically update
patients’ permanent medical records to reflect any documented episodes of adverse
events after vaccination and any serologic test results related to vaccine-preventable
diseases (e.g., those for rubella screening and anti-HBs).


Personal Records of Patients

Official childhood vaccination records have been adopted by every state and territory
and the District of Columbia to encourage uniformity of records and to facilitate


General Best Practice Guidelines for Immunization: Vaccination Records                    170
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 173 of 197




assessment of vaccination status by schools and child-care centers. The records also are
key tools in vaccination education programs aimed at increasing parental and patient
awareness of the need for vaccines. This record can exist in electronic file format or in
hardcopy format. A permanent vaccination record should be established for each
newborn infant and maintained by the parent or guardian. The parent or guardian
should be educated about the importance of keeping the record up-to-date and
instructed to keep the record indefinitely. These records should be distributed to new
parents and/or guardians before discharge from the hospital or birthing center. Using
vaccination records for adolescents and adults also is encouraged. Standardized adult
vaccination records are available at http://www.immunize.org.


Immunization Information Systems (IISs)

IISs (formerly referred to as immunization registries) are confidential, population-
based, computerized information systems that collect and consolidate vaccination data
from multiple health care providers within a geographic area. IISs are a critical tool that
can increase and sustain vaccination coverage by consolidating vaccination records from
multiple providers, generating reminder and recall vaccination notices for each person,
and providing official vaccination forms and vaccination coverage assessments (2).
Providers should be aware of state and/or regional IISs and requirements for reporting.

Changing vaccination providers during the course of an individual’s vaccination series is
common in the United States. In addition to changes in providers, the vaccination
records of persons who have changed vaccination providers often are unavailable or
incomplete or might not have been entered into an IIS (2). Missing or inaccurate
information regarding vaccines received previously might preclude accurate
determination of which vaccines are indicated at the time of a visit, resulting in
administration of extra doses.

A fully operational IIS also can prevent duplicate vaccinations, forecast when the next
dose is due, limit missed appointments, allow recall for those who missed appointments,
determine when vaccines need to be repeated (the technical IIS term for this is



General Best Practice Guidelines for Immunization: Vaccination Records                   171
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 174 of 197




“evaluation”), reduce vaccine waste, and reduce staff time required to produce or locate
vaccination records or certificates. Most IISs have additional capabilities, such as
measurement of vaccination update and coverage, aid in tracking vaccine inventory and
placing vaccine orders, recall of vaccine by lot number, maintenance of lifetime
vaccination histories, and interoperability with other health information systems. The
National Vaccine Advisory Committee recommends that vaccination providers
participate in these systems when possible. Electronic health records should maintain
interoperability with IISs as part of an effort to improve the quality of care, reduce
health disparities, engage patients and families in their health, improve the coordination
of care, improve population health, and ensure adequate privacy and security protection
for personal health information (see
www.cdc.gov/ehrmeaningfuluse/introduction.html)

One of the national Healthy People objectives for 2020 is 95% participation of children
aged <6 years in a fully operational population-based IIS (objective 20.1) (3,4).
Participating in an IIS means having two or more vaccinations recorded in the IIS. 2012
IIS data indicate that approximately 86% of children aged <6 years with two or more
vaccinations were participating in IISs (4,5).

The National Vaccine Advisory Committee recommends that public health departments
work toward including adults in all state IISs, reduce barriers to including adult
vaccination records in IISs, and ensure that IISs meet new standards of EHR
interoperability to track and maintain adult vaccination records (6).

Nationally, 57.8 million U.S. adults aged 19 years or older participated in an IIS in 2012
(4). This number reflects adults who may have had childhood vaccines entered during
childhood and now have aged to adults. In 2013, 32% of U.S. adults had a record in the
IIS and at least one vaccination administered during adulthood.




General Best Practice Guidelines for Immunization: Vaccination Records                   172
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 175 of 197




REFERENCES

   1. National Childhood Vaccine Injury Act, 42 U.S.C. Sect. 300aa-1 to 300aa-34
       (1986).
   2. CDC. Immunization information systems progress—United States, 2006. MMWR
       Morb Mortal Wkly Rep. 2008;57(11):289-291.
   3. US Department of Health and Human Services. Immunization and infectious
       diseases. Healthy people 2010. Vol 1 (conference edition). 1st ed. Washington,
       DC: US Government Printing Office; 2000.
   4. CDC. Progress in immunization information systems - United States, 2012.
       MMWR Morb Mortal Wkly Rep. 2013;62(49):1005-1008.
   5. Mangione-Smith R, DeCristofaro AH, Setodji CM, et al. The quality of
       ambulatory care delivered to children in the United States. N Engl J Med.
       2007;357(15):1515-1523. DOI: 10.1056/NEJMsa064637
   6. National Vaccine Advisory Committee. Recommendations from the National
       Vaccine Advisory committee: standards for adult immunization practice. Public
       Health Rep. 2014;129(2):115-123.




General Best Practice Guidelines for Immunization: Vaccination Records                  173
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 176 of 197




                       11. Vaccination Programs

Updates

The major revision to this section is the addition of language related to Affordable Care
Act (1) coverage of adult vaccination.


General Principles

Universal vaccination is a critical part of quality health-care and should be accomplished
through routine and catch-up vaccination provided in physicians’ offices, public health
clinics, and other appropriate settings. In the United States, vaccination is considered
primarily the responsibility of individual health care providers and health care systems
serving patients.

Certain programs and other efforts attempt to ensure all patients receive the full
schedule of appropriate vaccinations by removing barriers posed by access to
immunizations, cost, or other factors. Such efforts may include school-located clinics,
school-based health centers, back-to-school immunization clinics, public health clinics
for schoolchildren, periodic influenza vaccination clinics, public health nurse tracking of
childhood immunizations, and government-sponsored financing of vaccines through the
Vaccines for Children and Section 317 program
(www.cdc.gov/vaccines/hcp/admin/vfc.html).

In the United States, vaccination programs have eliminated many vaccine-preventable
diseases and markedly reduced the incidence of others (2). Because infants and young
children were the principal recipients of most vaccines developed during the twentieth
century (e.g., poliovirus vaccine), many persons in the United States might believe that
vaccinations are solely for the young; however, vaccinations are recommended for
persons of all ages (3,4). Improved vaccination coverage can result in additional
reductions in the incidence of vaccine-preventable diseases that affect persons
throughout the life span, and decrease associated morbidity and mortality.



General Best Practice Guidelines for Immunization: Vaccination Programs                   174
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 177 of 197




Vaccination of Children and Adolescents

Physicians and other pediatric vaccination providers should adhere to the standards for
child and adolescent vaccination practices (5). These standards are published by the
National Vaccine Advisory Committee and define appropriate vaccination practices for
both public and private sectors. The standards provide guidance on practices that
eliminate barriers to vaccination, including eliminating unnecessary prerequisites for
receiving vaccinations, eliminating missed opportunities to vaccinate, improving
procedures to assess vaccination needs, enhancing knowledge about vaccinations among
parents and providers, and improving management and reporting of adverse events. In
addition, the standards address the importance of recall and reminder systems and
using assessments to monitor clinic or office vaccination coverage levels. Health-care
providers should simultaneously administer as many vaccine doses as possible as
indicated on the Recommended Immunization Schedules for Persons Aged 0 Through
18 Years (3).

While rates of childhood vaccination are generally higher than rates of adult
vaccination, for some doses coverage rates are still low, like the birth dose of hepatitis B
vaccine. Community health-care providers, as well as state and local public health
vaccination programs, should coordinate with partners to identify and maximize
outreach to populations at risk for undervaccination and vaccine-preventable diseases.
For example, the Special Supplemental Nutrition Program for Women, Infants, and
Children (WIC) is a categorical federal grant program administered by the U.S.
Department of Agriculture through state health departments. The program provides
supplemental foods, health-care referrals, and nutrition education to low-income
pregnant, breastfeeding, or postpartum women, as well as to infants and children aged
<5 years. Between 8.5 and 8.9 million people participated in this program in 2013
(www.fns.usda.gov/pd/wic-program). In collaboration, WIC and state vaccination
programs assess regularly the vaccination coverage levels of WIC participants and
develop new strategies and aggressive outreach procedures in sites with coverage levels
<90%. Vaccination programs and private providers are encouraged to refer eligible




General Best Practice Guidelines for Immunization: Vaccination Programs                  175
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 178 of 197




children to obtain WIC nutritional services, at www.fns.usda.gov/wic/immunization-
screening-and-referral-wic (6).


Adolescent-Specific Issues

Vaccinations are recommended throughout life, including during adolescence. The age
range for adolescence is defined as 11-21 years by many professional associations,
including the American Academy of Pediatrics and the American Medical Association
(7,8). Definitions of these age cutoffs differ depending on the source of the definition
and the source’s purpose for creating a definition. Vaccination of adolescents is critical
for preventing diseases for which adolescents are at particularly high or increasing risk,
such as meningococcal disease and human papillomavirus infection. Three vaccines
recommended for adolescents have been licensed since 2005: MenACWY and Tdap
were licensed in 2005, and HPV was licensed in 2006. A second dose of varicella vaccine
is recommended for persons who received 1 dose of varicella vaccine after age 12
months. In addition, annual seasonal influenza vaccination is recommended for persons
aged >6 months who have no contraindications. To ensure vaccine coverage, clinicians
and other health-care providers who treat adolescents must review vaccination history
on every occasion that an adolescent has an office visit.

National goals for vaccination coverage for adolescents aged 13-15 years were included
in Healthy People 2020, at www.healthypeople.gov/2020/topics-
objectives/topic/immunization-and-infectious-diseases. Targets of 80% coverage were
specified for one dose of Tdap, one dose of meningococcal conjugate vaccine, and 3
doses of HPV vaccine. Results of the published 2014 National Immunization Survey—
Teen indicate that coverage rates for 13-17 years olds is 87.6% for one dose of Tdap and
79.3% for one dose of meningococcal vaccine. Coverage rates for 13-17 years olds for
HPV vaccine are considerably lower—39.7% for females and 21.6% for males (9,10).

Ensuring adolescents receive routine and catch-up vaccination and achieving high levels
of vaccination coverage present challenges. In general, adolescents do not visit health
care providers frequently. Health care providers should promote annual preventive



General Best Practice Guidelines for Immunization: Vaccination Programs                    176
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 179 of 197




visits (11), including one specifically for adolescents aged 11 and 12 years. The annual
visits should be used as opportunities to provide routinely recommended vaccine doses,
additional catch-up doses needed for lapsed vaccine series, vaccines recommended for
high-risk groups, additional doses that might have been recently recommended, and
other recommended health-care services. Additional strategies include adolescent
immunizations at community-based venues such as pharmacies and schools.

All vaccine doses should be administered according to ACIP vaccine-specific statements
and with the most recent schedules for both routine and catch-up vaccination. Before
leaving any visit for medical care, adolescents should be encouraged to schedule return
visits for any additional vaccine doses needed. During visits that occur outside of
influenza season, providers should discuss and recommend seasonal influenza
vaccination and make explicit plans for vaccination, including timing and anticipated
setting (e.g., health care provider’s office, school, or pharmacy). Catch-up vaccination
with multidose adolescent vaccines generally can occur according to the routine dosing
schedule for these vaccines, although in some circumstances the clinician or health care
provider might use minimum intervals for vaccine doses. These circumstances include
an outbreak that increases risk for disease or the likelihood that doses will be missed in
the future (e.g., because of transportation challenges). Because of lack of efficacy data
for HPV vaccine administration using minimum intervals, providers are encouraged,
when possible, to use routine dosing intervals for females aged 11-26 years and males
aged 11-21 years who have not yet received 3 HPV vaccine doses as recommended (3,4).

One of the challenges of adolescent vaccination is ensuring that current, complete
vaccination histories are available. Insurers, covered services, or reimbursement levels
can change, and these changes might affect reimbursement for vaccine doses and
vaccination services directly while also causing disruptions in an adolescent’s access to
vaccination providers or venues. In circumstances in which a vaccination record is
unavailable, vaccination providers should attempt to obtain this information from
various sources (e.g., parent, previous providers, or school records). More detail about
how to obtain these records is available from CDC at
www.cdc.gov/vaccines/hcp/admin/immuniz-records.html. With the exception of



General Best Practice Guidelines for Immunization: Vaccination Programs                     177
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 180 of 197




influenza and pneumococcal polysaccharide vaccines, if documentation of a vaccine
dose is not available, the adolescent should be considered unvaccinated for that dose.
Regardless of the venue in which an adolescent receives a dose of vaccine, that vaccine
dose should be documented in the patient’s chart or in an office log, and the information
should be entered into an IIS. The adolescent also should be provided with a record that
documents the vaccination history.


Adult Vaccination

In 2013, the National Vaccine Advisory Committee published updated standards for
adult vaccination (12). These standards are targeted to distinct groups involved in adult
vaccination, including immunizing providers, non-immunizing providers, professional
health-care organizations, and public health departments. All health-care providers,
whether they provide immunizations or not, should incorporate immunization needs
assessment into every clinical encounter, strongly recommend needed vaccine(s) and
either administer vaccine(s) or refer patients to a provider who can immunize, stay up-
to-date on, and educate patients about vaccine recommendations, implement systems to
incorporate vaccine assessment into routine clinical care, and understand how to access
immunization information systems (i.e., immunization registries) (12).

Vaccination rates in adults are considered suboptimal (13,14). New Healthy People
2020 goals include specific subsets of adults, including institutionalized adults aged ≥18
years (for pneumococcal vaccines) and noninstitutionalized adults at high risk aged >18
years (for pneumococcal vaccines) (9).

The most substantial barrier to vaccination coverage is lack of knowledge about these
vaccines among adult patients and adult providers. Other barriers are cost (incomplete
Medicare coverage for recommended vaccines) (15) and the lack of financing
mechanisms for newly licensed and recommended vaccines. Effective for private health
insurance plans drafted or updated after September 2010, coverage for all
immunizations that are included on the immunization schedule(s) must be covered




General Best Practice Guidelines for Immunization: Vaccination Programs                  178
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 181 of 197




without deductibles or co-pays, when delivered by an in-network provider. For this
reason, cost may present less of a barrier to adult vaccination as time passes.

A common challenge for health-care providers is vaccinating adults with unknown
vaccination records. In general (except for influenza and pneumococcal polysaccharide
vaccines), adults should receive a vaccine dose if the dose is recommended and no
record of previous administration exists. If an adult has a record of military service and
does not have records available, providers can assume that the person has received all
vaccines recommended by the military at the time of service entry. Serologic testing
might be helpful in clarifying immune status if questions remain, because at different
times and depending on military assignments, there might be inter-service and
individual differences.


Evidence-based Interventions to Increase Vaccination
Coverage

The independent, nonfederal Task Force on Community Preventive Services, whose
membership is appointed by CDC, provides public health decision-makers with
recommendations on population-based interventions to promote health and prevent
disease, injury, disability, and premature death. The recommendations are based on
systematic reviews of the scientific literature about effectiveness and cost-effectiveness
of these interventions. In addition, the task force identifies critical information about
the other effects of these interventions, the applicability to specific populations and
settings, and the potential barriers to implementation. Additional information,
including updates of published reviews, is available from The Community Guide at
http://www.thecommunityguide.org.

Beginning in 1996, the task force systematically reviewed published evidence on the
effectiveness and cost-effectiveness of population-based interventions to increase
coverage of vaccines recommended for routine use among children, adolescents, and
adults. A total of 197 articles were identified that evaluated a relevant intervention, met
inclusion criteria, and were published during 1980-1997. Reviews of 17 specific


General Best Practice Guidelines for Immunization: Vaccination Programs                     179
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 182 of 197




interventions were published in 1999 (13,14,16,17). Using the results of their review, the
task force made recommendations about the use of these interventions (15). Several
interventions were identified and recommended on the basis of published evidence.
Follow-up reviews were published in 2000, and a review of interventions to improve the
coverage of adults at high risk was conducted in 2005 (15,17). The interventions and the
recommendations are summarized in this section of this report (Table 11-1).
Interventions designated for adults younger than 65 years at high risk for influenza,
invasive pneumococcal disease, and hepatitis B, include provider reminder systems or a
menu of items (combinations of strategies ) (Table 11-2). In 1997, the task force
categorized vaccination requirements for child care, school, and college as a
recommended strategy (14).

A 2008 update of the original task force systematic review of the evidence on the
effectiveness of provider assessment and feedback for increasing coverage rates found
that this strategy remains an effective intervention (18). This later update reviewed 19
new studies published during 1997-2007. The updated review supports the original task
force recommendation for use of assessment and feedback based on strong evidence of
effectiveness. The task force reviewed studies of assessment and feedback as a strategy
that were conducted in a range of settings, including private practice, managed care,
public health, community health settings, and academic centers. Studies have assessed
the effectiveness of this intervention to improve coverage with MMR, DTP, DTaP, Hib,
influenza, pneumococcal, and Td vaccines (16). The most updated information on this
review is available at www.thecommunityguide.org/findings/vaccination-programs-
provider-assessment-and-feedback. As recognized by the task force, routine assessment
and feedback of vaccination rates obtained at the provider site is one of the most
effective strategies for achieving high, sustainable vaccine coverage. Since 1995, all
states receiving federal funds for vaccination programs have been required to conduct
annual assessments of vaccination rates both in public health clinics and in private
provider offices. Primarily to aid local and state health departments in their efforts to
conduct assessments and assist providers, CDC has developed numerous software
applications to measure vaccination rates in provider practices.




General Best Practice Guidelines for Immunization: Vaccination Programs                     180
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 183 of 197




Other General Programmatic Issues

Programmatic challenges, evolving issues, and effective interventions related to adult
and adolescent vaccination programs have been described by other advisory groups and
expert groups. Additional evidence-based approaches are being developed for certain
issues (e.g., settings for adolescent vaccination delivery) through ongoing research and
evaluation. Among current programmatic challenges, vaccine financing is especially
difficult because certain problems and solutions differ markedly from one state to
another. Practitioners interested in beginning or continuing to provide vaccinations to
patients are encouraged to consult with local and state public health vaccination
programs to learn about publicly funded programs that might be available in their areas
for patients who need vaccination but have insufficient health insurance coverage and
no financial resources. If not already participating, providers who care for adolescents
and children aged <19 years should enroll in the Vaccines for Children Program
(www.cdc.gov/vaccines/hcp/admin/vfc.html). Through this program’s provision of
ACIP-recommended, federally purchased vaccines, participating providers are able to
fully vaccinate eligible children whose parents might not otherwise be able to afford the
vaccinations. Interested providers are encouraged to work with insurers, state and
specialty-specific medical organizations, vaccine manufacturers, and other stakeholders
to address financial barriers to achieving high vaccination coverage. With availability of
safe and effective vaccines for 18 vaccine-preventable diseases, the capacity for realizing
the potential benefits of these products in the United States depends on reaching
children, adolescents, and adults through dedicated, knowledgeable vaccination
providers and efficient, strong vaccination programs at local, state, and federal levels.




General Best Practice Guidelines for Immunization: Vaccination Programs                     181
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 184 of 197




TABLE 11-1. Recommendations regarding interventions to improve
coverage of vaccines recommended for routine use among children,
adolescents, and adults

Intervention                                                 Recommendation

Increase community demand for vaccination

  Client reminder or recall systems                          Recommended

  Requirements for entry to schools, child- care             Recommended
facilities, and colleges

  Community education alone                                  Insufficient evidence

 Community-based interventions implemented in                Recommended
combination

  Clinic-based education                                     Insufficient evidence

  Patient or family incentives                               Recommended

  Patient or family monetary sanctions                       Insufficient evidence

  Client-held medical records                                Insufficient evidence

Enhance access to vaccination services

  Reducing out-of-pocket costs                               Recommended

 Enhancing access through the U.S. Department of Recommended
Agriculture’s Women, Infants, and Children (WIC)
program

  Home visits, outreach, and case management                 Recommended
targeted to particularly hard-to-reach populations
to increase vaccination rates

  Enhancing access at schools                                Recommended

  Expanding access in health-care settings                   Recommended as part of
                                                             multicomponent interventions
                                                             only

  Enhancing access at organized child care centers           Recommended

Focus on providers

  Provider reminder or recall systems                        Recommended



General Best Practice Guidelines for Immunization: Vaccination Programs                     182
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 185 of 197




  Provider assessment and feedback                           Recommended

  Standing orders                                            Recommended

  Provider education alone                                   Insufficient evidence

  Health-care systems-based interventions                    Recommended
integrated in combination

  Immunization information systems                           Recommended
Source: www.thecommunityguide.org/topic/vaccination.




General Best Practice Guidelines for Immunization: Vaccination Programs              183
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 186 of 197




 TABLE 11-2. Strategies to improve influenza, pneumococcal
 polysaccharide, and hepatitis B vaccine coverage among high-risk adults
 younger than 65 years
 One or both of these interventions to   1. Expanded access in health-care settings
 improve access to vaccination services  2. Reducing client out-of-pocket costs
 PLUS:                                   1. Standing orders
 One or more of these provider or system 2. Provider reminder systems
 based interventions                     3. Provider assessment or feedback
 AND/OR:                                 1. Client reminder systems
 One or both of these interventions to   2. Client education
 increase client demand for vaccination
 services




General Best Practice Guidelines for Immunization: Vaccination Programs          184
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 187 of 197




Source (15)

REFERENCES
   1.      The Patient Protection and Affordable Care Act, Pub. L. No. 111-148 (2010).
   2.      Roush SW, Murphy TV. Historical comparisons of morbidity and mortality for
           vaccine-preventable diseases in the United States. JAMA. 2007;298(18):2155-
           2163. DOI: 10.1001/jama.298.18.2155
   3.      Strikas RA. Advisory committee on immunization practices recommended
           immunization schedules for persons aged 0 through 18 years—United States,
           2015. MMWR Morb Mortal Wkly Rep. 2015;64(4):93-94.
   4.      Kim DK, Bridges CB, Harriman KH. Advisory committee on immunization
           practices recommended immunization schedule for adults aged 19 years or
           older—United States, 2015. MMWR Morb Mortal Wkly Rep. 2015;64(4):91-
           92.
   5.      National Vaccine Advisory Committee. Standards for child and adolescent
           immunization practices. Pediatrics. 2003;112(4):958-963.
   6.      CDC. Recommendations of the Advisory Committee on Immunization
           Practices: programmatic strategies to increase vaccination coverage by age 2
           years—linkage of vaccination and WIC services. MMWR Morb Mortal Wkly
           Rep. 1996;45(10):217-218.
   7.      Hagan J, Shaw J, Duncan P, eds. Bright futures: guidelines for health
           supervision on infants, children and adolescents. 3rd ed. Elk Grove Village,
           IL: American Academy of Pediatrics; 2008.
   8.      CDC. Immunization of adolescents. Recommendations of the Advisory
           Committee on Immunization Practices, the American Academy of Pediatrics,
           the American Academy of Family Physicians, and the American Medical
           Association. MMWR Recomm Rep. 1996;45(RR-13):1-16.
   9.      US Department of Health and Human Services. Immunization and infectious
           diseases. Healthy People 2020 website.
           https://www.healthypeople.gov/2020/topics-objectives/topic/immunization-
           and-infectious-diseases. Accessed 09 March, 2017.




General Best Practice Guidelines for Immunization: Vaccination Programs               185
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 188 of 197




   10.     CDC. U.S. vaccination coverage reported via NIS-Teen. 2016; https://
           www.cdc.gov/vaccines/imz-managers/coverage/teenvaxview/index.html.
           Accessed 09 March 2017.
   11.     Mangione-Smith R, DeCristofaro AH, Setodji CM, et al. The quality of
           ambulatory care delivered to children in the United States. N Engl J Med.
           2007;357(15):1515-1523. DOI: 10.1056/NEJMsa064637
   12.     National Vaccine Advisory Committee. Recommendations from the National
           Vaccine Advisory committee: standards for adult immunization practice.
           Public Health Rep. 2014;129(2):115-123.
   13.     Shefer A, Briss P, Rodewald L, et al. Improving immunization coverage rates:
           an evidence-based review of the literature. Epidemiol Rev. 1999;21(1):96-142.
   14.     CDC. Vaccine-preventable diseases: improving vaccination coverage in
           children, adolescents, and adults. A report on recommendations from the
           Task Force on Community Preventive Services. MMWR Recomm Rep.
           1999;48(RR-8):1-15.
   15.     Ndiaye SM, Hopkins DP, Shefer AM, et al. Interventions to improve influenza,
           pneumococcal polysaccharide, and hepatitis B vaccination coverage among
           high-risk adults: a systematic review. Am J Prev Med. 2005;28(5 Suppl):248-
           279. DOI: 10.1016/j.amepre.2005.02.016
   16.     Briss PA, Rodewald LE, Hinman AR, et al. Reviews of evidence regarding
           interventions to improve vaccination coverage in children, adolescents, and
           adults. The Task Force on Community Preventive Services. Am J Prev Med.
           2000;18(1 Suppl):97-140. DOI: 10.1016/S0749-3797(99)00118-X
   17.     Task Force on Community Preventive S. Recommendations regarding
           interventions to improve vaccination coverage in children, adolescents, and
           adults12. Am J Prev Med. 2000;18(1, Supplement 1):92-96. DOI:
           10.1016/S0749-3797(99)00121-X
   18.     CDC. Vaccination programs: provider assessment and feedback. The
           Community Guide website. 2015;
           https://www.thecommunityguide.org/findings/vaccination-programs-
           provider-assessment-and-feedback. Accessed 09 March 2017.



General Best Practice Guidelines for Immunization: Vaccination Programs                186
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 189 of 197




                12. Vaccine Information Sources

In addition to these general recommendations, the following sources contain specific
and updated vaccine information.


CDC-INFO Contact Center

The CDC-INFO contact center is supported by CDC and provides public health-related
information, including vaccination information, for health-care providers and the
public, 24 hours a day, 7 days a week. To contact CDC-INFO online at any time, visit
https://wwwn.cdc.gov/dcs/ContactUs/Form. To contact CDC-INFO by telephone, call
between 8 am to 8 pm Eastern Time Monday through Friday at [English and Spanish]:
800-232-4636; telephone [TTY]: 800-232-6348.


CDC’s National Center for Immunization and Respiratory
Diseases

CDC’s National Center for Immunization and Respiratory Diseases website provides
direct access to ACIP’s best practices for vaccination guidance, vaccination schedules,
automated child schedulers, an adult immunization scheduler, vaccine safety
information, publications, provider education and training, and links to other
vaccination-related websites (www.cdc.gov/vaccines/hcp/admin/immuniz-
records.html).


Morbidity and Mortality Weekly Report (MMWR)

Some ACIP guidance regarding vaccine use, statements of vaccine policy as they are
developed, and reports of specific disease activity are published by CDC in the MMWR
series and can be found at www.cdc.gov/vaccines/hcp/acip-recs/index.html. Electronic
subscriptions are free (www.cdc.gov/mmwr/index.html). Subscriptions to print versions
also are available from the Superintendent of Documents, U.S. Government Printing
Office, Washington, D.C. 20402-9235 (telephone: 202-512-1800).


General Best Practice Guidelines for Immunization: Vaccine Information Sources            187
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 190 of 197




American Academy of Family Physicians (AAFP)

Information from the professional organization of family physicians is available at
www.aafp.org/home.html.


American Academy of Pediatrics (AAP)

Every 3 years, AAP issues the Red Book: Report of the Committee on Infectious
Diseases, which contains a composite summary of AAP and ACIP recommendations
concerning infectious diseases and vaccinations for infants, children, and adolescents
(telephone: 888-227-1770; website: www.aap.org/en-us/Pages/Default.aspx).


American College of Physicians (ACP)

Produced by faculty of ACP’s Quality Improvement Programs and members of the ACP
Adult Immunization Advisory Board, the ACP Guide to Adult Immunization helps
internists develop systematic processes for incorporating immunization in their day-to-
day practice (see https://www.acponline.org/).


American Congress of Obstetricians and Gynecologists (ACOG)

The American Congress of Obstetricians and Gynecologists (ACOG), formerly the
American College of Obstetricians and Gynecologists, is a professional association of
physicians specializing in obstetrics and gynecology in the United States. Information
about ACOG can be found at https://www.acog.org/.


American Pharmacists Association (APhA)

Founded in 1852, APhA is the largest association of pharmacists in the United States,
with more than 62,000 practicing pharmacists, pharmaceutical scientists, student
pharmacists, pharmacy technicians as members. Information about APhA educational
activities can be found at www.pharmacist.com/immunization-center.



General Best Practice Guidelines for Immunization: Vaccine Information Sources           188
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 191 of 197




Group on Immunization Education of the Society of Teachers of
Family Medicine

The Group on Immunization Education of the Society of Teachers of Family Medicine
provides information for clinicians, including the free program Shots. Shots includes the
childhood, adolescent, and adult schedules for iPhone, Palm, and Windows devices, as
well as online versions (http://www.immunizationed.org/).


Immunization Action Coalition (IAC)

IAC provides child, teen, and adult immunization information for health care
professionals and their patients at http://www.immunize.org. Free materials include
CDC-reviewed technical pieces, patient handouts, VISs in multiple languages, and the
weekly immunization news and information service “IAC Express,” available at
http://www.immunize.org/express. Information for the general public about vaccines
and vaccine-preventable diseases is available at http://www.vaccineinformation.org.


Institute for Vaccine Safety

Located at the Johns Hopkins University School of Public Health, the Institute for
Vaccine Safety provides information about vaccine safety concerns and objective and
timely information to physicians and health-care providers and parents. The Institute
for Vaccine Safety also includes links to tables that include all vaccine components
(http://www.vaccinesafety.edu).


State and Local Health Departments

State and local health departments provide technical advice through hotlines, e-mail,
and websites, including printed information regarding vaccines and immunization
schedules, posters, and other educational materials (see www.cdc.gov/vaccines/imz-
managers/awardee-imz-websites.html and
www.cdc.gov/mmwr/international/relres.html).


General Best Practice Guidelines for Immunization: Vaccine Information Sources          189
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 192 of 197




Vaccine Education Center

Located at the Children’s Hospital of Philadelphia, the Vaccine Education Center
provides patient and provider vaccine information (www.chop.edu/centers-
programs/vaccine-education-center).




General Best Practice Guidelines for Immunization: Vaccine Information Sources     190
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 193 of 197




                                Appendix 1: Glossary

Adverse event. An untoward event that occurs after a vaccination that might be
caused by the vaccine product or vaccination process. Adverse events include those that
have the following characteristics: 1) vaccine induced (caused by the intrinsic
characteristic of the vaccine preparation and the individual response of the vaccinee):
these events would not have occurred without vaccination (e.g., vaccine-associated
paralytic poliomyelitis); 2) vaccine potentiated: the events would have occurred anyway
but were precipitated by the vaccination (e.g., first febrile seizure in a predisposed
child); 3) programmatic error: the event was caused by technical errors in vaccine
preparation, handling, or administration; and 4) coincidental: the event was associated
temporally with vaccination by chance or caused by underlying illness. Special studies
are needed to determine whether an adverse event is a reaction to the vaccine or the
result of another cause. Sources: Chen RT. Special methodological issues in
pharmacoepidemiology studies of vaccine safety. In: Strom BL, ed.
Pharmacoepidemiology. 3rd ed. Sussex, England: John Wiley & Sons; 2000:707-732;
and Fenichel GM, Lane DA, Livengood JR, Horwitz SJ, Menkes JH, Schwartz JF.
Adverse events following immunization: assessing probability of causation. Pediatr
Neurol. 1989;5:287--90.

Adverse reaction. An undesirable medical condition that has been demonstrated to
be caused by a vaccine. Evidence for the causal relation is usually obtained through
randomized clinical trials, controlled epidemiologic studies, isolation of the vaccine
strain from the pathogenic site, or recurrence of the condition with repeated vaccination
(i.e., rechallenge); synonyms include side effect and adverse effect.

Adjuvant. A vaccine component distinct from the antigen that enhances the immune
response to the antigen.

Antitoxin. A solution of antibodies against a toxin. Antitoxin can be derived from
either human (e.g., tetanus immune globulin) or animal (usually equine) sources (e.g.,




General Best Practice Guidelines for Immunization: Appendix 1: Glossary              191
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 194 of 197




diphtheria and botulism antitoxin). Antitoxins are used to confer passive immunity and
for treatment.

Hyperimmune globulin (specific). Special preparations obtained from blood
plasma from donor pools preselected for a high antibody content against a specific
antigen (e.g., hepatitis B immune globulin, varicella-zoster immune globulin, rabies
immune globulin, tetanus immune globulin, vaccinia immune globulin, cytomegalovirus
immune globulin, botulism immune globulin).

Immune globulin. A sterile solution containing antibodies, which are usually
obtained from human blood. It is obtained by cold ethanol fractionation of large pools of
blood plasma and contains 15%-18% protein. Intended for intramuscular
administration, immune globulin is primarily indicated for routine maintenance of
immunity among certain immunodeficient persons and for passive protection against
measles and hepatitis A.

Immunobiologic. Antigenic substances (e.g., vaccines and toxoids) or antibody-
containing preparations (e.g., globulins and antitoxins) from human or animal donors.
These products are used for active or passive immunization or therapy. Examples of
immunobiologics include antitoxin, immune globulin and hyperimmune globulin,
monoclonal antibodies, toxoids, and vaccines.

Intravenous immune globulin. A product derived from blood plasma from a donor
pool similar to the immune globulin pool, but prepared so that it is suitable for
intravenous use. Intravenous immune globulin is used primarily for replacement
therapy in primary antibody-deficiency disorders, for treatment of Kawasaki disease,
immune thrombocytopenic purpura, hypogammaglobulinemia in chronic lymphocytic
leukemia, and certain cases of human immunodeficiency virus infection (Table 3-5).

Monoclonal antibody. An antibody product prepared from a single lymphocyte
clone, which contains only antibody against a single antigen.

Simultaneous. In the context of vaccine timing and spacing, occurring on the same
clinic day, at different anatomic sites, and not combined in the same syringe.



General Best Practice Guidelines for Immunization: Appendix 1: Glossary             192
   Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 195 of 197




Toxoid. A modified bacterial toxin that has been made nontoxic, but retains the ability
to stimulate the formation of antibodies to the toxin.

Vaccination and immunization. The terms vaccine and vaccination are derived
from vacca, the Latin term for cow. Vaccine was the term used by Edward Jenner to
describe material used (i.e., cowpox virus) to produce immunity to smallpox. The term
vaccination was used by Louis Pasteur in the 19th century to include the physical act of
administering any vaccine or toxoid. Immunization is a more inclusive term, denoting
the process of inducing or providing immunity by administering an immunobiologic.
Immunization can be active or passive. Active immunization is the production of
antibody or other immune responses through administration of a vaccine or toxoid.
Passive immunization means the provision of temporary immunity by the
administration of preformed antibodies. Although persons often use the terms
vaccination and immunization interchangeably in reference to active immunization, the
terms are not synonymous because the administration of an immunobiologic cannot be
equated automatically with development of adequate immunity.

Vaccine. A suspension of live (usually attenuated) or inactivated microorganisms (e.g.,
bacteria or viruses) or fractions thereof administered to induce immunity and prevent
infectious disease or its sequelae. Some vaccines contain highly defined antigens (e.g.,
the polysaccharide of Haemophilus influenzae type b or the surface antigen of hepatitis
B); others have antigens that are complex or incompletely defined (e.g., Bordetella
pertussis antigens or live, attenuated viruses).




General Best Practice Guidelines for Immunization: Appendix 1: Glossary            193
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 196 of 197




                          Appendix 2: Membership


Advisory Committee on Immunization Practices
Membership List, October 2018
Chair: ROMERO, José R., MD, FAAP, University of Arkansas for Medical Sciences and
Arkansas Children’s Hospital Little Rock, AR
Executive Secretary: Amanda Cohn, MD, National Center for Immunization and
Respiratory Diseases, CDC, Atlanta, Georgia.
Members: ATMAR, Robert L., MD, Baylor College of Medicine, Houston, TX
BERNSTEIN, Henry, DO, MHCM, FAAP, Zucker School of Medicine at
Hofstra/Northwell Cohen Children’s Medical Center, New Hyde Park, NY
EZEANOLUE, Echezona, MD, MPH, University of Nevada, Las Vegas, NV
FREY, Sharon E., MD, Saint Louis University Medical School, Saint Louis, MO
HUNTER, Paul, MD, City of Milwaukee Health Department Milwaukee, WI
LEE, Grace M., MD, MPH, Lucile Packard Children’s Hospital, Stanford University
School of Medicine, Stanford, CA
MOORE, Kelly, MD, MPH, Vanderbilt University School of Medicine, Nashville, TN
STEPHENS, David, MD, Emory University, Atlanta, GA
SZILAGYI, Peter, MD, MPH, University of California, Los Angeles (UCLA), Los Angeles,
CA
WALTER, Emmanuel (Chip), Jr., MD, MPH, Duke University School of Medicine,
Durham, NC


Ex Officio Members: Eric Deussing, MD, MPH, Department of Defense, DoD; Lori
Hoffman-Hogg, Department of Veterans Affairs, Durham, North Carolina; Doran Fink,
MD, PhD, Food and Drug Administration, Bethesda, Maryland; Narayan Nair, MD,
Health Resources and Services Administration, Rockville, Maryland; Thomas Weiser,
MD, MPH, Indian Health Service, Albuquerque, New Mexico; Tammy Beckham,
National Vaccine Program Office, Washington, District of Columbia; John Beigel, MD,
National Institutes of Health, Bethesda, Maryland.




General Best Practice Guidelines for Immunization: Appendix 2: Membership      194
  Case 1:20-cv-00840-BKS-CFH Document 54-3 Filed 09/03/20 Page 197 of 197




Liaison Representatives: American Academy of Family Physicians, Pamela G.
Rockwell, DO, Ann Arbor, Michigan; American Academy of Pediatrics, Yvonne
Maldonado, MD, Stanford, California; David Kimberlin, MD, Birmingham, Alabama;
American Academy of Physician Assistants, Marie-Michèle Léger MPH, PA-C,
Alexandria, Virginia; American College Health Association, Susan Even, MD, Columbia,
Missouri; American College of Nurse Midwives, Carol E. Hayes, CNM, MN, MPH,
Atlanta, Georgia; American College of Physicians, Jason M. Goldman, MD, FACP, Boca
Raton, FL; American Geriatrics Society, Kenneth Schmader, MD, Durham, North
Carolina; American Medical Association, Sandra Adamson Fryhofer, MD, Atlanta,
Georgia; American Nurses Association, Chad Rittle, DNP, Pittsburgh, Pennsylvania;
American Osteopathic Association, Stanley Grogg, DO, Tulsa, Oklahoma; American
Pharmacists Association, Stephan L. Foster, PharmD, Memphis, Tennessee; American
Immunization Registry Association, Rebecca Coyle, MSEd, Washington D.C.; America’s
Health Insurance Plans, Mark Netoskie, MD, MBA, Houston, Texas; Association of
Immunization Managers, Chris Finley, RN, MPH, Burlington, VT; Council of State and
Territorial Epidemiologists, Christine Hahn, MD, Boise, ID; Infectious Diseases Society
of America, Kathleen Neuzil, MD, Seattle, Washington; National Association of City and
County Health Officials, Jeff Duchin, MD, Seattle, WA; National Association of Pediatric
Nurse Practitioners, Patricia Stinchfield, MPH, St Paul, Minnesota; National Foundation
for Infectious Diseases, William Schaffner, MD, Nashville, Tennessee; National Medical
Association, Patricia Whitley-Williams, MD, New Brunswick, New Jersey; Pediatric
Infectious Diseases Society, Sean O’Leary, MD, MPH, Colorado; Pharmaceutical
Research and Manufacturers of America, Cory Robertson; Society for Adolescent
Medicine, Amy Middleman, MD, Oklahoma City, OK; Society for Healthcare
Epidemiology of America, David Weber, MD, Chapel Hill, North Carolina Houston,
Texas.

Members of the General Recommendations on Immunization Working Group
Advisory Committee on Immunization Practices (ACIP), Paul Hunter, MD; Echezona
Ezeanolue, MD; ACIP Liaison and Ex-Officio Members, Marie-Michele Leger, American
Academy of Physician Assistants; Susan Lett, MD, Council of State and Territorial
Epidemiologists; Charles (Chad) Rittle, American Nurses Association; Pam Rockwell,
DO, American Academy of Family Physicians; Mark Sawyer, MD, American Academy of
Pediatrics; Lynn Trefren, Association of Immunization Managers; David Weber, MD,
Society for Health Care Epidemiology of America;
CDC Staff Members, Andrew Kroger, MD, MPH, Elaine Miller, Tina Objio, Candice
Robinson, MD, MPH, Jean Smith, MD, Akpobome Wodi, MD, Joellen Wolicki, RN, BSN,
Skip Wolfe; other members and consultants, Walter Orenstein, MD, Emory University
School of Medicine, Deborah Wexler, MD, Immunization Action Coalition, Richard
Zimmerman, MD, University of Pittsburgh.




General Best Practice Guidelines for Immunization: Appendix 2: Membership        195
